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          EXHIBIT E TO SPITZER
             DECLARATION
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                                          EXHIBIT E

                             DANGEROUS WEAPONS LAWS

     ALABAMA

     Harry Toulmin, A Digest of the Laws of the State of Alabama : Containing the
     Statutes and Resolutions in Force at the End of the General Assembly in January,
      1823. To which is Added an Appendix; Containing the Declaration of
     Independence; the Constitution of the United States; the Act authorizing the People
     of Alabama to form a Constitution and State Government; and the Constitution of
     the State of Alabama Page 627, Image 655 (1823) available at The Making of
     Modem Law: Primary Sources. 1805
     Negroes and Mulattoes, Bond and Free - 1805, Chapter I, An Act respecting
     Slaves. - Passed March 6, 1805: Sec. 4. And be it further enacted, that no slave
     shall keep or carry any gun, powder, shot, club, or other weapon whatsoever,
     offensive or defensive, except the tools given him to work with, or that he is
     ordered by his master, mistress, or overseer, to carry the said articles from one
     place to another, but all and every gun, weapon, or ammunition, found in the
     possession or custody of any slave, may be seized by any person, and upon due
     proof made thereof, before any justice of the peace of the county or corporation
     where such seizure shall be made, shall, by his order, be forfeited to the seizer, for
     his own use; and moreover, every such offender shall have and receive, by order of
     such justice, any number of lashes, not exceeding thirty-nine, on his bare back for
     every such offense : Provided nevertheless, That any justice of the peace may
     grant, in his proper county, permission in writing to any slave, on application of his
     master or overseer, to carry and use a gun and ammunition within the limits of his
     said master’s or owner’s plantation, for a term not exceeding one year, and
     revocable at any time within such term, at the discretion of the said justice, and to
     prevent the inconveniences arising from the meeting of slaves.

     1837 Ala. Acts 7, An Act to Suppress the Use of Bowie Knives, §§ 1, 2.
     Be it enacted by the Senate and House of Representatives of the State of Alabama
     in General Assembly convened, That if any person carrying any knife or weapon,
     known as Bowie Knives or Arkansaw [sic] Tooth-picks, or either or any knife or
     weapon that shall in form, shape or size, resemble a Bowie-Knife or Arkansaw
     [sic] Tooth-pick, on a sudden rencounter, shall cut or stab another with such knife,
     by reason of which he dies, it shall be adjudged murder, and the offender shall
     suffer the same as if the killing had been by malice aforethought.


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     And be it further enacted, [t]hat for every such weapon, sold or given, or otherwise
     disposed of in this State, the person selling, giving or disposing of the same, shall
     pay a tax of one hundred dollars, to be paid into the county Treasury; and if any
     person so selling, giving or disposing of such weapon, shall fail to give in the same
     to his list of taxable property, he shall be subject to the pains and penalties of
     perjury.

     1839 Ala. Acts 67, An Act to Suppress the Evil Practice of Carrying Weapons
     Secretly, § 1
     That if any person shall carry concealed about his person any species of fire arms,
     or any bowie knife, Arkansas tooth-pick, or any other knife of the like kind, dirk,
     or any other deadly weapon, the person so offending shall, on conviction thereof,
     before any court having competent jurisdiction, pay a fine not less than fifty, nor
     more than five hundred dollars, to be assessed by the jury trying the case; and be
     imprisoned for a term not exceeding three months, at the discretion of the Judge of
     said court.

      1841 Ala. Acts 148^19, Of Miscellaneous Offences, ch. 7, § 4.
     Everyone who shall hereafter carry concealed about his person, a bowie knife, or
     knife or instrument of the like kind or description, by whatever name called, dirk
     or any other deadly weapon, pistol or any species of firearms, or air gun, unless
     such person shall be threatened with, or have good cause to apprehend an attack, or
     be travelling, or setting out on a journey, shall on conviction, be fined not less than
     fifty nor more than three hundred dollars: It shall devolve on the person setting up
     the excuse here allowed for carrying concealed weapons, to make it out by proof,
     to the satisfaction of the jury; but no excuse shall be sufficient to authorize the
     carrying of an air gun, bowie knife, or knife of the like kind or description.

     The Revised Code of Alabama Page 169, Image 185 (1867) available at The
     Making of Modern Law: Primary Sources.
     Taxation, § 10. On All pistols or revolvers in the possession of private persons not
     regular dealers holding them for sale, a tax of two dollars each; and on all bowie
     knives, or knives of the like description, held by persons not regular dealers, as
     aforesaid, a tax of three dollars each; and such tax must be collected by the
     assessor when assessing the same, on which a special receipt shall be given to the
     tax payer therefor, showing that such tax has been paid for the year, and in default
     of such payment when demanded by the assessor, such pistols, revolvers, bowie
     knives, or knives of like description, must be seized by him, and unless redeemed
     by payment in ten days thereafter, with such tax, with an additional penalty of fifty
     per cent., the same must be sold at public outcry before the court house door, after
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     five days notice; and the overplus remaining, if any, after deducting the tax and
     penalty aforesaid, must be paid over to the person from whom the said pistol,
     revolver, bowie knife, or knife of like description, was taken, and the net amount
     collected by him must be paid over to the collector every month, from which, for
     each such assessment and collection, the assessor shall be entitled to fifty cents,
     and when the additional penalty is collected, he shall receive fifty per cent,
     additional thereto.

     Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
     the Supreme Court of the State upon the Construction of the Statutes; and in Which
     the General and Permanent Acts of the Session of 1876-7 have been Incorporated
     Page 882, Image 898 (1877) available at The Making of Modem Law: Primary
     Sources.
     Offenses Against Public Peace, § 4109. Carrying Concealed Weapons - Any
     person who, not being threatened with, or having good reason to apprehend, an
     attack, or traveling, or setting out on a journey, carries concealed about his person
     a bowie knife, or any other knife or instmment of like kind or description, or a
     pistol, or fire arms of any other kind or description, or an air gun, must be fined, on
     conviction, not less than fifty, nor more than three hundred dollars; and may also
     be imprisoned in the county jail, or sentenced to hard labor for the county, for not
     more than six months. (Footnote - Not unconstitutional. - 1 Ala. 612 Co-extensive
     only with necessity - 49 Ala. 355...)

     Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
     the Supreme Court of the State upon the Construction of the Statutes; and in Which
     the General and Permanent Acts of the Session of 1876-7 have been Incorporated
     Page 989, Image 1005 (1877) available at The Making of Modern Law: Primary
     Sources.
     Proceedings In Circuit and City Courts, § 4809. Carrying Concealed Weapons. - In
     an indictment for carrying concealed weapons, it is sufficient to charge that the
     defendant “carried concealed about his person a pistol, or other description of fire­
     arms,” or “a bowie-knife, or other knife or instrument of the like kind or
     description,” without averring the want of a legal excuse on his part; and the
     excuse, if any, must be proved by the defendant, on the trial, to the satisfaction of
     the jury.

     Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
     the Supreme Court of the State upon the Construction of the Statutes; and in Which
     the General and Permanent Acts of the Session of 1876-7 have been Incorporated


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     Page 901, Image 917 (1877) available at The Making of Modem Law: Primary
     Sources.
     Offenses Against Public Health, etc. § 4230 (3751). Selling, giving, or lending,
     pistol or bowie knife, or like knife, to boy under eighteen. - Any person who sells,
     gives, or lends, to any boy under eighteen years of age, any pistol, or bowie knife,
     or other knife of like kind or description, must on conviction, be fined not less than
     fifty, nor more than five hundred dollars.

     Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
     the Supreme Court of the State upon the Construction of the Statutes; and in Which
     the General and Permenent Acts of the Session of 1876-7 have been Incorporated
     Page 883, Image 899 (1877) available at The Making of Modem Law: Primary
     Sources.

     Carrying Weapons, Dangerous or Unusual Weapons | Alabama | 1873
     Offenses Against Public Justice, &c. § 4110. Carrying, concealed, brass knuckles
     and slung-shots. - Any person who carries, concealed about his person, brass
     knuckles, slung-shot, or other weapon of like kind or description, shall, on
     conviction thereof, be fined not less than twenty, nor more than two hundred
     dollars, and may also, at the discretion of the court trying the case, be imprisoned
     in the county jail, or sentenced to hard labor for the county, for a term not
     exceeding six months. §4111. Carrying rifle or shot-gun walking canes. - Any
     person who shall carry a rifle or shot-gun walking cane, shall, upon conviction, be
     fined not less than five hundred dollars, nor more than one thousand dollars, and be
     imprisoned in the penitentiary not less than two years.

     J. M. Falkner, The Code of Ordinances of the City Council of Montgomery
     [Alabama], with the Charter Page 148-49, Image 148-49 (1879) available at The
     Making of Modern Law: Primary Sources.
     § 428. Any person who, not being threatened with or having good reason to
     apprehend an attack, or travelling or setting out on a journey, carries concealed
     about his person a bowie-knife or any other knife of like kind or description, or a
     pistol or fire-arms of any other kind or description, air gun, slung-shot, brass-
     knuckles, or other deadly or dangerous weapon, must, on conviction, be fined not
     less than one nor more than one hundred dollars.

     William Logan Martin, Commissioner, The Code of Alabama, Adopted by Act of
     the General Assembly of the State of Alabama, Approved February 16, 1897,
     Entitled “An Act to Adopt a Code of Laws for the State Alabama ” with Such
     Statutes Passed at the Session of 1896-97, as are Required to be Incorporated
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     Therein by Act Approved February 17, 1897; and with Citations to the Decisions
     of the Supreme Court of the State Construing or Mentioning the Statutes Page
     1137, Image 1154 (Vol. 1, 1897) available at The Making of Modern Law:
     Primary Sources.
     [License Taxes; From Whom and For What Business Required; Prices; County
     Levy,] Taxation, § 27. For dealers in pistols, or pistol cartridges, or bowie-knives,
     or dirk-knives, whether principal stock in trade or not, three hundred dollars. Any
     cartridges, whether called rifle or pistol cartridges, or by any other name, that can
     be used in a pistol, shall be deemed pistol cartridges within the meaning of this
     subdivision. Any person or firm who orders for another, or delivers any cartridges
     within this state, shall be deemed a dealer under this provision.

     ALASKA

     Fred F. Barker, Compilation of the Acts of Congress and Treaties Relating to
     Alaska: From March 30, 1867, to March 3, 1905 139 1906.
     That it shall be unlawful for any person to carry concealed about his person, in any
     manner whatever, any revolver, pistol, or other firearm, or knife (other than an
     ordinary pocket knife), or any dirk or dagger, slung shot, metal knuckles, or any
     instrument by the use of which injury could be inflicted upon the person or
     property of any other person.

     1896-99 Alaska Sess. Laws 1270, An Act To Define And Punish Crimes In The
     District Of Alaska And To Provide A Code Of Criminal Procedure For Said
     District, chap. 6, § 117.
     That it shall be unlawful for any person to carry concealed about his person in any
     manner whatever, any revolver, pistol, or other firearm, or knife (other than an
     ordinary pocket knife), or any dirk or dagger, slung shot, metal knuckles, or any
     instrument by the use of which injury could be inflicted upon the person or
     property of any other person.

     ARIZONA

     Coles Bashford, The Compiled Laws of the Territory of Arizona, Including the
     Howell Code and the Session Laws From 1864 to 1871, Inclusive: To Which is
     Prefixed the Constitution of the United States, the Mining Law of the United
     States, and the Organic Acts of the Territory of Arizona and New Mexico Page 96,
     Image 102 (1871) available at The Making of Modem Law: Primary Sources,
     1867.


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     An Act to prevent the improper use of deadly weapons, and the indiscriminate use
     of fire arms in the towns and villages of the territory. § 1. That any person in this
     Territory, having, carrying or procuring from another person, any dirk, dirk knife,
     bowie knife, pistol, gun or other deadly weapon, who shall, in the presence of two
     or more persons, draw or exhibit any of said deadly weapons in a rude, angry or
     threatening manner, not in necessary self defense, or who shall, in any manner,
     unlawfully use the same in any fight or quarrel, the person or persons so offending,
     upon conviction thereof in any criminal court in any county of this Territory, shall
     be fined in any sum not less than one hundred nor more than five hundred dollars,
     or imprisonment in the county jail not less than one nor more than six months, in
     the discretion of the court, or both such fine and imprisonment, together with the
     cost of prosecution.

     1889 Ariz. Sess. Laws 16, An Act Defining And Punishing Certain Offenses
     Against The Public Peace, § 1.
     If any person within any settlement, town, village or city within this territory shall
     carry on or about his person, saddle, or in his saddlebags, any pistol, dirk, dagger,
     slung shot, sword cane, spear, brass knuckles, bowie knife, or any other kind of
     knife manufactured or sold for purposes of offense or defense, he shall be punished
     by a fine of not less than twenty-five nor more than one hundred dollars; and in *
     addition thereto, shall forfeit to the County in which his is convicted, the weapon
     or weapons so carried.

     1893 Ariz. Sess. Laws 3, An Act To Regulate And Prohibit The Carrying Of
     Deadly Weapons Concealed, § 1.
     It shall be unlawful for any person to have or carry concealed on or about his
     person any pistol or other firearm, dirk, dagger, slung-shot, sword cane, spear,
     brass knuckles, or other knuckles of metal, bowie knife or any kind of knife of
     weapon except a pocket-knife not manufactured and used for the purpose of
     offense and defense.

      1901 Arizona 1251-53, Crimes Against the Public Peace, §§ 381, 385, 390.
     § 381. It shall be unlawful for any person (except a peace officer in actual service
     and discharge of his duty), to have or carry concealed on or about his person, any
     pistol or other firearm, dirk, dagger, slung shot, sword cane, spear, brass knuckles
     or other knuckles of metal, bowie-knife or any kind of knife or weapon, except a
     pocket knife, not manufactured and used for the purpose of offense and defense.
     § 385. If any person within any settlement, town, village or city within this
     territory shall carry on or about his person, saddle, or in saddlebags, any pistol,
     dagger, slung-shot, sword-cane, spear, brass knuckles, bowie- knife or any other
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     kind of knife manufactured or sold for purposes of offense or defense, he shall be
     punished by a fine of not less than twenty-five nor more than one hundred dollars;
     and in addition shall forfeit to the county in which he is convicted the weapon or
     weapons so carried.
     § 390. Persons travelling may be permitted to carry arms within settlements or
     towns of the territory, for one half hour after arriving in such settlements or towns,
     and while going out of such towns or settlements; and sheriffs and constables of
     the various counties of this territory and their lawfully appointed deputies may
     carry weapons in the legal discharge of the duties ...

      1901 Ariz. Acts 1252, Crimes and Punishments, §§ 387, 391.
     § 387. If any person shall go into church or religious assembly, any school room,
     or other place where persons are assembled for amusement or for educational or
     scientific purposes, or into any circus, show or public exhibition of any kind or into
     a ball room, social party or social gathering, to any election precinct, on the day or
     days of any election, where any portion of the people of this territory are collected
     to vote at any election, or to any other place where people may be assembled to
     minister, or to perform any other public duty, or to any other public assembly, and
     shall have or carry about his person a pistol or other firearm, dirk, dagger, slung-
     shot, sword-cane, spear, brass knuckles, bowie knife or any other kind of knife
     manufactured and sold for the purposes of offense or defense, he shall be punished
     by a fine not less than fifty or more than five hundred dollars, and shall forfeit to
     the county the weapon or weapons so found on his person.
     § 391. It shall be the duty of the keeper of each and every hotel, boarding house
     and drinking saloon, to keep posted in a conspicuous place in his bar room, or
     reception room ... a plain notice to travelers to divest themselves of their weapons
     in accordance with section 382 ...

     ARKANSAS

     Slaves, in Laws of the Arkansas Territory 521 (J. Steele & J. M’Campbell, Eds.,
      1835).
     Race and Slavery Based | Arkansas | 1835
     § 3. No slave or mulatto whatsoever, shall keep or carry a gun, powder, shot, club
     or other weapon whatsoever, offensive or defensive; but all and every gun weapon
     and ammunition found in the possession or custody of any negro or mulatto, may
     be seized by any person and upon due proof made before any justice of the peace
     of the district [county] where such seizure shall be, shall by his order be forfeited
     to the seizor, for his own use, and moreover, every such offender shall have and


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     receive by order of such justice any number of lashes not exceeding thirty nine on
     his or her bare back well laid on for every such offense.

     Josiah Gould A Digest of the Statutes of Arkansas All Laws of a General and
     Permanent Character in Force the Close of the Session of the General Assembly of
     380 381-82. 1837.
     Every person who shall wear any pistol, dirk, butcher or large knife, or a sword in
     a cane, concealed as a weapon, unless upon a journey, shall be adjudged guilty of a
     misdemeanor.

     George Eugene Dodge, A Digest of the Laws and Ordinances of the City of Little
     Rock, with the Constitution of State of Arkansas, General Incorporation Laws, and
     All Acts of the General Assembly Relating to the City Page 230-231, Image 230-
     231 (1871) available at The Making of Modem Law: Primary Sources.
     Sentence Enhancement for Use of Weapon | Arkansas [1871
     City Ordinances, § 287. Whenever there shall be found upon the person of any one,
     who has been found guilty of a breach of the peace, or for conduct calculated to
     provoke a breach of the peace, any pistol, revolver, bowie-knife, dirk, rifle, shot
     gun, slung-shot, colt, or knuckles of lead, brass or other metal; or when, upon trial,
     evidence shall be adduced proving that such weapons were in the possession or on
     the person of any one while in the act or commission of the act aforesaid, such
     person shall be fined not less than twenty-five nor more than five hundred dollars,
     in addition to the penalty for the breach of the peace aforesaid.

     Act of Feb. 16, 1875,1874-75 Ark. Acts 156.
     § 1. That any person who shall wear or carry any pistol of any kind whatever, or
     any dirk, butcher or bowie knife, or a sword or a spear in a cane, brass or metal
     knucks, or razor, as a weapon, shall be adjudged guilty of a misdemeanor, and
     upon conviction thereof, in the county in which said offense shall have been
     committed, shall be fined in any sum not less than twenty-give nor more than one
     hundred dollars, to be recovered by presentment or indictment in the Circuit Court,
     or before any Justice of the Peace of the county wherein such offense shall have
     been committed; Provided, That nothing herein contained shall be so construed as
     to prohibit any person wearing or carrying any weapon aforesaid on his own
     premises, or to prohibit persons traveling through the country, carrying such
     weapons while on a journey with their baggage, or to prohibit any officer of the
     law wearing or carrying such weapons when engaged in the discharge of his
     official duties, or any person summoned by any such officer to assist in the
     execution of any legal process, or any private person legally authorized to execute
     any legal process to him directed.
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     1881 Ark. Acts 191, An Act to Preserve the Public Peace and Prevent Crime, chap.
     XCVI (96), § 1-2.
     That any person who shall wear or carry, in any manner whatever, as a weapon,
     any dirk or bowie knife, or a sword, or a spear in a cane, brass or metal knucks,
     razor, or any pistol of any kind whatever, except such pistols as are used in the
     army or navy of the United States, shall be guilty of a misdemeanor.... Any
     person, excepting such officers or persons on a journey, and on his premises, as are
     mentioned in section one of this act, who shall wear or cany any such pistol as i[s]
     used in the army or navy of the United States, in any manner except uncovered,
     and in his hand, shall be guilty of a misdemeanor.

     CALIFORNIA

     1849 Cal. Stat. 245, An Act to Incorporate the City of San Francisco, § 127.
     [I]f any person shall have upon him any pistol, gun, knife, dirk, bludgeon, or other
     offensive weapon, with intent to assault any person, every such person, on
     conviction, shall be fined not more than one hundred dollars or imprisoned in the
     county jail not more than three months.

     S. Garfielde, Compiled Laws of the State of California: Containing All the Acts of
     the Legislature of a Public and General Nature, Now in Force, Passed at the
     Sessions of 1850-51-52-53. To Which are Prefixed the Declaration of
     Independence, the Constitutions of the United States and of California, the Treaty
     of Queretaro, and the Naturalization Laws of the United States Page 663-664,
     Image 682-683 (1853) available at The Making of Modern Law: Primary Sources.
     Sentence Enhancement for Use of Weapon | California | 1853
     Compiled Laws of California, § 127.
     If any person shall be found having upon him or her any picklock, crow, key, bitt,
     or other instrument or tool, with intent feloniously to break and enter into any
     dwelling house, store, shop, warehouse, or other building containing valuable
     property, or shall be found in any of the aforesaid buildings with intent to steal any
     money, goods, and chattels, every person so offending shall, on conviction thereof,
     be imprisoned in the county jail not more than two years; and if any person shall
     have upon him any pistol, gun, knife, dirk, bludgeon, or other offensive weapon,
     with intent to assault any person, every such person, on conviction, shall be fined
     not more than one hundred dollars or imprisoned in the county jail not more than
     three months.



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     William H. R. Wood, Digest of the Laws of California: Containing All Laws of a
     General Character Which were in Force on the First Day of January, 1858; Also,
     the Declaration of Independence, Constitution of the United States, Articles of
     Confederation, Kentucky and Virginia Resolutions of 1798-99, Acts of Congress
     Relative to Public Lands and Pre-Emptions. Together with Judicial Decisions,
     Both of the Supreme Court of the United States and of California, to Which are
     Also Appended Numerous Forms for Obtaining Pre-Emption and Bounty Lands,
     Etc., Etc. Page 334, Image 340 (1861) available at The Making of Modem Law:
     Primary Sources.
     Crimes and Punishments, Art. 1904. That any person in this state having, carrying
     or procuring from another person any dirk, dirk-knife, bowie-knife, sword, sword-
     cane, pistol, gun or other deadly weapon, who shall, in the presence of two or more
     persons, draw or exhibit any of said deadly weapons in a rude, angry and
     threatening manner, not in necessary self-defense, or who shall, in any manner,
     unlawfully use the same, in any fight or quarrel, the person or persons so
     offending, upon conviction thereof in any criminal court in any county of this state,
     shall be fined in any sum not less than one hundred, nor more than five hundred
     dollars, or imprisonment in the county jail not less than one nor more than six
     months, at the discretion of the court, or both such fine and imprisonment, together
     with the costs of prosecution; which said costs shall, in all cases be computed and
     collected in the same manner as costs in civil cases... provided, nevertheless, that
     no sheriff, deputy sheriff, marshal, constable or other peace officer, shall be held to
     answer under the provisions of this act, for drawing or exhibiting any of the
     weapons herein-before mentioned, while in the lawful discharge of his or their
     duties...

     Theodore Henry Hittell, The General Laws of the State of California, from 1850 to
     1864, Inclusive: Being a Compilation of All Acts of a General Nature Now in
     Force, with Full References to Repealed Acts, Special and Local Legislation, and
     Statutory Constmctions of the Supreme Court. To Which are Prefixed the
     Declaration of Independence, Constitution of the United States, Treaty of
     Guadalupe Hidalgo, Proclamations to the People of California, Constitution of the
     State of California, Act of Admission, and United States Naturalization Laws, with
     Notes of California Decisions Thereon Page 261, Image 272 (1868) available at
     The Making of Modern Law: Primary Sources.
     Carrying Weapons | California | 1864
     An Act to Prohibit the Carrying of Concealed Weapons, § 1.
     Every person not being peace-officer, provost-marshal, enrolling-officer, or officer
     acting under the laws of the United States in the department of the provost-marshal
     of this State, State and Federal assessors, collectors of taxes and licenses while in
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      the performance of official duties, or traveler, who shall carry or wear any dirk,
      pistol, sword in cane, slungshot, or other dangerous or deadly weapon concealed,
      shall, upon conviction thereof before any court of competent jurisdiction, be
      deemed guilty of a misdemeanor, and shall be imprisoned in the county jail for not
      less than thirty nor more than ninety days, or fined in any sum not less than twenty
      nor more than two hundred dollars. § 2. Such persons, and no others, shall be
      deemed travelers within the meaning of this act, as may be actually engaged in
      making a journey at the time.

     William. M. Caswell, Revised Charter and Compiled Ordinances and Resolutions
     of the City of Los Angeles Page 85, Image 83 (1878) available at The Making of
     Modem Law: Primary Sources. 1878
     Ordinances of the City of Los Angeles, § 36. In future, no persons, except peace
     officers, and persons actually traveling, and immediately passing through Los
     Angeles city, shall wear or carry any dirk, pistol, sword in a cane, slung-shot, or
     other dangerous or deadly weapon, concealed or otherwise, within the corporate
     limits of said city, under a penalty of not more than one hundred dollars fine, and
     imprisonment at the discretion of the Mayor, not to exceed ten days. It is hereby
     made the duty of each police officer of this city, when any stranger shall come
     within said corporate limits wearing or carrying weapons, to, as soon as possible,
     give them information and warning of this ordinance; and in case they refuse or
     decline to obey such warning by depositing their weapons in a place of safety, to
     complain of them immediately.

     L. W. Moultrie, City Attorney, Charter and Ordinances of the City of Fresno, 1896
     Page 37, Image 35 (1896) available at The Making of Modem Law: Primary
     Sources. Misdemeanors. § 53.
     No junk-shop keeper or pawnbroker shall hire, loan or deliver to any minor under
     the age of 18 years any gun, pistol or other firearm, dirk, bowie-knife, powder,
     shot, bullets or any weapon, or any combustible or dangerous material, without the
     written consent of the parent or guardian of such minor.

     L. W. Moultrie, Charter and Ordinances of the City of Fresno Page 30, Image 28
     (1896) available at The Making of Modem Law: Primary Sources.
     Ordinances of the City of Fresno, § 8.
     Any person excepting peace officers and travelers, who shall carry concealed upon
     his person any pistol or firearm, slungshot, dirk or bowie-knife, or other deadly
     weapon, without a written permission (revocable at any time) from the president of
     the board of trustees, is guilty of a misdemeanor.


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      1917 Cal. Sess. Laws 221-225, An act relating to and regulating the carrying,
     possession, sale or other disposition of firearms capable of being concealed upon
     the person; prohibiting the possession, carrying, manufacturing and sale of certain
     other dangerous weapons and the giving, transferring and disposition thereof to
     other persons within this state; providing for the registering of the sales of
     firearms; prohibiting the carrying or possession of concealed weapons in municipal
     corporations; providing for the destruction of certain dangerous weapons as
     nuisances and making it a felony to use or attempt to use certain dangerous
     weapons against another, § 5.
     Carrying Weapons | California | 1917
     § 5. Any person who attempts to use, or who with intent to use the same
     unlawfully against another, carries or possesses a dagger, dirk, dangerous knife,
     razor, stiletto, or any loaded pistol, revolver, or other firearm, or any instrument or
     weapon commonly known as a blackjack, slungshot, billy, sandclub, sandbag,
     metal knuckles, bomb, or bombshell or any other dangerous or deadly instrument
     or weapon, is guilty of a felony. The carrying or possession of any of the weapons
     specified in this section by any person while committing, or attempting or
     threatening to commit a felony, or breach of the peace, or any act of violence
     against the person or property of another, shall be presumptive evidence of
     carrying or possessing such weapon with intent to use the same in violation of this
     section.

     1923 Cal. Stat. 695 An Act to Control and Regulate the Possession, Sale and Use
     of Pistols, Revolvers, and Other Firearms Capable of Being Concealed Upon the
     Person
     Dangerous or Unusual Weapons, Felons, Foreigners and Others Deemed
     Dangerous By the State | California | 1923
     § 1. On and after the date upon which this act takes effect, every person who
     within the State of California manufactures or causes to be manufactured, or who
     imports into the state, or who keeps for sale, or offers or exposes for sale, or who
     gives, lends, or possesses any instrument or weapon of the kind commonly known
     as a blackjack, slungshot, billy, sandclub, sandbag, or metal knuckles, or who
     carries concealed upon his person any explosive substance, other than fixed
     ammunition, or who carries concealed upon his person any dirk or dagger, shall be
     guilty of a felony and upon a conviction thereof shall be punishable by
     imprisonment in a state prison for not less than one year nor for more than five
     years.
     § 2. On and after the date upon which this act takes effect, no unnaturalized foreign
     bom person and no person who has been convicted of a felony against the person
     or property of another or against the government of the United States or of the
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     State of California or of any political subdivision thereof shall own or have in his
     possession or under his custody or control any pistol, revolver or other firearm
     capable of being concealed upon the person.

     COLORADO

     1862 Colo. Sess. Laws 56, An Act To Prevent The Carrying Of Concealed Deadly
     Weapons In The Cities And Towns Of This Territory, § 1.
     If any person or persons shall, within any city, town, or village in this Territory,
     whether the same is incorporated or not, carry concealed upon his or her person
     any pistol, bowie knife, dagger, or other deadly weapon, shall, on conviction
     thereof before any justice of the peace of the proper county, be fined in a sum not
     less than five, nor more than thirty-five dollars.

     1867 Colo. Sess. Laws 229, Criminal Code, § 149.
     Carrying Weapons | Colorado | 1867
     If any person or persons shall, within any city, town or village in this territory,
     whether the same is incorporated or not, carry concealed upon his or her person,
     any pistol, bowie-knife, dagger or other deadly weapon, such person shall, on
     conviction thereof before any justice of the peace of the proper county, be fined in
     any sum not less than five nor more than thirty-five dollars. The provision of this
     section shall not be construed to apply to sheriffs, constables and police officers,
     when in the execution of their official duties.

     1876 Colo. Const. 30, art. II, § 13.
     Post-Civil War State Constitutions | Colorado | 1876
     That the right of no person to keep and bear arms in defense of his home, person
     and property, or in aid of the civil power when hereto legally summoned, shall be
     called in question; but nothing herein contained shall be construed to justify the
     practice of carrying concealed weapons.

     1876 Colo. Sess. Laws 304, General Laws, § 154:
     [I]f any person shall have upon him any pistol, gun, knife, dirk, bludgeon, or other
     offensive weapon, with intent to assault any person, such person, on conviction
     shall be fined in any sum not exceeding five hundred dollars, or imprisoned in the
     county jail no exceeding six months.

     Edward O. Wolcott, The Ordinances of Georgetown [Colorado] Passed June 7th,
     A.D. 1877, Together with the Charter of Georgetown, and the Amendments
     Thereto: A Copy of the Patent Heretofore Issued to Georgetown by the
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     Government of the United States, and the Rules and Order of Business Page 100,
     Image 101 (1877) available at The Making of Modern Law: Primary Sources.
     Offenses Affecting Streets and Public Property, § 9.
     If any person or persons, within the corporate limits of Georgetown, shall be found
     carrying concealed, upon his or her person, any pistol, bowie knife, dagger, or
     other deadly weapon, such person shall, on conviction thereof, be fined in a sum
     not less than five dollars, nor more than fifty dollars.

     Colo. Rev. Stat 1774, Carrying Concealed Weapons—Penalty—Search Without
     Warrant—Jurisdiction of Justice, § 248. (1881)
     No person, unless authorized so to do by the chief of police of a city, mayor of a
     town or the sheriff of a county, shall use or carry concealed upon his person any
     firearms, as defined by law, nor any pistol, revolver, bowie knife, dagger, sling
     shot, brass knuckles or other deadly weapon ....

     Isham White, The Laws and Ordinances of the City of Denver, Colorado Page 369,
     Image 370 (1886) available at The Making of Modem Law: Primary Sources.
     Sentence Enhancement for Use of Weapon | Colorado | 1886
     City of Denver, Slung Shot - Brass Knuckles, § 10.
     Whenever there shall be found upon the person of anyone who is guilty of a breach
     of the peace, or of conduct calculated to provoke a breach of the peace, any slung
     shot, colt, or knuckles of lead, brass or other metal, or, when upon trial, evidence
     shall be adduced proving that such weapons were in the possession or on the
     person of anyone while in the act of commission of the acts aforesaid, such person
     shall upon conviction be fined not less than twenty-five dollars nor more than three
     hundred dollars.

     CONNECTICUT

     Charles Stoers Hamilton, Charter and Ordinances of the City of New Haven,
     Together with Legislative Acts Affecting Said City Page 164, Image 167 (1890)
     available at The Making of Modern Law: Primary Sources.
     Good Order and Decency § 192.
     Every person who shall carry in said City, any steel or brass knuckles, pistol, or
     any slung shot, stiletto or weapon of similar character, or shall carry any weapon
     concealed on his person without permission of the Mayor or Superintendent of
     Police in writing, shall, on conviction, pay a penalty of not less than five, nor more
     than fifty dollars for every such offense.



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     DELAWARE

      1797 Del. Laws 104, An Act For the Trial Of Negroes, ch. 43, § 6.
     Race and Slavery Based | Delaware [ 1797
     And be it further enacted by the authority aforesaid, That if any Negro or Mulatto
     slave shall presume to carry any guns, swords, pistols, fowling pieces, clubs, or
     other arms and weapons whatsoever, without his master’s special license for the
     same, and be convicted thereof before a magistrate, he shall be whipped with
     twenty-one lashes, upon his bare back.

      1881 Del. Laws 987, An Act Providing for the Punishment of Persons Carrying
     Concealed Deadly Weapons, ch. 548, § 1.
     That if any person shall carry concealed a deadly weapon upon or about his person
     other than an ordinary pocket knife, or shall knowingly sell a deadly weapon to a
     minor other than an ordinary pocket knife, such person shall, upon conviction
     thereof, be fined not less than twenty-five nor more than two hundred dollars or
     imprisoned in the county jail for not less than ten nor more than thirty days, or both
     at the discretion of the court: Provided, that the provisions of this section shall not
     apply to the carrying of the usual weapons by policemen and peace officers.

     Revised Statutes of the State of Delaware, of Eight Hundred and Fifty-Two. As
     They Have Since Been Amended, Together with the Additional Laws of a Public
     and General Nature, Which Have Been Enacted Since the Publication of the
     Revised Code of Eighteen Fifty-Two. To the Year of Our Lord One Thousand
     Eight Hundred and Ninety-Three; to Which are Added the Constitutions of the
     United States and of this State, the Declaration of Independence, and Appendix
     Page 987, Image 1048 (1893) available at The Making of Modern Law: Primary
     Sources.
     An Act Providing for the Punishment of Persons Carrying Concealed Deadly
     Weapons, § 1.
     § 1. That if any person shall carry concealed a deadly weapon upon or about his
     person other than an ordinary pocket knife, or shall knowingly sell a deadly
     weapon to a minor other than an ordinary pocket knife, such person shall, upon
     conviction thereof, be fined not less than twenty-five nor more than one hundred
     dollars or imprisoned in the county jail for not less than ten nor more than thirty
     days, or both at the discretion of the court: Provided, that the provisions of this
     section shall not apply to the carrying of the usual weapons by policemen and other
     peace officers.
     § 2. That if any person shall, except in lawful self-defense discharge any firearm in
     any public road in this State, shall be deemed guilty of a misdemeanor and upon
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     conviction thereof shall be punished by fine not exceeding fifty dollars or by
     imprisonment not exceeding one month, or both at the discretion of the court.

     DISTRICT OF COLUMBIA

     1 William B. Webb The Laws of the Corporation of the of Washington Digested
     and Arranged under Appropriate in Accordance with a Joint Resolution of the City
     418 (1868), Act of Nov. 18, 1858.
     It shall not be lawful for any person or persons to carry or have concealed about
     their persons any deadly or dangerous weapons, such as dagger, pistol, bowie
     knife, dirk knife, or dirk, colt, slungshot, or brass or other metal knuckles within
     the City of Washington; and any person or persons who shall be duly convicted of
     so carrying or having concealed about their persons any such weapon shall forfeit
     and pay upon such conviction not less than twenty dollars nor more than fifty
     dollars; which fines shall be prosecuted and recovered in the same manner as other
     penalties and forfeitures accruing to the city are sued for and recovered: Provided,
     That the Police officers when on duty shall be exempt from such penalties and
     forfeitures.

     An Act to Prevent the Carrying of Concealed Weapons, Aug. 10, 1871, reprinted in
     Laws of the District of Columbia: 1871-1872, Part II, 33 (1872).
     Carrying Weapons 11 1871
     Ch. XXV. Be in enacted by the Legislative Assembly of the District of Columbia,
     That it shall not be lawful for any person or persons to carry or have concealed
     about their persons any deadly or dangerous weapons, such as daggers, air-guns,
     pistols, bowie-knives, dirk-knives, or dirks, razors, razor-blades, sword-canes,
     slung-shots, or brass or other metal knuckles, within the District of Columbia; and
     any person or persons who shall be duly convicted of so carrying or having
     concealed about their persons any such weapons shall forfeit and pay, upon such a
     conviction, not less than twenty dollars nor more than fifty dollars, which fine shall
     be prosecuted and recovered in the same manner as other penalties and forfeitures
     are sued for and recovered: Provided, That the officers, non-commissioned
     officers, and privates of the United States army, navy, and marine corps, police
     officers, and members of any regularly organized militia company or regiment,
     when on duty, shall be exempt from such penalties and forfeitures.

     Washington D.C. 27 Stat. 116 (1892)
     CHAP. 159.-An Act to punish the carrying or selling of deadly or dangerous
     weapons within the District of Columbia, and for other purposes.


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      Be it enacted by the Senate and House of Representatives of the United States of
      America in Congress assembled, That it shall not be lawful for any person or
      persons within the District of Columbia, to have concealed about their person any
      deadly or dangerous weapons, such as daggers, air-guns, pistols, bowie-knives,
      dirk knives or dirks, blackjacks, razors, razor blades, sword canes, slung shot, brass
      or other metal knuckles.
      SEC. 2. That it shall not be lawful for any person or persons within the District of
      Columbia to cany openly any such weapons as hereinbefore described with intent
     to unlawfully use the same, and any person or persons violating either of these
      sections shall be deemed guilty of a misdemeanor, and upon conviction thereof
      shall, for the first offense, forfeit and pay a fine or penalty of not less than fifty
      dollars nor more than five hundred dollars, of which one half shall be paid to any
      one giving information leading to such conviction, or be imprisoned in the jail of
     the District of Columbia not exceeding six months, or both such fine and
      imprisonment, in the discretion of the court: Provided, That the officers, non­
      commissioned officers, and privates of the United States Army, Navy, or Marine
      Corps, or of any regularly organized Militia Company, police officers, officers
     guarding prisoners, officials of the United States or the District of Columbia
      engaged in the execution of the laws for the protection of persons or property,
     when any of such persons are on duty, shall not be liable for carrying necessary
      arms for use in performance of their duty: Provided, further, that nothing contained
      in the first or second sections of this act shall be so construed as to prevent any
     person from keeping or carrying about his place of business, dwelling house, or
     premises any such dangerous or deadly weapons, or from carrying the same from
     place of purchase to his dwelling house or place of business or from his dwelling
     house or place of business to any place where repairing is done, to have the same
     repaired, and back again: Provided further, That nothing contained in the first or-
     second sections of this act shall be so construed as to apply, to any person who
     shall have been granted a written permit to carry such weapon or weapons by any
     judge of the police court of the District of Columbia, and authority is hereby given
     to any such judge to grant such permit for a period of not more than one month at
     any one time, upon satisfactory proof to him of the necessity for the granting
     thereof; and further, upon the filing with such judge of a bond, with sureties to be
     approved by said judge, by the applicant for such permit, conditioned to the United
     States in such penal sum as said judge shall require for the keeping of the peace,
     save in the case of necessary self defense by such applicant during the continuance
     of said permit, which bond shall be put in suit by the United States for its benefit
     upon any breach of such condition.
     SEC. 3. That for the second violation of the provisions of either of the preceding
     sections the person or persons offending shall be proceeded against by indictment
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     in the supreme court of the District of Columbia, and upon conviction thereof shall
     be imprisoned in the penitentiary for not more than three years.
     SEC. 4. That all such weapons as hereinbefore described which may be taken from
     any person offending against any of the provisions shall, upon conviction of such
     person, be disposed of as may be ordered by the judge trying the case, and the
     record shall show any and all such orders relating thereto as a part of the judgment
     in the case.
     SEC. 5. That any person or persons who shall, within the District of Columbia,
     sell, barter, hire, lend or give to any minor under the age of twenty-one years any
     such weapon as hereinbefore described shall be deemed guilty of a misdemeanor,
     and shall, upon conviction thereof, pay a fine or penalty of not less than twenty
     dollars nor more than one hundred dollars, or be imprisoned in the jail of the
     District of Columbia not more than three months. No person shall engage in or
     conduct the business of selling, bartering, hiring, lending, or giving any weapon or
     weapons of the kind hereinbefore named without having previously obtained from
     the Commissioners of the District of Columbia a special license authorizing the
     conduct of such business by such person, and the said Commissioners are hereby
     authorized to grant such license, without fee therefor, upon the filing with them by
     the applicant therefor of a bond with sureties, to be by them approved, conditioned
     in such penal sum as they shall fix to the United States for the compliance by said
     applicant with all the provisions of this section; and upon any breach or breaches
     of said condition said bond shall be put in suit by said United States for its benefit,
     and said Commissioners may revoke said license. Any person engaging in said
     business without having previously obtained said special license shall be guilty of
     a misdemeanor and upon conviction thereof shall be sentenced to pay a fine of not
     less than one hundred dollars nor more than five hundred dollars, of which one half
     shall be paid to the informer, if any, whose information shall lead to the conviction
     of the person paying said fine. All persons whose business it is to sell barter, hire,
     lend or give any such weapon or weapons shall be and they hereby, are, required to
     keep a written register of the name and residence of every purchaser, barterer,
     hirer, borrower, or donee of any such weapon or weapons, which register shall be
     subject to the inspection of the major and superintendent of Metropolitan Police of
     the District of Columbia, and further to make a weekly report, under oath to said
     major and superintendent of all such sales, barterings, hirings, lendings or gifts.
     And one half of every fine imposed under this section shall be paid to the informer,
     if any, whose information shall have led to the conviction of the person paying said
     fine. Any police officer failing to arrest any person guilty in his sight or presence
     and knowledge, of any violation of any section of this act shall be fined not less
     than fifty nor more than five hundred dollars.


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     SEC 6. That all acts or parts of acts inconsistent with the provisions of this act be,
     and the same hereby are, repealed.

     FLORIDA

     John P. Duval, Compilation of the Public Acts of the Legislative Council of the
     Territory of Florida, Passed Prior to 1840 Page 423, Image 425 (1839) available at
     The Making of Modern Law: Primary Sources, 1835.
     An Act to Prevent any Person in this Territory from Carrying Arms Secretly. Be it
     Enacted by the Governor and Legislative Council of the Territory of Florida, That
     from and after the passage of this act, it shall not be lawful for any person in this
     Territory to carry arms of any kind whatsoever secretly, on or about their persons;
     and if any dirk, pistol, or other arm, or weapon, except a common pocket-knife,
     shall be seen, or known to be secreted upon the person of any one in this Territory,
     such person so offending shall, on conviction, be fined not exceeding five hundred
     dollars, and not less than fifty dollars, or imprisoned not more than six months, and
     not less than one month, at the discretion of the jury: Provided, however, that this
     law shall not be so construed as to prevent any person from carrying arms openly,
     outside of all their clothes; and it shall be the duty of judges of the superior courts
     in this Territory, to give the matter contained in this act in special charge to the
     grand juries in the several counties in this Territory, at every session of the courts.

     1838 Fla. Laws ch. 24, p. 36 (Feb. 10, 1838).
     No. 24. An Act in addition to An Act, (approved January 30th, 1835) entitled An
     Act to prevent any person in this Territory from carrying arms secretly.
     Section 1. Be it enacted by the Governor and Legislative Council of the Territory
     of Florida, That from and after the passage of this act, it shall not be lawful for any
     person or persons in this Territory to vend dirks, pocket pistols, sword canes, or
     bowie knives, until he or they shall have first paid to the treasurer of the county in
     which he or they intend to vend weapons, a tax of two hundred dollars per annum,
     and all persons carrying said weapons openly shall pay to the officer aforesaid a
     tax of ten dollars per annum; and it shall be the duty of said officer to give the
     parties so paying a written certificate, stating that they have complied with the
     provisions of this act. Four fifths of all monies so collected to be applied by the
     county courts to county purposes, the other fifth to be paid to the prosecuting
     attorney.
     Sec. 2. Be it further enacted, That if any person shall be known to violate this act,
     he or they so offending, shall be subject to an indictment, and on conviction, to a
     fine of not less than two hundred nor exceeding five hundred dollars, at the
     discretion of the court.
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     Sec. 3. Be it further enacted, That it shall be the duty of the several Judges of the
     Superior Courts of this Territory, to give this act in charge to the grand juriors [sic]
     of their respective districts at each term of the court.
     Passed 5th February 1838.—Approved 10th Feb. 1838.
     https://www.google.com/books/edition/Acts of the Legislative Council of the_
     TA
     LIwAOAAMAAJ?hl=en&gbpv=:l&dq=%22vend+dirks,+pocket+pistols.+sword+
     canes,+or+bowie+knives%22&pg=PA36&printsec=frontcover

     Fla. Act of Aug. 8, 1868, as codified in Fla. Rev. Stat, tit. 2, pt. 5 (1892) 2425.
     Manufacturing or selling slung shot: Whoever manufactures, or causes to be
     manufactured, or sells or exposes for sale any instrument or weapon of the kind
     usually known as slung-shot, or metallic knuckles, shall be punished by
     imprisonment not exceeding six months, or by fine not exceeding one hundred
     dollars.

     1868 Fla. Laws 2538, Persons Engaged in Criminal Offence, Having Weapons,
     chap. 7, § 10.
     Sentence Enhancement for Use of Weapon | Florida | 1868
     Whoever, when lawfully arrested while committing a criminal offense or a breach
     or disturbance of the public peace, is armed with or has on his person slung shot,
     metallic knuckles, billies, firearms or other dangerous weapon, shall be punished
     by imprisonment not exceeding three months, or by fine not exceeding one
     hundred dollars.

     James F McClellan, A Digest of the Laws of the State of Florida: From the Year
     One Thousand Eight Hundred and Twenty-Two, to the Eleventh Day of March,
     One Thousand Eight Hundred and Eighty-One, Inclusive, Page 403, Image 419
     (1881) available at The Making of Modem Law: Primary Sources. [1868]
     Offences Against Public Peace, § 13.
     Whoever shall carry arms of any kind whatever, secretly, on or about their person,
     or whoever shall have about or on their person any dirk, pistol or other arm or
     weapon, except a common pocket knife, upon conviction thereof shall be fined in a
     sum not exceeding one hundred dollars, or imprisoned in the county jail not
     exceeding six months.

     Florida Act of Aug. 6, 1888, chap. 1637, subchap. 7, § 10, as codified in Fla. Rev.
     State., tit. 2, pt. 5 (1892) 2423.
     Persons Engaged in criminal offense having weapons. - Whoever, when lawfully
     arrested while committing a criminal offense or a breach or disturbance of the
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     public peace is armed or has on his person slung-shot, metallic knuckles, billies,
     firearms or other dangerous weapon, shall be punished by imprisonment not
     exceeding one year and by fine not exceeding fifty dollars.

     GEORGIA

     Lucius Q.C. Lamar, A Compilation of the Laws of the State of Georgia, Passed by
     the Legislature since the Year 1810 to the Year 1819, Inclusive. Comprising all the
     Laws Passed within those Periods, Arranged under Appropriate Heads, with Notes
     of Reference to those Laws, or Parts of Laws, which are Amended or Repealed to
     which are Added such Concurred and Approved Resolutions, as are Either of
     General, Local, or Private Moment. Concluding with a Copious Index to the Laws,
     a Separate one to the Resolutions Page 599, Image 605 (1821) available at The
     Making of Modern Law: Primary Sources.
     Carrying Weapons | Georgia | 1816
     Offences Against the Public Peace, (1816) § 19.
     If any person shall be apprehended, having upon him or her any picklock, key,
     crow, jack, bit or other implement, with intent feloniously to break and enter into
     any dwelling-house, ware-house, store, shop, coach-house, stable, or out-house, or
     shall have upon him any pistol, hanger, cutlass, bludgeon, or other offensive
     weapon, with intent feloniously to assault any person, or shall be found in or upon
     any dwelling-house, ware-house, store, shop, coach-house, stable, or out-house,
     with intent to steal any goods or chattels; every such person shall be deemed a
     rogue and vagabond, and on conviction, shall be sentenced to undergo an
     imprisonment in the common jail of the county, or in the penitentiary, at hard
     labour, for such period of time as the jury shall recommend to the court.

      1837 Ga. Acts 90, An Act to Guard and Protect the Citizens of this State, Against
     the Unwarrantable and too Prevalent use of Deadly Weapons, §§ 1-4.
     § 1 ... it shall not be lawful for any merchant, or vender of wares or merchandize
     in this State, or any other person or persons whatsoever, to sell, or offer to sell, or
     to keep, or to have about their person or elsewhere, any of the hereinafter described
     weapons, to wit: Bowie, or any other kinds of knives, manufactured and sold for
     the purpose of wearing, or carrying the same as arms of offence or defense, pistols,
     dirks, sword canes, spears, &c., shall also be contemplated in this act, save such
     pistols as are known and used as horseman’s pistols, &c.
     § 2. And be it further enacted by the authority aforesaid, That any person or
     persons within the limits of this State, violating the provisions of this act, except as
     hereafter excepted, shall, for each and every such offence, be deemed guilty of a
     high misdemeanor, and upon trial and conviction thereof, shall be fined, in a sum
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     not exceeding five hundred dollars for the first offence, nor less than one hundred
     dollars at the direction of the Court; and upon a second conviction, and every after
     conviction of a like offence, in a sum not to exceed one thousand dollars, nor less
     than five hundred dollars, at the discretion of the Court.
     § 3. And be it further enacted by the authority aforesaid, That it shall be the duty of
     all civil officers, to be vigilant in carrying the provisions of this act into full effect,
     as well also as Grand Jurors, to make presentments of each and every offence
     under this act, which shall come under their knowledge.
     §4. And be it further enacted by the authority aforesaid, That all fines and
     forfeitures arising under this act, shall be paid into the county Treasury, to be
     appropriated to county purposes: Provided, nevertheless, that the provisions of this
     act shall not extend to Sheriffs, Deputy Sheriffs, Marshals, Constables, Overseers
     or Patrols, in actual discharge of their respective duties, but not otherwise:
     Provided, also, that no person or persons, shall be found guilty of violating the
     before recited act, who shall openly wear, externally, Bowie Knives, Dirks, Tooth
     Picks, Spears, and which shall be exposed plainly to view: And provided,
     nevertheless, that the provisions of this act shall not extend to prevent venders, or
     any other persons who now own and have for sale, any of the aforesaid weapons,
     before the first day of March next.

     1860 Ga. Laws 56, An Act to add an additional Section to the 13th Division of the
     Penal Code, making it penal to sell to or furnish slaves or free persons of color,
     with weapons of offence and defence; and for other purposes therein mentioned,
     §1.
     [A]ny person other than the owner, who shall sell or furnish to any slave or free
     person of color, any gun, pistol, bowie knife, slung shot, sword cane, or other
     weapon used for the purpose of offence or defense, shall, on indictment and
     conviction, be fined by the Court in a sum not exceeding five hundred dollars, and
     imprisoned in the common Jail of the county not exceeding six months ...

     R. H. Clark, The Code of the State of Georgia (1873) § 4528 — Deadly weapons
     not to be carried in public places
     No person in this State is permitted or allowed to carry about his or her person, any
     dirk, bowie knife, pistol or revolver, or any kind of deadly weapon, to any Court of
     justice, or any election ground, or precinct, or any place of public worship, or any
     other public gathering in this State, except militia muster grounds; and if any
     person or persons shall violate any portion of this section, he, she or they shall be
     guilty of a misdemeanor, and upon conviction, shall be punished by a fine of not
     less than twenty nor more than fifty dollars for each and every such offense, or


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     imprisonment in the common jail of the county not less than ten nor more than
     twenty days, or both, at the discretion of the Court.

     HAWAII

     1852 Haw. Sess. Laws 19, Act to Prevent the Carrying of Deadly Weapons
     Dangerous or Unusual Weapons | Hawaii | 1852
     § 1. Any person not authorized by law, who shall carry, or be found armed with,
     any bowie-knife, sword-cane, pistol, air-gun, slung-shot or other deadly weapon,
     shall be liable to a fine of no more than Thirty, and no less than Ten Dollars, or in
     default of payment of such fine, to imprisonment at hard labor, for a term not
     exceeding two months and no less than fifteen days, upon conviction of such
     offense before any District Magistrate, unless good cause be shown for having
     such dangerous weapons: and any such person may be immediately arrested
     without warrant by the Marshal or any Sheriff, Constable or other officer or person
     and be lodged in prison until he can be taken before such Magistrate.

      1913 Haw. Rev. Laws ch. 209, § 3089, Carrying Deadly Weapons
     Dangerous or Unusual Weapons | Hawaii | 1913
     § 3089. Persons not authorized; punishment. Any person not authorized by law,
     who shall carry, or be found armed with any bowie-knife, sword-cane, pistol, air-
     gun, slung-shot, or other deadly weapon, shall be liable to a fine of not more than
     Two Hundred and Fifty Dollars and not less than Ten Dollars, or in default of
     payment of such fine, to imprisonment of a term not exceeding one year, nor less
     than three months, upon conviction for such offense, unless good cause be shown
     for having such dangerous weapon; and any such person may be immediately
     arrested without warrant by the high sheriff, or any sheriff, policeman, or other
     officer or person.

     IDAHO

     Crimes and Punishments, in Compiled and Revised Laws of the Territory of Idaho
     354 (M. Kelly, Territorial Printer 1875).
     Carrying Weapons | Idaho | 1875
     § 133. If any person shall have found upon him or her any pick-lock, crow-key, bit
     or other instrument or tool, with intent feloniously to crack and enter into any
     dwelling-house, store, shop, warehouse, or other building containing valuable
     property, or shall be found in the aforesaid buildings with intent to steal any
     money, goods and chattels, every person so offending shall, on conviction thereof,
     be imprisoned in the Territorial prison for a term not less than one year nor more
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     than five years; and if any person shall have upon him or her any pistol, gun, knife,
     dirk, bludgeon, or other offensive weapon, with intent to assault any person, every
     such person, on conviction, shall be fined not more than one hundred dollars, or
     imprisoned in the county jail not more than three months.

     Charter and Revised Ordinances of Boise City, Idaho. In Effect April 12, 1894
     Page 118-119, Image 119-120 (1894) available at The Making of Modem Law:
     Primary Sources.
     Carrying Weapons | Idaho | 1879
     Carrying Concealed Weapons, § 36.
     Every person not being a sheriff, deputy sheriff, constable or other police officer,
     who shall carry or wear within the incorporated limits of Boise City, Idaho, any
     bowie knife, dirk knife, pistol or sword in cane, slung-shot, metallic knuckles, or
     other dangerous or deadly weapons, concealed, unless such persons be traveling or
     setting out on a journey, shall, upon conviction thereof before the city magistrate of
     said Boise City, be fined in any sum not exceeding twenty-five dollars for each
     offense, or imprisoned in the city jail for not more than twenty days, or by both
     such fine and imprisonment.

     1909 Id. Sess. Laws 6, An Act To Regulate the Use and Carrying of Concealed
     Deadly Weapons and to Regulate the Sale or Delivery of Deadly Weapons to
     Minors Under the Age of Sixteen Years to Provide a Penalty for the Violation of
     the Provisions of this Act, and to Exempt Certain Persons, § 1.
     Carrying Weapons | Idaho | 1909
     If any person, (excepting officials of a county, officials of the State of Idaho,
     officials of the United States, peace officers, guards of any jail, any officer of any
     express company on duty), shall carry concealed upon or about his person any dirk,
     dirk knife, bowie knife, dagger, slung shot, pistol, revolver, gun or any other
     deadly or dangerous weapon within the limits or confines of any city, town or
     village, or in any public assembly, or in any mining, lumbering , logging, railroad,
     or other construction camp within the State of Idaho ....

     ILLINOIS

     Mason Brayman, Revised Statutes of the State of Illinois: Adopted by the General
     Assembly of Said State, at Its Regular Session, Held in the Years A. D. 1844-’5:
     Together with an Appendix Containing Acts Passed at the Same and Previous
     Sessions, Not Incorporated in the Revised Statutes, but Which Remain in Force
     Page 176, Image 188 (1845) available at The Making of Modern Law: Primary
     Sources.
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     Sentence Enhancement for Use of Weapon | Illinois | 1845
     Criminal Jurisprudence, § 139. If any person shall be found,, having upon him or
     her, any pick-lock, crow, key, bit, or other instrument or tool, with intent
     feloniously to break and enter into any dwelling house, store, warehouse, shop or
     other building containing valuable property, or shall be found in any of the
     aforesaid buildings with intent to steal any goods and chattels, every such person
     so offending, shall, on conviction, be deemed a vagrant, and punished by
     confinement in the penitentiary, for any term not exceeding two years. And if any
     person shall have upon him any pistol, gun, knife, dirk, bludgeon or other offensive
     weapon, with intent to assault any person, every such person, on conviction, shall
     be fined, in a sum not exceeding one hundred dollars, or imprisoned, not exceeding
     three months.

     Harvey Bostwick Hurd, The Revised Statutes of the State of Illinois. A. D. 1874.
     Comprising the Revised Acts of 1871-2 and 1873-4, Together with All Other
     General Statutes of the State, in Force on the First Day of July, 1874 Page 360,
     Image 368 (1874) available at The Making of Modem Law: Primary Sources.
     Disorderly Conduct: Disturbing the Peace, § 56.
     Whoever, at a late and unusual hour of the night time, willfully and maliciously
     disturbs the peace and quiet of any neighborhood or family, by loud or unusual
     noises, or by tumultuous or offensive carriage, threatening, traducing, quarreling,
     challenging to fight or fighting, or whoever shall carry concealed weapons, or in a
     threatening manner display any pistol, knife, slungshot, brass, steel or iron
     knuckles, or other deadly weapon, day or night, shall be fined not exceeding $100.

     Consider H. Willett, Laws and Ordinances Governing the Village of Hyde Park
     [Illinois] Together with Its Charter and General Laws Affecting Municipal
     Corporations; Special Ordinances and Charters under Which Corporations Have
     Vested Rights in the Village. Also, Summary of Decisions of the Supreme Court
     Relating to Municipal Corporations, Taxation and Assessments Page 64, Image 64
     (1876) available at The Making of Modem Law: Primary Sources.
     Misdemeanors, § 39.
     No person, except peace officers, shall carry or wear under their clothes, or
     concealed about their person, any pistol, revolver, slung-shot, knuckles, bowie-
     knife, dirk-knife, dirk, dagger, or any other dangerous or deadly weapon, except by
     written permission of the Captain of Police.




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     Harvey Bostwick Hurd, Late Commissioner, The Revised Statutes of the State of
     Illinois. 1882. Comprising the “Revised Statutes of 1874,” and All Amendments
     Thereto, Together with the General Acts of 1875, 1877, 1879, 1881 and 1882,
     Being All the General Statutes of the State, in Force on the First Day of December,
     1882 Page 375, Image 392 (1882) available at The Making of Modem Law:
     Primary Sources. [1881]
     Deadly Weapons: Selling or Giving to Minor. § 54b.
     Whoever, not being the father, guardian, or employer or the minor herein named,
     by himself or agent, shall sell, give, loan, hire or barter, or shall offer to sell, give,
     loan, hire or barter to any minor within this state, any pistol, revolver, derringer,
     bowie knife, dirk or other deadly weapon of like character, capable of being
     secreted upon the person, shall be guilty of a misdemeanor, and shall be fined in
     any sum not less than twenty-five dollars ($25), nor more than two hundred ($200).

     Revised Ordinances of the City of Danville [Illinois] Page 66, Image 133 (1883)
     available at The Making of Modern Law: Primary Sources.
     Ordinances of the City of Danville. Concealed Weapons. § 22.
     Whoever shall carry concealed upon or about his person any pistol, revolver,
     derringer, bowie-knife, dirk, slung-shot, metallic knuckles, or a razor, as a weapon,
     or any other deadly weapon of like character, capable or being concealed upon the
     person, or whoever shall in a threatening or boisterous manner, flourish or display
     the same, shall be fined not less than one dollar, nor more than one hundred
     dollars; and in addition to the said penalty shall, upon the order of the magistrate
     before whom such conviction is had, forfeits the weapon so carried to the city.

     Illinois Act of Apr. 16, 1881, as codified in 111. Stat. Ann., Crim. Code, chap. 38
     (1885) 88. Possession or sale forbidden, § 1.
     Be it enacted by the people of the state of Illinois represented in the General
     Assembly. That whoever shall have in his possession, or sell, or give or loan, hire
     or barter, or whoever shall offer to sell, give loan, have or barter, to any person
     within this state, any slung shot or metallic knuckles, or other deadline weapon of
     like character, or any person in whose possession such weapons shall be found,
     shall be guilty of a misdemeanor ...

     INDIANA

     1804 Ind. Acts 108, A Law Entitled a Law Respecting Slaves, § 4.
     And be it further enacted, That no slave or mulatto whatsoever shall keep or carry
     any gun, powder, shot, club or other weapon whatsoever, offensive or defensive,
     but all and every gun weapon and ammunition found in the possession or custody
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     of any negro or mulatto, may be seized by any person and upon due proof thereof
     made before any justice of the peace of the district where such seizure shall be,
     shall by his order be forfeited to the seizor, for his use and moreover every such
     offender shall have and receive by order of such justice any number of loashes not
     exceeding thirty nine on his or her bare back, well laid for every such offense.

     1855 Ind. Acts 153, An Act To Provide For The Punishment Of Persons Interfering
     With Trains or Railroads, chap. 79, § 1.
     That any person who shall shoot a gun, pistol, or other weapon, or throw a stone,
     stick, clubs, or any other substance whatever at or against any locomotive, or car,
     or train of cars containing persons on any railroad in this State, shall be deemed
     guilty of a misdemeanor ...

     1859 Ind. Acts 129, An Act to Prevent Carrying Concealed or Dangerous
     Weapons, and to Provide Punishment Therefor.
     § 1. Be it enacted by the General Assembly of the State of Indiana, That every
     person not being a traveler, who shall wear or carry any dirk, pistol, bowie-knife,
     dagger, sword in cane, or any other dangerous or deadly weapon concealed, or who
     shall carry or wear any such weapon openly, with the intent or avowed purpose of
     injuring his fellow man, shall, upon conviction thereof, be fined in any sum not
     exceeding five hundred dollars.

     1875 Ind. Acts 62, An Act Defining Certain Misdemeanors, And Prescribing
     Penalties Therefore, § 1.
     That if any person shall draw or threaten to use any pistol, dirk, knife, slung shot,
     or any other deadly or dangerous weapon upon any other person he shall be
     deemed guilty of a misdemeanor, and upon conviction therefor, shall be fined in
     any sum not less than one nor more than five hundred dollars, to which may be
     added imprisonment in the county jail not to exceed six months; That the
     provisions of this act shall not apply to persons drawing or threatening to use such
     dangerous or deadly weapons in defense of his person or property, or in defense of
     those entitled to his protection by law.

     The Revised Statutes of Indiana: Containing, Also, the United States and Indiana
     Constitutions and an Appendix of Historical Documents. Vol. 1 Page 366, Image
     388 (1881) available at The Making of Modem Law: Primary Sources.
     Sensitive Places and Times | Indiana | 1881
     Crimes. § 1957. Attacking Public Conveyance. 56. Whoever maliciously or
     mischievously shoots a gun, rifle, pistol, or other missile or weapon, or throws a
     stone, stick, club, or other substance whatever, at or against any stage-coach,
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     locomotive, railroad-car, or train of cars, or street-car on any railroad in this State,
     or at or against any wharf-boat, steamboat, or other water-craft, shall be
     imprisoned in the county jail not more than one year nor less than thirty days, and
     fined not more than one hundred dollars nor less than ten dollars.

     1905 Ind. Acts 677, Public Conveyance—Attacking, § 410.
     Sensitive Places and Times | Indiana | 1905
     Whoever maliciously or mischievously shoots a gun, rifle, pistol or other weapon,
     or throws a stone, stick, club or any other substance whatever, at or against any
     stage coach, or any locomotive, railroad car, or train of cars, street car, or
     interurban car on any railroad in this state, or at or against any wharf-boat,
     steamboat, or other watercraft, shall be imprisoned in the county jail not less than
     thirty days nor more than one year, and fined not less than ten dollars nor more
     than one hundred dollars.

     IOWA

     S. J. Quincy, Revised Ordinances of the City of Sioux City. Sioux City, Iowa Page
     62, Image 62 (1882) available at The Making of Modern Law: Primary Sources.
     Carrying Weapons | Iowa | 1882
     Ordinances of the City of Sioux City, Iowa, § 4.
     No person shall, within the limits of the city, wear under his clothes, or concealed
     about his person, any pistol, revolver, slung-shot, cross-knuckles, knuckles of lead,
     brass or other metal, or any bowie-knife, razor, billy, dirk, dirk-knife or bowie-
     knife, or other dangerous weapon. Provided, that this section shall not be so
     construed as to prevent any United States, State, county, or city officer or officers,
     or member of the city government, from carrying any such weapon as may be
     necessary in the proper discharge of his official duties.

     Geoffrey Andrew Holmes, Compiled Ordinances of the City of Council Bluffs, and
     Containing the Statutes Applicable to Cities of the First-Class, Organized under the
     Laws of Iowa Page 206-207, Image 209-210 (1887) available at The Making of
     Modem Law: Primary Sources.
     Carrying Weapons | Iowa | 1887
     Carrying Concealed Weapons Prohibited, § 105.
     It shall be unlawful for any person to carry under his clothes or concealed about his
     person, or found in his possession, any pistol or firearms, slungshot, brass
     knuckles, or knuckles of lead, brass or other metal or material, or any sand bag, air
     guns of any description, dagger, bowie knife, or instmment for cutting, stabbing or
     striking, or other dangerous or deadly weapon, instrument or device; provided that
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     this section shall not be construed to prohibit any officer of the United States, or of
     any State, or any peace officer, from wearing and carrying such weapons as may
     be convenient, necessary and proper for the discharge of his official duties.

     William H. Daily, The Revised Ordinances of Nineteen Hundred of the City of Des
     Moines, Iowa Page 89-90, Image 89-90 (1900) available at The Making of Modem
     Law: Primary Sources.
     Carrying Weapons | Iowa | 1900
     Ordinances City of Des Moines, Weapons, Concealed, § 209.
     It shall be unlawful for any person to carry under his clothes or concealed about his
     person, or found in his possession, any pistol or other firearms, slungshot, brass
     knuckles, or knuckles of lead, brass or other metal or material, or any sand bag, air
     guns of any description, dagger, bowie knife, dirk knife, or other knife or
     instrument for cutting, stabbing or striking, or other dangerous or deadly weapon,
     instrument or device. Provided, that this section shall not be construed to prohibit
     any officer of the United States or of any State, or any peace officer from wearing
     or carrying such weapons as may be convenient, necessary and proper for the
     discharge of his official duties.

     1913 Iowa Acts 307, ch. 297, § 2
     § 1. It shall be unlawful for any person, except as hereinafter provided, to go armed
     with and have concealed upon his person a dirk, dagger, sword, pistol, revolver,
     stiletto, metallic knuckles, picket billy, sand bag, skull cracker, slung-shot, or other
     offensive and dangerous weapons or instruments concealed upon his person.


     KANSAS

     C. B. Pierce, Charter and Ordinances of the City of Leavenworth, with an
     Appendix Page 45, Image 45 (1863) available at The Making of Modem Law:
     Primary Sources.
     Carrying Weapons | Kansas | 1862
     An Ordinance Relating to Misdemeanors, § 23.
     For carrying or having on his or her person in a concealed manner, any pistol, dirk,
     bowie knife, revolver, slung shot, billy, brass, lead or iron knuckles, or any other
     deadly weapon within this city, a fine not less than three nor more than one
     hundred dollars.




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     Samuel Kimball, Charter, Other Powers, and Ordinances of the City of Lawrence
     Page 149, Image 157 (1866) available at The Making of Modern Law: Primary
     Sources, 1863.
     Nuisances, § 10. Any person who shall in this city have or carry concealed or
     partially concealed, upon his person, any pistol, bowie knife or other deadly
     weapon, shall, on conviction, be fined not less than one nor more than ten dollars;
     Provided, This section shall not apply to peace officers of the city or state. The
     carrying of a weapon in a holster, exposed to full view, shall not be deemed a
     concealed or partially concealed weapon under this section.

     The General Statutes of the State of Kansas, to Which the Constitutions of the
     United State of Kansas, Together with the Organic Act of the Territory of Kansas,
     the Treaty Ceding the Territory of Louisiana to the United States, and the Act
     Admitting Kansas into the Union are Prefixed Page 378, Image 387 (1868)
     available at The Making of Modern Law: Primary Sources, 1868.
     Crimes and Punishments, § 282. Any person who is not engaged in any legitimate
     business, any person under the influence of intoxicating drink, and any person who
     has ever borne arms against the government of the United States, who shall be
     found within the limits of this state, carrying on his person a pistol, bowie-knife,
     dirk or other deadly weapon, shall be subject to arrest upon the charge of
     misdemeanor, and upon conviction shall be fined in a sum not exceeding one
     hundred dollars, or by imprisonment in the county jail not exceeding three months,
     or both, at the discretion of the court.

     Revised Ordinances of the City of Salina, Together with the Act Governing Cities
     of the Second Class: Also a Complete List of the Officers of Salina During its
     Organization as a Town and City of the Second and Third Class Page 99, Image
     100 (1879) available at The Making of Modem Law: Primaiy Sources. 1879
     Ordinances of the City of Salina, An Ordinance Relating to the Carrying of Deadly
     Weapons, § 1. That it shall be unlawful for any person to carry on or about his
     person any pistol, bowie knife, dirk, or other deadly or dangerous weapon,
     anywhere within the limits of the city of Salina, save and except as hereinafter
     provided. § 2. This ordinance shall not apply to cases when any person carrying
     any weapon above mentioned is engaged in the pursuit of any lawful business,
     calling or employment and the circumstances in which such person is placed at the
     time aforesaid, are such as to justify a pmdent man in carrying such weapon, for
     the defense of his person, property or family, nor to cases where any person shall
     carry such weapon openly in his hands, for the purpose of sale, barter, or for
     repairing the same, or for use in any lawful occupation requiring the use of the
     same. § 3. Any person violating any of the provisions of this ordinance shall, upon
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     conviction thereof before the police court, be fined in any sum not less that twenty-
     five nor more than one hundred dollars.

     1881 Kan. Sess. Laws 92, c. 37, § 24.
     The Council shall prohibit and punish the carrying of firearms, or other dangerous
     or deadly weapons, concealed or otherwise, and cause to be arrested and
     imprisoned, fined or set to work, all vagrants, tramps, confidence men and persons
     found in said city without visible means of support or some legitimate business.

      1883 Kan. Sess. Laws 159, An Act To Prevent Selling, Trading Or Giving Deadly
     Weapons Or Toy Pistols To Minors, And To Provide Punishment Therefor, §§ 1-2.
      § 1. Any person who shall sell, trade, give, loan or otherwise furnish any pistol,
     revolver, or toy pistol, by which cartridges or caps may be exploded, or any dirk,
     bowie knife, brass knuckles, slung shot, or other dangerous weapons to any minor,
     or to any person of notoriously unsound mind, shall be deemed guilty of a
     misdemeanor, and shall upon conviction before any court of competent
     jurisdiction, be fined not less than five nor more than one hundred dollars.
      § 2. Any minor who shall have in his possession any pistol, revolver or toy pistol,
     by which cartridges may be exploded, or any dirk, bowie-knife, brass knuckles,
     slung shot or other dangerous weapon, shall be deemed guilty of a misdemeanor,
     and upon conviction before any court of competent jurisdiction shall be fined not
     less than one nore more than ten dollars.

      1883 Kan. Sess. Laws 159, An Act To Prevent Selling, Trading Or Giving Deadly
     Weapons Or Toy Pistols To Minors, And To Provide Punishment Therefor, §§ 1-2.
      § 1. Any person who shall sell, trade, give, loan or otherwise furnish any pistol,
     revolver, or toy pistol, by which cartridges or caps may be exploded, or any dirk,
     bowie knife, brass knuckles, slung shot, or other dangerous weapons to any minor,
     or to any person of notoriously unsound mind, shall be deemed guilty of a
     misdemeanor, and shall upon conviction before any court of competent
     jurisdiction, be fined not less than five nor more than one hundred dollars.
      § 2. Any minor who shall have in his possession any pistol, revolver or toy pistol,
     by which cartridges may be exploded, or any dirk, bowie-knife, brass knuckles,
     slung shot or other dangerous weapon, shall be deemed guilty of a misdemeanor,
     and upon conviction before any court of competent jurisdiction shall be fined not
     less than one nore more than ten dollars.

     O. P. Ergenbright, Revised Ordinances of the City of Independence, Kansas:
     Together with the Amended Laws Governing Cities of the Second Class and


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     Standing Rules of the City Council Page 162, Image 157 (1887) available at The
     Making of Modern Law: Primary Sources.
     Carrying Weapons | Kansas | 1887
     Weapons, § 27. Any person who in this city shall draw any pistol or other weapon
     in a hostile manner, or shall make any demonstration or threat of using such
     weapon on or against any person; or any person who shall carry or have on his or
     her person, in a concealed manner, any pistol, dirk, bowie-knife, revolver, slung-
     shot, billy, brass, lead, or iron knuckles, or any deadly weapon, within this city,
     shall be fined not less than five dollars, nor more than one hundred dollars:
     Provided, that this ordinance shall not be so construed as to prohibit officers of the
     law while on duty from being armed.

     Bruce L. Keenan, Book of Ordinances of the City of Wichita Published by
     Authority of a Resolution Adopted by the City Council April 24, 1899, under the
     Direction of Judiciary Committee and City Attorney, and Formally Authorized by
     Ordinance No. 1680 Page 46, Image 70 (1900) available at The Making of Modern
     Law: Primary Sources. 1899
     Ordinances of the City of Wichita, Carrying Unconcealed Deadly Weapons, § 2.
     Any person who shall in the city of Wichita carry unconcealed, any fire-arms,
     slungshot, sheath or dirk knife, or any other weapon, which when used is likely to
     produce death or great bodily harm, shall upon conviction, be fined not less than
     one dollar nor more than twenty-five dollars. Using or Carrying Bean Snapper, § 3.
     Any person who shall, in the city of Wichita, use or carry concealed or
     unconcealed, any bean snapper or like articles shall upon conviction be fined in
     any sum not less than one dollar nor more than twenty-five dollars. Carrying
     Concealed Deadly Weapons, § 4. Any person who shall in the city of Wichita,
     carry concealed about his person any fire-arm, slung shot, sheath or dirk knife,
     brass knuckles, or any weapon, which when used is likely to produce death or great
     bodily harm, shall upon conviction, be fined in any sum not exceeding one hundred
     dollars.

     KENTUCKY

     1798 Ky. Acts 106. No negro, mulatto, or Indian whatsoever shall keep or carry
     any gun, powder, shot, club, or other weapon whatsoever, offensive or defensive
     but all and every gun, weapon and ammunition found in the possession or custody
     of any negro, mulatto or Indian may be seized by any person and upon due proof
     thereof made before any justice of the peace of the county where such seizure shall
     be shall by his order, be forfeited to the seizor for his own use, and moreover every


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     such offender shall have and receive by order of such justice any number of lashes
     not exceeding thirty nine on his or her back, well laid for every such offense.

     1859 Ky. Acts 245, An Act to Amend An Act E ntitled “An Act to Reduce to One
     the Several Acts in Relation to the Town of Harrodsburg, § 23.
     If any person, other than the parent or guardian, shall sell, give or loan, any pistol,
     dirk, bowie knife, brass knucks, slung-shot, colt, cane-gun, or other deadly
     weapon, which is carried concealed, to any minor, or slave, or free negro, he shall
     be fined fifty dollars.

     LOUISIANA

     1813 La. Acts 172, An Act Against Carrying Concealed Weapons, and Going
     Armed in Public Places in an Unneccessary Manner, § 1.
     Carrying Weapons | Louisiana | 1813
     Be it enacted by the senate and house of representatives of the state of Louisiana,
     in general assembly convened, That from and after the passage of this act, any
     person who shall be found with any concealed weapon, such as a dirk, dagger,
     knife, pistol, or any other deadly weapon concealed in his bosom, coat, or in any
     other place about him that do not appear in full open view, any person so
     offending, shall on conviction thereof before any justice of the peace, be subject to
     pay a fine ....

     Henry A. Bullard & Thomas Curry, 1 A New Digest of the Statute Laws of the
     State of Louisiana, from the Change of Government to the Year 1841 at 252 (E.
     Johns & Co., New Orleans, 1842).
     Carrying Weapons | Louisiana | 1842
     [A]ny person who shall be found with any concealed weapon, such as a dirk,
     dagger, knife, pistol, or any other deadly weapon concealed in his bosom, coat, or
     in any other place about him, that do not appear in full open view, any person so
     offending, shall, on conviction thereof, before an justice of the peace, be subject to
     pay a fine not to exceed fifty dollars, nor less than twenty dollars ....

     Louisiana 1855 law 1855 La. L. Chap. 120, Sec. 115, p. 148
     Sec. 115, Be it further enacted, &c., That whoever shall carry a weapon or
     weapons concealed on or about his person, such as pistols, bowie knife, dirk, or
     any other dangerous weapon, shall be liable to prosecution by indictment or
     presentnient, and on conviction for the first offence shall be fined not less than two
     hundred and fifty dollars nor more than five hundred dollars, or imprisonment for
     one month; and for the second offence not less than five hundred dollars nor more
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     than one thousand dollars, or imprisonment in the parish prison at the discretion of
     the court, not to exceed three months, and that it shall be the duty of the Judges of
     the District Courts in this State to charge the Grand Jury, specially as to this
     section.
     https://babel.hathitrust.org/cgi/pt?id=osu.32437123281277&view=lup&seq=300&
     ql=Bowie


     1870 La. Acts 159-60, An Act to Regulate the Conduct and to Maintain the
     Freedom of Party Election .. ., § 73.
     Subject(s): Sensitive Places and Times
     [I]t shall be unlawful for any person to carry any gun, pistol, bowie knife or other
     dangerous weapon, concealed or unconcealed, on any day of election during the
     hours the polls are open, or on any day of registration or revision of registration,
     within a distance of one-half mile of any place of registration or revision of
     registration; any person violating the provisions of this section shall be deemed
     guilty of a misdemeanor; and on conviction shall be punished by a fine of not less
     than one hundred dollars, and imprisonment in the parish jail not less than one
     month ....

     La. Const, of 1879, art. III.
     Post-Civil War State Constitutions | Louisiana | 1879
     A well regulated militia being necessary to the security of a free State, the right of
     the people to keep and bear arms shall not be abridged. This shall not prevent the
     passage of laws to punish those who carry weapons concealed.




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     MAINE

     An Act to Prevent Routs, Riots, and Tumultuous assemblies, and the Evil
     Consequences Thereof, reprinted in CUMBERLAND GAZETTE (Portland, MA.),
     Nov. 17, 1786, at 1. On October 26, 1786 the following was passed into law by the
     Massachusetts Assembly: That from & after the publication of this act, if any
     persons, to the number of twelve, or more, being armed with clubs or other
     weapons; or if any number of persons, consisting of thirty, or more, shall be
     unlawfully, routously, rioutously or tumultuously assembled, any Justice of the
     Peace, Sheriff, or Deputy ... or Constable ... shall openly make [a] proclamation
     [asking them to disperse, and if they do not disperse within one hour, the officer is]
     ... empowered, to require the aid of a sufficient number of persons in arms ... and if
     any such person or persons [assembled illegally] shall be killed or wounded, by
     reason of his or their resisting the persons endeavoring to disperse or seize them,
     the said Justice, Sheriff, Deputy-Sheriff, Constable and their assistants, shall be
     indemnified, and held guiltless.

     The Revised Statutes of the State of Maine, Passed October 22, 1840; To Which
     are Prefixed the Constitutions of the United States and of the State of Maine, and
     to Which Are Subjoined the Other Public Laws of 1840 and 1841, with an
     Appendix Page 709, Image 725 (1847) available at The Making of Modern Law:
     Primary Sources.
     Justices of the Peace, § 16.
     Any person, going armed with any dirk, dagger, sword, pistol, or other offensive
     and dangerous weapon, without a reasonable cause to fear an assault on himself, or
     any of his family or property, may, on the complaint of any person having cause to
     fear an injury or breach of the peace, be required to find sureties for keeping the
     peace for a term, not exceeding one year, with the right of appeal as before
     provided.

     1841 Me. Laws 709, ch. 169, § 16.
     If any person shall go armed with a dirk, dagger, sword, pistol, or other offensive
     and dangerous weapon, without reasonable cause to fear an assault or other injury
     or violence to his person, or to his family or property, he may, on complaint of any
     person having resonable cause to fear an injury or breach of the peace, be required
     to find sureties for keeping the peace, for a term not exceeding six months, with the
     right of appealing as before provided.




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     The Revised Statutes of the State of Maine, Passed August 29, 1883, and Taking
     Effect January 1, 1884 Page 928, Image 955 (1884) available at The Making of
     Modem Law: Primary Sources.
     Prevention of Crimes, § 10.
     Whoever goes armed with any dirk, pistol, or other offensive and dangerous
     weapon, without just cause to fear an assault on himself, family, or property, may,
     on complaint of any person having cause to fear an injury or breach of the peace,
     be required to find sureties to keep the peace for a term not exceeding one year,
     and in case of refusal, may be committed as provided in the preceding sections.

     MARYLAND

     The Laws Of Maryland, With The Charter, The Bill Of Rights, The Constitution
     Of The State, And Its Alterations, The Declaration Of Independence, And The
     Constitution Of The United States, And Its Amendments Page 465, Image 466
     (1811) available at The Making of Modem Law: Primary Sources.
     Sentence Enhancement for Use of Weapon | Maryland | 1809 If any person shall be
     apprehended, having upon him or her any picklock, key, crow, jack, bit or other
     implement, with an intent feloniously to break and enter into any dwelling-house,
     ware-house, stable or out-house, or shall have upon him or her any pistol, hanger,
     cutlass, bludgeon, or other offensive weapon, with intent feloniously to assault any
     person, or shall be found in or upon any dwelling-house, warehouse, stable or out­
     house, or in any enclosed yard or garden, or area belonging to any house, with an
     intent to steal any goods or chattels, every such person shall be deemed a rouge
     and vagabond, and, on being duly convicted thereof, shall be sentenced to undergo
     a confinement in the said penitentiary for a period of time not less than three
     months nor more than two years, to be treated as law prescribes.

     1872 Md. Laws 57, An Act To Add An Additional Section To Article Two Of The
     Code Of Public Local Laws, Entitled “Anne Amndel County,” Sub-title
     “Annapolis,” To Prevent The Carrying Of concealed Weapons In Said City, § 246.
     Carrying Weapons | Maryland | 1872
     It shall not be lawful for any person to carry concealed, in Annapolis, whether a
     resident thereof or not, any pistol, dirk-knife, bowie-knife, sling-shot, billy, razor,
     brass, iron or other metal knuckles, or any other deadly weapon, under a penalty of
     a fine of not less than three, nor more than ten dollars in each case, in the discretion
     of the Justice of the Peace, before whom the same may be tried, to be collected...

     John Prentiss Poe, The Maryland Code : Public Local Laws, Adopted by the
     General Assembly of Maryland March 14, 1888. Including also the Public Local
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     Acts of the Session of 1888 incorporated therein Page 1457, Image 382 (Vol. 2,
      1888) available at The Making of Modern Law: Primary Sources.
      Sensitive Places and Times | Maryland | 1874
     Election Districts-Fences. § 99.
     It shall not be lawful for any person in Kent county to carry, on the days of
     election, secretly or otherwise, any gun, pistol, dirk, dirk-knife, razor, billy or
     bludgeon; and any person violating the provisions of this section shall be deemed
     guilty of a misdemeanor, and on conviction thereof before any justice of the peace
     of said county, shall be fined not less than five nor more than twenty dollars, and
     on refusal to pay said fine shall be committed by such justice of the peace to the
     jail of the county until the same shall be paid.

     John Prentiss Poe, The Maryland Code. Public Local Laws, Adopted by the
     General Assembly of Maryland March 14, 1888. Including also the Public Local
     Acts of the Session of 1888 Incorporated Therein Page 522-523, Image 531-532
     (Vol. 1, 1888) available at The Making of Modern Law: Primary Sources.
     Sentence Enhancement for Use of Weapon | Maryland | 1884
     City of Baltimore, § 742.
     Whenever any person shall be arrested in the city of Baltimore, charged with any
     crime or misdemeanor, or for being drunk or disorderly, or for any breach of the
     peace, and shall be taken before any of the police justices of the peace of the said
     city, and any such person shall be found to have concealed about his person any
     pistol, dirk knife, bowie-knife, sling-shot, billy, brass, iron or any other metal
     knuckles, razor, or any other deadly weapon whatsoever, such person shall be
     subject to a fine of not less than five dollars nor more than twenty-five dollars in
     the discretion of the police justice of the peace before whom such person may be
     taken, and the confiscation of the weapon so found, which said fine shall be
     collected as other fines are now collected; provided, however, that the provisions
     of this section shall not apply to those persons who, as conservators of the peace
     are entitled or required to carry a pistol or other weapon as a part of their official
     equipment.

     1886 Md. Laws 315, An Act to Prevent the Carrying of Guns, Pistols, Dirk-knives,
     Razors, Billies or Bludgeons by any Person in Calvert County, on the Days of
     Election in said County, Within One Mile of the Polls § 1:
     That from and after the passage of this act, it shall not be lawful for any person in
     Calvert County to carry, on the days of election and primary election within three
     hundred yards of the polls, secretly, or otherwise, any gun, pistol, dirk, dirk-knife,
     razor, billy or bludgeon, and any person violating the provisions of this act, shall
     be deemed guilty of a misdemeanor and on conviction thereof by the Circuit Court
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     of Calvert County ... shall be fined not less than ten nor more than fifty dollars for
     each such offense.. .

     John Prentiss Poe, The Maryland Code. Public Local Laws, Adopted by the
     General Assembly of Maryland March 14, 1888. Including also the Acts of the
     Session of 1888 Incorporated Therein, and Prefaced with the Constitution of the
     State Page 468-469, Image 568-569 (Vol. 1, 1888) available at The Making of
     Modem Law: Primary Sources.
     Carrying Weapons | Maryland | 1886
     Concealed Weapons, § 30.
     Every person, not being a conservator of the peace entitled or required to carry
     such weapon as a part of his official equipment, who shall wear or carry any pistol,
     dirk-knife, bowie- knife, slung-shot, billy, sand-club, metal knuckles, razor, or any
     other dangerous or deadly weapon of any kind whatsoever, (penknives excepted,)
     concealed upon or about his person; and every person who shall carry or wear any
     such weapon openly, with the intent or purpose of injuring any person, shall, upon
     conviction thereof, be fined not more than five hundred dollars, or be imprisoned
     not more than six months in jail or in the house of correction.

     1886 Md. Laws 315, An Act to Prevent the Carrying of Guns, Pistols, Dirk-knives,
     Razors, Billies or Bludgeons by any Person in Calvert County, on the Days of
     Election in said County, Within One Mile of the Polls § 1.
     That from and after the passage of this act, it shall not be lawful for any person in
     Calvert County to carry, on the days of election and primary election within three
     hundred yards of the polls, secretly, or otherwise, any gun, pistol, dirk, dirk-knife,
     razor, billy or bludgeon, and any person violating the provisions of this act, shall
     be deemed guilty of a misdemeanor and on conviction thereof by the Circuit Court
     of Calvert County ... shall be fined not less than ten nor more than fifty dollars for
     each such offense...




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     John Prentiss Poe, The Baltimore City Code, Containing the Public Local Laws of
     Maryland Relating to the City of Baltimore, and the Ordinances of the Mayor and
     City Council, in Force on the First Day of November, 1891, with a Supplement,
     Containing the Public Local Laws Relating to the City of Baltimore, Passed at the
     Session of 1892 of the General Assembly, and also the Ordinances of the Mayor
     and City Council, Passed at the Session of 1891-1892, and of 1892-1893, up to the
     Summer Recess of 1893 Page 297-298, Image 306-307 (1893) available at The
     Making of Modern Law: Primary Sources.
     Carrying Weapons | Maryland | 1890
     Ordinances of Baltimore, § 742A.
     Every person in said city of Baltimore not being a conservator of the peace,
     entitled or required to carry such weapons as a part of his official equipment, who
     shall wear or carry any pistol, dirk-knife, bowie-knife, sling-shot, billy, sand-club,
     metal knuckles, razor or any other dangerous or deadly weapon of any kind
     whatsoever, (pen knives excepted.) concealed upon or about his person; and every
     person who shall carry or wear such weapons openly, with the intent or purpose of
     injuring any person, shall, upon a conviction thereof, be fined not more than five
     hundred dollars, and be imprisoned not more than six months in jail or in the house
     of correction; that this act shall not release or discharge any person or persons
     already offending against the general law in such cases made and provided, but any
     such person or persons may be proceeded against, prosecuted and punished under
     the general law of this State as if this act had not been passed.

     MASSACHUSETTS

     1750 Mass. Acts 544, An Act For Preventing And Suppressing Of Riots, Routs
     And Unlawful Assemblies, chap. 17, § 1.
     If any persons to the number of twelve or more, being armed with clubs or other
     weapons. . . shall be unlawfully, riotously, or tumultuously assembled . .. (Read
     riot act, if don’t disperse)... It shall be lawful for every officer ... to seize such
     persons, and carry them before a justice of the peace; and if such persons shall be




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     killed or hurt by reason of their resisting ... officers and their assistants shall be
     indemnified and held guiltless.

     1814 Mass. Acts 464, An Act In Addition To An Act, Entitled “An Act To Provide
     For The Proof Of Fire Arms, Manufactured Within This Commonwealth,” ch. 192,
     §1,2.
     All musket barrels and pistol barrels, manufactured within this Commonwealth,
     shall, before the same shall be sold, and before the same shall be stocked, be
     proved by the person appointed according to the provisions of an act...; § 2 That
     if any person of persons, from and after the passing of this act, shall manufacture,
     within this Commonwealth, any musket or pistol, or shall sell and deliver, or shall
     knowingly purchase any musket or pistol, without having the barrels first proved
     according to the provisions of the first section of this act, marked and stamped
     according the provisions of the first section of the act.

     Theron Metcalf, The Revised Statutes of the Commonwealth of Massachusetts,
     Passed November 4, 1835; to Which are Subjoined, an Act in Amendment
     Thereof, and an Act Expressly to Repeal the Acts Which are Consolidated Therein,
     Both Passed in February 1836; and to Which are Prefixed, the Constitutions of the
     United States and of the Commonwealth of Massachusetts Page 750, Image 764
     (1836) available at The Making of Modem Law: Primary Sources.
     Of Proceedings to Prevent the Commission of Crimes, § 16.
     If any person shall go armed with a dirk, dagger, sword, pistol, or other offensive
     and dangerous weapon, without reasonable cause to fear an assault or other injury,
     or violence to his person, or to his family or property, he may, on complaint of any
     person having reasonable cause to fear an injury, or breach of the peace, be
     required to find sureties for keeping the peace, for a term not exceeding six
     months, with the right of appealing as before provided.

     1850 Mass. Gen. Law, chap. 194, §§ 1, 2, as codified in Mass. Gen. Stat, chap.
     164(1873) § 10.
     Whoever when arrested upon a warrant of a magistrate issued against him for an
     alleged offense against the laws of this state, and whoever when arrested by a
     sheriff, deputy sheriff, constable, police officer, or watchman, while committing a
     criminal offense against the laws of this state, or a breach or disturbance of the
     public peace, is armed with, or has on his person, slung shot, metallic knuckles,
     bills, or other dangerous weapon, shall be punished by fine . ..

     1850 Mass. Gen. Law, chap. 194, §§ 1, 2 as codified in Mass. Gen. Stat., chap. 164
     (1873)§ 11.
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     Whoever manufactures, or causes to be manufactured, or sells, or exposes for sale,
     any instrument or weapon of the kind usually known as slung shot, or metallic
     knuckles, shall be punished by fine not less than fifty dollars, or by imprisonment
     in the jail not exceeding six months.

     1927 Mass. Acts 416, An Act Relative to Machine Guns and Other Firearms, ch.
     326, § 5 (amending §10)
     Carrying Weapons | Massachusetts | 1927
     Whoever, except as provided by law, carries on his person, or carries on his person
     or under his control in a vehicle, a pistol or revolver, loaded or unloaded, or
     possesses a machine gun as defined in section one hundred and twenty-one of
     chapter one hundred and forty... or whoever so carries any stiletto, dagger, dirk
     knife, slung shot, metallic knuckles or sawed off shotgun, or whoever, when
     arrested upon a warrant for an alleged crime or when arrested while committing a
     crime or a breach or disturbance of the public peace, is armed with, or has on his
     person, or has on his person or under his control in a vehicle, a billy or dangerous
     weapon other than those herein mentioned, shall be punished by imprisonment for
     not less than six months nor more than two and a half years in a jail.. .

     MICHIGAN

     1887 Mich. Pub. Acts 144, An Act to Prevent The Carrying Of Concealed
     Weapons, And To Provide Punishment Therefore, § 1.
     It shall be unlawful for any person, except officers of the peace and night-watches
     legitimately employed as such, to go armed with a dirk, dagger, sword, pistol, air
     gun, stiletto, metallic knuckles, pocket-billy, sand bag, skull cracker, slung shot,
     razor or other offensive and dangerous weapon or instrument concealed upon his
     person.

     1891 Mich. Pub. Acts 409, Police Department, pt 15:... . And all persons who
     shall carry concealed on or about their persons, any pistol, revolver, bowie knife,
     dirk, slung shot, billie, sand bag, false knuckles, or other dangerous weapon, or
     who shall lay in wait, lurk or be concealed, with intent to do injury to any person
     or property, who shall threaten to beat or kill another or injure him in his person or
     property ... shall be deemed a disorderly person, and upon conviction thereof may
     be punished by a fine not exceeding one hundred dollars and the costs of
     prosecution, and in imposition of any such fine and costs the court may make a
     further sentence that in default of payment, such offender be imprisoned in the city
     prison...


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      1913 Mich. Pub. Acts 452, An Act Defining the Crime of Felonious Assault and
     Prescribing Punishment Therefor, § 1.
     Whoever shall assault another with a gun, revolver, pistol, knife, iron bar, club,
     brass knuckles or other dangerous weapon, but without intending to commit the
     crime of murder, and without intending to inflict great bodily harm less than the
     crime of murder, shall be deemed guilty of a felonious assault, and upon conviction
     shall be punished by imprisonment in the State Prison for a term not exceeding
     three years or by imprisonment in the county jail for a term not exceeding one
     year, in the discretion of the court.

      1927 Mich. Pub. Acts 888-89, An Act to Regulate and License the Selling,
     Purchasing, Possessing and Carrying of Certain Firearms, § 3.
     Dangerous or Unusual Weapons | Michigan | 1927
     It shall be unlawful within this state to manufacture, sell, offer for sale, or possess
     any machine gun or firearm which can be fired more than sixteen times without
     reloading, or any muffler, silencer or device for deadening or muffling the sound of
     a discharged firearm, or any bomb or bombshell, or any blackjack, slung shot,
     billy, metallic knuckles, sandclub, sandbag or bludgeon. Any person convicted of a
     violation of this section shall be guilty of a felony and shall be punished by a fine
     not exceeding one thousand dollars or imprisonment in the state prison not more
     than five years, or by both such fine and imprisonment in the discretion of the
     court....

     1929 Mich. Pub. Acts 529, An Act to Regulate and License the Selling,
     Purchasing, Possessing and Carrying of Certain Firearms, § 3.
     Dangerous or Unusual Weapons | Michigan | 1929
     It shall be unlawful within this state to manufacture, sell, offer for sale or possess
     any machine gun or firearm which can be fired more than sixteen times without
     reloading or any muffler, silencer, or device for deadening or muffling the sound of
     a discharged firearm, or any bomb, or bomb shell, blackjack, slung shot, billy,
     metallic knuckles, sand club, sand bag, or bludgeon or any gas ejecting device,
     weapon, cartridge, container, or contrivance designed or equipped for or capable of
     ejecting any gas which will either temporarily or permanently disable, incapacitate,
     injure or harm any person with whom it comes in contact.

     MINNESOTA

     W. P. Murray, The Municipal Code of Saint Paul: Comprising the Laws of the
     State of Minnesota Relating to the City of Saint Paul, and the Ordinances of the


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    Common Council; Revised to December 1, 1884 Page 289, Image 295 (1884)
    available at The Making of Modern Law: Primary Sources.
    Concealed Weapons - License, § 1.
    It shall be unlawful for any person, within the limits of the city of St. Paul, to carry
    or wear under his clothes, or concealed about his person, any pistol or pistols, dirk,
    dagger, sword, slungshot, cross-knuckles, or knuckles of lead, brass or other metal,
    bowie-knife, dirk-knife or razor, or any other dangerous or deadly weapon. § 2.
    Any such weapons or weapons, duly adjudged by the municipal court of said city
    to have been worn or carried by any person, in violation of the first section of this
    ordinance, shall be forfeited or confiscated to the said city of St. Paul, and shall be
    so adjudged. § 3. Any policeman of the city of St. Paul, may, within the limits of
    said city, without a warrant, arrest any person or persons, whom such policeman
    may find in the act of carrying or wearing under their clothes, or concealed about
    their person, any pistol or pistols, dirk, dagger, sword, slungshot, cross-knuckles,
    or knuckles of lead, brass or other metal, bowie-knife, dirk-knife or razor, or any
    other dangerous or deadly weapon, and detain him, her or them in the city jail,
    until a warrant can be procured, or complaint made for the trial of such person or
    persons, as provided by the charter of the city of St. Paul, for other offenses under
    said charter, and for the trial of such person or persons, and for the seizure and
    confiscation of such of the weapons above referred to, as such person or persons
    may be found in the act of carrying or wearing under their clothes, or concealed
    about their persons.

    George Brooks Young. General Statutes of the State of Minnesota in Force January
    1, 1889 Page 1006, Image 1010 (Vol. 2, 1888) available at The Making of Modern
    Law: Primary Sources.
    Dangerous or Unusual Weapons | Minnesota | 1888
    Making, Selling, etc., Dangerous Weapons, §§ 333-334.
    § 333. A person who manufactures, or causes to be manufactured, or sells, or keeps
    for sale, or offers or gives or disposes of any instrument or weapon of the kind
    usually known as slung-shot, sand-club, or metal knuckles, or who, in any city of
    this state, without the written consent of a magistrate, sells or gives any pistol or
    fire-arm to any person under the age of eighteen years, is guilty of a misdemeanor.
    Carrying, using, etc., certain Weapons ....
    § 334. A person who attempts to use against another, or who, with intent so to use,
    carries, conceals, or possesses any instrument or weapon of the kind commonly
    known as a slung-shot, sand-club, or metal knuckles, or a dagger, dirk, knife, pistol
    or other fire-arm, or any dangerous weapon, is guilty of a misdemeanor.



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     MISSISSIPPI

     1799 Miss. Laws 113, A Law For The Regulation Of Slaves. No Negro or mulatto
     shall keep or carry any gun, powder, shot, club or other weapon whatsoever,
     offensive or defensive; but all and every gun, weapon and ammunition found in the
     possession or custody of any negro or mulatto may be seized by any person ...
     every such offender shall have and receive by order of such justice, any number of
     lashes not exceeding thirty-nine, on his or her bare back, well laid on, for every
     such offense.

     1804 Miss. Laws 90, An Act Respecting Slaves, § 4. No Slave shall keep or carry
     any gun, powder, shot, club or other weapon whatsoever offensive or defensive,
     except tools given him to work with .. .

     1837 Miss. Law 289-90, An Act To Prevent The Evil Practice Of Dueling In This
     State And For Other Purposes, § 5.
     That if any person or persons shall be guilty of fighting in any corporate city or
     town, or any other town or public place, in this state, and shall in such fight use
     any rifle, shot gun, sword, sword cane, pistol, dirk, bowie knife, dirk knife, or any
     other deadly weapon; or if any person shall be second or aid in such fight, the
     persons so offending shall be fined not less than three hundred dollars, and shall be
     imprisoned not less than three months; and if any person shall be killed in such
     fight, the person so killing the other may also be prosecuted and convicted as in
     other cases of murder.

     Laws of the State of Mississippi; embracing all Acts of a Public Nature from
     January Session, 1824, to January Session 1838, Inclusive Page 736, Image 738
     (Jackson, 1838) available at The Making of Modem Law: Primary Sources, 1838.
     An Act to Prevent the Evil Practice of Dueling in this State, and for other Purposes,
     § 5. Be it further enacted, That if any person or persons shall be guilty of fighting
     in any corporate city or town, or any other town, or public place, in this state, and
     shall in such fight use any rifle, shot gun, sword, sword cane, pistol, dirk, bowie
     knife, dirk knife, or any other deadly weapon; or if any persons shall be second or
     aid in such fight, the persons so offending shall be fined not less than three
     hundred dollars, and shall be imprisoned not less than three months; and if any
     person shall be killed in such fight, the person so killing the other may also be
     prosecuted and convicted as in other cases of murder.

     Volney Erskine Howard, The Statutes of the State of Mississippi of a Public and
     General Nature, with the Constitutions of the United States and of this State: And
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     an Appendix Containing Acts of Congress Affecting Land Titles, Naturalization,
     &c, and a Manual for Clerks, Sheriffs and Justices of the Peace Page 676, Image
     688 (1840) available at The Making of Modem Law: Primary Sources. 1840
     Crimes, Misdemeanors and Criminal Prosecution, § 55. If any person having or
     carrying any dirk, dirk knife, Bowie knife, sword, sword cane, or other deadly
     weapon, shall, in the presence of three or more persons, exhibit the same in a rude,
     angry and threatening manner, not in necessary self-defense, or shall in any
     manner unlawfully use the same in any fight or quarrel, the person or persons so
     offending, upon conviction thereof in the circuit or criminal court of the proper
     county, shall be fined in a sum not exceeding five hundred dollars, and be
     imprisoned not exceeding three months.

      1878 Miss. Laws 175, An Act To Prevent The Carrying Of Concealed Weapons
     And For Other Purposes, § 1.
     That any person not being threatened with or havin good and sufficient reason to
     apprehend an attack, or traveling (not being a tramp) or setting out on a long
     journey, or peace officers, or deputies in discharge of their duties, who carries
     concealed in whole or in part, any bowie knife, pistol, brass knuckles, slung shot or
     other deadly weapon of like kind or description shall be deemed guilty of a
     misdemeanor, and on conviction, shall be punished for the first offense by a fine of
     not less than five dollars nor more than one hundred dollars ...

     MISSOURI

     Organic Laws:-Laws of Missouri Territory, (Alphabetically Arranged):-Spanish
     Regulations for the Allotment of Lands:- Laws of the United States, for Adjusting
     Titles to Lands, &c. to Which are Added, a Variety of Forms, Useful to
     Magistrates Page 374, Image 386 (1818) available at The Making of Modern Law:
     Primary Sources. 1818.
     Slaves, § 3. No slave or mulatto whatsoever, shall keep or carry a gun, powder,
     shot, club or other weapon whatsoever, offensive or defensive; but all and every
     gun weapon and ammunition found in the possession or custody of any negro or
     mulatto, may be seized by any person and upon due proof made before any justice
     of the peace of the district [county] where such seizure shall be, shall by his order
     be forfeited to the seizor, for his own use, and moreover, every such offender shall
     have and receive by order of such justice any number of lashes not exceeding thirty
     nine on his or her bare back well laid on for every such offence. § 4. Every free
     negro or mulatto, being a housekeeper may be permitted to keep one gun, powder
     and shot; and all negroes or mulattoes bond or free, living at any frontier
     plantation, may be permitted to keep and use guns, powder shot and weapons,
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    offensive and defensive, by license from a justice of the peace of the district
    [county] wherein such plantation lies, to be obtained upon the application of free
    negroes or mulattoes or of the owners of such as are slaves.

    Everett Wilson Pattison, The Revised Ordinance of the City of St. Louis, Together
    with the Constitution of the United States, and of the State of Missouri; the Charter
    of the City; and a Digest of the Acts of the General Assembly, Relating to the City
    Page 491-492, Image 499-500 (1871) available at The Making of Modem Law:
    Primary Sources.
    Carrying Weapons | Missouri | 1871
    Ordinances of the City of St. Louis, Misdemeanors, §§9-10.
    § 9. Hereafter it shall not be lawful for any person to wear under his clothes, or
    concealed about his person, any pistol, or revolver, colt, billy, slung shot, cross
    knuckles, or knuckles of lead, brass or other metal, bowie knife, razor, dirk knife,
    dirk, dagger, or any knife resembling a bowie knife, or any other dangerous or
    deadly weapon, within the City of St. Louis, without written permission from the
    Mayor; and any person who shall violate this section shall be deemed guilty of a
    misdemeanor, and, upon conviction thereof, be fined not less than ten nor more
    than five hundred dollars for each and every offence.
    § 10. Nothing in the preceding section shall be so construed as to prevent any
    United States, State, county or city officer, or any member of the city government,
    from carrying or wearing such weapons as may be necessary in the proper
    discharge of his duties.

    1883 Mo. Laws 76, An Act To Amend Section 1274, Article 2, Chapter 24 Of The
    Revised Statutes Of Missouri, Entitled “Of Crimes And Criminal Procedure”
    § 1274.
    If any person shall carry concealed, upon or about his person, any deadly or
    dangerous weapon, or shall go into any church or place where people have
    assembled for religious worship, or into any school room or place where people are
    assembled for educational, literary or social purposes, or to any election precinct
    on any election day, or into any court room during the siting of court, or into any
    other public assemblage of persons met for any lawful purpose other than for
    militia drill or meetings called under the militia law having upon or about his
    person any kind of fire arms, bowie knife, dirk, dagger, slung-shot, or other deadly
    weapon, or shall in the presence of one or more persons shall exhibit and such
    weapon in a rude, angry or threatening manner, or shall have or carry any such
    weapon upon or about his person when intoxicated or under the influence of
    intoxicating drinks, or shall directly or indirectly sell or deliver, loan or barter to
    any minor any such weapon, without the consent of the parent or guardian of such
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     minor, he shall, upon conviction be punished by a fine of not less than twenty-five
     nor more than two hundred dollars, or by imprisonment in the county jail not
     exceeding six months, or by both such fine and imprisonment.

     William K. Amick, The General Ordinances of the City of Saint Joseph (A City of
     the Second Class) Embracing all Ordinances of General Interest in Force July 15,
     1897, together with the Laws of the State of Missouri of a General Nature
     Applicable to the City of St. Joseph. Compiled and Arranged Page 508, Image 515
     (1897) available at The Making of Modem Law: Primary Sources.
     Carrying Weapons | Missouri | 1897
     Concealed Weapons - Carrying of, § 7.
     Any person who shall in this city wear under his clothes or carry concealed upon or
     about his person, or be found having upon or about his person concealed, any
     pistol or revolver, colt, billy, slung shot, cross knuckles or knuckles of lead, brass
     or other metal, dirk, dagger, razor, bowie knife, or any knife resembling a bowie
     knife, or any other dangerous or deadly weapon, shall be deemed guilty of a
     misdemeanor.

    Joplin Code of 1917, Art. 67, § 1201. Missouri. Weapons; Deadly.
    If any person shall carry concealed upon or about his person a dangerous or deadly
    weapon of any kind or description, or shall go into any church or place where
    people have assembled for religious worship, or into any school room or place
    where people are assembled for educational, political, literary or social purposes,
    or to any election precinct on any election day, or into any court room during the
    sitting of court, or into any other public assemblage of persons met for any lawful
    purpose other than for militia drill, or meetings called under militia law of this
    state, having upon or about his person, concealed or exposed, any kind of firearms,
    bowie knife, spring-back knife, razor, knuckles, bill, sword cane, dirk, dagger,
    slung shot, or other similar deadly weapons, or shall, in the presence of one or
    more persons, exhibit any such weapon in a rude, angry or threatening manner, or
    shall have any such weapons in his possession when intoxicated, or directly or
    indirectly shall sell or deliver, loan or barter, to any minor any such weapon,
    without the consent of the parent or guardian of such minor, he shall be deemed
    guilty of a misdemeanor. Provided, that nothing contained in this section shall
    apply to legally qualified sheriffs, police officers, and other persons whose bona
    fide duty is to execute process, civil or criminal, make arrests, or aid in conserving
    the public peace, nor to persons traveling in a continuous journey peaceably
    through this state.



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    1923 Mo. Laws 241-42, An Act to Provide the Exercise of the Police Powers of the
    State by and through Prohibiting the Manufacture, Possession, Transportation, Sale
    and Disposition of Intoxicating Liquors.. .§ 17.
    Sensitive Places and Times | Missouri | 1923
    Any person, while in charge of, or a passenger thereon, who shall carry on his
    person, or in, on, or about, any wagon, buggy, automobile, boat, aeroplane, or
    other conveyance or vehicle whatsoever, in, or upon which any intoxicating liquor,
    including wine or beer, is carried, conveyed or transported in violation of any
    provision of the laws of this state, any revolver, gun or other firearm, or explosive,
    any bowie knife, or other knife having a blade of more than two and one-half
    inches in length, any sling shot, brass knucks [sic], billy, club or other dangerous
    weapon, article or thing which could, or might, be used in inflicting bodily injury
    or death upon another, shall be deemed guilty of a felony, and, upon conviction
    thereof, shall be punished by the imprisonment in the state penitentiary for a term
    of not less than two years. Provided, that this section shall not apply to any person
    or persons transporting intoxicating liquor for personal use and not for sale in
    violation of law. Provided, that this section shall not apply to any person or
    passenger who did not know that such vehicle or conveyance was being used for
    unlawful purposes.

    MONTANA

    1864 Mont. Laws 355, An Act to Prevent the Carrying of Concealed Deadly
    Weapons in the Cities and Towns of This Territory, § 1.
    If any person shall within any city, town, or village in this territory, whether the
    same is incorporated or not, carry concealed upon his or her person any pistol,
    bowie-knife, dagger, or other deadly weapon, shall, on conviction thereof before
    any justice of the peace of the proper county, be fined in any sum not less than
    twenty five dollars, nor more than one hundred dollars.

    1879 Mont. Laws 359, Offences against the Lives and Persons of Individuals, ch.
    4, §23.
    If any person shall, by previous appointment or agreement, fight a duel with a rifle,
    shot-gun, pistol, bowie-knife, dirk, small-sword, back-sword, or other dangerous
    weapon, and in so doing shall kill his antagonist, or any person or persons, or shall
    inflict such wound as that the party or parties injured shall die thereof within one
    year thereafter, every such offender shall be deemed guilty of murder in the first
    degree, and, upon conviction thereof, shall be punished accordingly [death by
    hanging].


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    1885 Mont. Laws 74, Deadly Weapons, An Act to Amend § 62 of Chapter IV of
    the Fourth Division of the Revised Statutes, § 62-63.
    Every person in this territory having, carrying, or procuring from another person,
    any dirk, dirk-knife, sword, sword-cane, pistol, gun, or other deadly weapon, who
    shall in the presence of one or more persons, draw or exhibit any of said deadly
    weapons in a rude or angry or threatening manner, not in necessary self defense, or
    who shall in any manner unlawfully use the same in any fight or quarrel, the
    person or persons so offending, upon conviction thereof in any criminal court in
    any county in this territory shall be fined in any sum not less than ten dollars nor
    more than one hundred dollars, or imprisoned in the county jail not less than one
    month nor more than three months, at the discretion of the court, or by both such
    fine and imprisonment, together with the costs of prosecution, which said costs
    shall in all cases be computed and collected in the same manner as costs in civil
    cases; and all fines and forfeitures arising under the provisions of this act shall be
    paid into the county treasury for school purposes: Provided, that no sheriff, deputy
    sheriff, constable, marshal, or other peace officer, shall be held to answer, under
    the provisions of this act, for drawing or exhibiting any of the weapons
    hereinbefore mentioned while in the lawful discharge of his or their duties.

    1887 Mont. Laws 549, Criminal Laws, § 174.
    If any person shall have upon him or her any pistol, gun, knife, dirk-knife,
    bludgeon, or other offensive weapon, with intent to assault any person, every such
    person, on conviction, shall be fined not more than one hundred dollars, or
    imprisoned in the county jail not more than three months.

    NEBRASKA

    1858 Neb. Laws 69, An Act To Adopt And Establish A Criminal code For The
    Territory Of Nebraska, § 135.
    And if any person shall have upon him any pistol, gun, knife, dirk, bludgeon or
    other offensive weapon with intent to assault any person, every such person, on
    conviction, shall be fined in a sum not exceeding one hundred dollars.. .

    Gilbert B. Colfield, Laws, Ordinances and Rules of Nebraska City, Otoe County,
    Nebraska Page 36, Image 36 (1872) available at The Making of Modern Law:
    Primary Sources.
    Carrying Weapons | Nebraska | 1872
    Ordinance No. 7, An Ordinance Prohibiting the Carrying of Fire Arms and
    Concealed Weapons, § 1.


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     Be it ordained by the Mayor and Councilmen of the City of Nebraska City, That it
     shall be, and it is hereby declared to be unlawful for any person to carry, openly or
     concealed, any musket, rifle, shot gun, pistol, sabre, sword, bowie knife, dirk,
     sword cane, billy slung shot, brass or other metallic knuckles, or any other
     dangerous or deadly weapons, within the corporate limits of Nebraska City, Neb;
     Provided, that nothing herein contained shall prevent the carrying of such weapon
     by a civil or military officer, or by a soldier in the discharge of his duty, nor by any
     other person for mere purposes of transportation from one place to another.

     W. J. Connell, The Revised Ordinances of the City of Omaha, Nebraska,
     Embracing All Ordinances of a General Nature in Force April 1, 1890, Together
     with the Charter for Metropolitan Cities, the Constitution of the United States and
     the Constitution of the State of Nebraska Page 344, Image 356 (1890) available at
     The Making of Modern Law: Primary Sources.
     Carrying Weapons | Nebraska | 1890
     Ordinances of Omaha, Concealed Weapons, § 10.
     It shall be unlawful for any person to wear under his clothes, or concealed about
     his person, any pistol or revolver, colt, billy, slung-shot, brass knuckles or knuckles
     of lead, dirk, dagger, or any knife resembling a bowie knife, or any other
     dangerous or deadly weapon within the corporate limits of the city of Omaha. Any
     person guilty of a violation of this section shall, on conviction, be fined not
     exceeding one hundred ($100) dollars for each and every offense; nothing in this
     section, however, shall be so construed as to prevent the United States Marshals
     and their deputies, sheriffs and their deputies, regular or special police officers of
     the city, from carrying or wearing such weapons as may be deemed necessary in
     the proper discharge of their duties. Provided, however, If it shall be proved from
     the testimony on the trial of any such case, that the accused was, at the time of
     carrying any weapon as aforesaid, engaged in the pursuit of lawful business,
     calling or employment and the circumstances in which he was placed at the time
     aforesaid were such as to justify a prudent man in carrying the weapon or weapons
     aforesaid, for the defense of his person, property or family, the accused shall be
     acquitted.

     Compiled Ordinances of the City of Fairfield, Clay County, Nebraska Page 34,
     Image 34 (1899) available at The Making of Modern Law: Primary Sources.
     Carrying Weapons | Nebraska | 1899
     Ordinance No. 20, An Ordinance to Prohibit the Carrying of Concealed Weapons
     and Fixing a Penalty for the violations of the same. Be it ordained by the Mayor
     and Council of the City of Fairfield, Nebraska: § 1.


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    It shall be unlawful for any person to carry upon his person any concealed pistol,
    revolver, dirk, bowie knife, billy, sling shot, metal knuckles, or other dangerous or
    deadly weapons of any kind, excepting only officers of the law in the discharge or
    their duties; and any person so offending shall be deemed guilty of a misdemeanor,
    and on conviction thereof, shall be subject to the penalty hereinafter provided. § 2.
    Any such weapon or weapons, duly adjudged by the Police Judge of said city to
    have been worn or carried by any person in violation of the first section of this
    ordinance, shall be forfeited or confiscated to the City of Fairfield and shall be so
    adjudged.

    NEVADA

    Bonnifield, The Compiled Laws of the State of Nevada. Embracing Statutes of
    1861 to 1873, Inclusive Page 563, Image 705 (Vol. 1, 1873) available at The
    Making of Modern Law: Primary Sources.
    Of Crimes and Punishments, §§ 35-36.
    § 35. If any person shall by previous appointment or agreement, fight a duel with a
    rifle, shotgun, pistol, bowie knife, dirk, smallsword, backsword, or other dangerous
    weapon, and in doing shall kill his antagonist, or any person or persons, or shall
    inflict such wound as that the party or parties injured shall die thereof within one
    year thereafter, every such offender shall be deemed guiltily of murder in the first
    degree and upon conviction thereof shall be punished accordingly.
    § 36. Any person who shall engage in a duel with any deadly weapon although no
    homicide ensue or shall challenge another to fight such duel, or shall send or
    deliver any verbal or written message reporting or intending to be such challenge,
    although no duel ensue, shall be punished by imprisonment in the State prison not
    less than two nor more than ten years, and shall be incapable of voting or holding
    any office of trust or profit under the laws of this State.

    David E. Daily, The General Statutes of the State of Nevada. In Force. From 1861
    to 1885, Inclusive. With Citations of the Decisions of the Supreme Court Relating
    Thereto Page 1077, Image 1085 (1885) available at The Making of Modern Law:
    Primary Sources.
    Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible |
    Nevada|1881
    An Act to prohibit the carrying of concealed weapons by minors. § 1.
    Every person under the age of twenty-one (21) years who shall wear or carry any
    dirk, pistol, sword in case, slung shot, or other dangerous or deadly weapon
    concealed upon his person, shall be deemed guilty of a misdemeanor, and shall,
    upon conviction thereof, be fined not less than twenty nor more than two hundred
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     ($200) dollars, or by imprisonment in the county jail not less than thirty days nor
     more than six months or by both such fine and imprisonment.

     NEW JERSEY

    The Grants, Concessions, And Original Constitutions Of The Province Of New
    Jersey Page 289-290 (1881) (1686)
    An Act Against Wearing Swords, Etc. Whereas there hath been great complaint by
    the inhabitants of this Province, that several persons wearing swords, daggers,
    pistols, dirks, stilettoes, skeines, or any other unusual or unlawful weapons, by
    reason of which several persons in this Province, receive great abuses, and put in
    great fear and quarrels, and challenges made, to the great abuse of the inhabitants
    of this Province... And be it further enacted by the authority aforesaid, that no
    person or persons after publication hereof, shall presume privately to wear any
    pocket pistol, skeines, stilettoes, daggers or dirks, or other unusual or unlawful
    weapons within this Province, upon penalty for the first offence five pounds, and to
    be committed by any justice of the peace, his warrant before whom proof thereof
    shall be made, who is hereby authorized to enquire of and proceed in the same, and
    keep in custody till he hath paid the said five pounds, one half to the public
    treasury for the use of this Province, and the other half to the informer: And if such
    person shall again offend against this law, he shall be in like manner committed
    upon proof thereof before any justice of the peace to the common jail, there to
    remain till the next sessions, and upon conviction thereof by verdict of twelve men,
    shall receive judgment to be in prison six month, and pay ten pounds for the use
    aforesaid. And be it further enacted by the authority aforesaid, that no planter shall
    ride or go armed with sword, pistol or dagger, upon the penalty of five pounds, to
    be levied as aforesaid, excepting all officers, civil and military, and soldiers while
    in actual service, as also all strangers, travelling upon their lawful occasions
    through this Province, behaving themselves peaceably.

    Charles Nettleton, Laws of the State ofNew-Jersey Page 474, Image 501 (1821)
    available at The Making of Modern Law: Primary Sources.
    Sentence Enhancement for Use of Weapon | New Jersey | 1799
    [An Act to Describe, Apprehend and Punish Disorderly Persons (1799)], § 2.
    And whereas diverse ill disposed persons are frequently apprehended, having upon
    them implements for house-breaking, or offensive weapons, or are found in or
    upon houses, warehouses, stables, bams or out-houses, areas of houses, coach­
    houses, smoke-houses, enclosed yards, or gardens belonging to houses, with intent
    to commit theft, misdemeanors or other offences; and although their evil purposes
    are thereby manifested, the power of the justices of the peace to demand of them
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    sureties for their good behavior hath not been of sufficient effect to prevent them
    from carrying their evil purpose into execution; Be it further enacted. That if any
    person shall be apprehended, having upon him or her any picklock, key, crow,
    jack, bit or other implement, with an intent to break and enter into any dwelling-
    house or out-house; or shall have upon him or her any pistol, hanger, cutlass,
    bludgeon, or other offensive weapon, with intent to assault any person; or shall be
    found in or upon any dwelling-house, ware-house, stable, bam, coach-house,
    smoke-house or out-house, or in any enclosed yard or garden, or area belonging to
    any house, with an intent to steal any goods or chattels, then he or she shall be
    deemed and adjudged to be a disorderly person.

     Charles Nettleton, Laws of the State of New-Jersey Page 474, Image 501 (1821)
     available at The Making of Modern Law: Primary Sources, 1799.
     [An Act to Describe, Apprehend and Punish Disorderly Persons (1799)], § 2. And
    whereas diverse ill disposed persons are frequently apprehended, having upon
    them implements for house-breaking, or offensive weapons, or are found in or
    upon houses, warehouses, stables, bams or out-houses, areas of houses, coach­
    houses, smoke-houses, enclosed yards, or gardens belonging to houses, with intent
    to commit theft, misdemeanors or other offences; and although their evil purposes
     are thereby manifested, the power of the justices of the peace to demand of them
     sureties for their good behavior hath not been of sufficient effect to prevent them
    from carrying their evil purpose into execution; Be it further enacted, That if any
    person shall be apprehended, having upon him or her any picklock, key, crow,
    jack, bit or other implement, with an intent to break and enter into any dwelling-
    house or out-house; or shall have upon him or her any pistol, hanger, cutlass,
    bludgeon, or other offensive weapon, with intent to assault any person; or shall be
    found in or upon any dwelling-house, ware-house, stable, bam, coach-house,
    smoke-house or out-house, or in any enclosed yard or garden, or area belonging to
    any house, with an intent to steal any goods or chattels, then he or she shall be
    deemed and adjudged to be a disorderly person.

    Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
    under the Act Entitled “An Act to Re-organize the Local Government of Jersey
    City,” Passed March 31, 1871, and the Supplements Thereto Page 41, Image 41
    (1874) available at The Making of Modem Law: Primary Sources.
    Carrying Weapons | New Jersey | 1871
    An Ordinance To Prevent the Carrying of Loaded or Concealed Weapons within
    the Limits of Jersey City. The Mayor and Aldermen of Jersey City do ordain as
    follows: § 1.


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    That it shall not be lawful for any person or persons (excepting policemen and
    private watchmen when on duty), within the corporate limits of Jersey City, to
    carry, have, or keep concealed on his or her person any instrument or weapon
    commonly known as a slung-shot, billy, sand-club or metal knuckles, and any dirk
    or dagger (not contained as a blade of a pocket-knife), and loaded pistol or other
    dangerous weapon, under the penalty of not exceeding twenty dollars for each
    offense. § 2. That it shall not be lawful for any person or persons (excepting
    policemen and private watchmen when on duty), within the corporate limits of
    Jersey City, to carry or wear any sword in a cane, or air-gun, under the penalty of
    not exceeding twenty dollars for each offense. § 3. Any forfeiture on penalty
    arising under this ordinance may be recovered in the manner specified by the City
    Charter, and all persons violating any of the provisions aforesaid shall, upon
    conviction, stand committed until the same be paid.

    Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
    under the Act Entitled “An Act to Re-organize the Local Government of Jersey
    City,” Passed March 31, 1871, and the Supplements Thereto Page 86- 87, Image
    86-87 (1874) available at The Making of Modern Law: Primary Sources.

    Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
    under the Act Entitled “An Act to Re-organize the Local Government of Jersey
    City,” Passed March 31, 1871, and the Supplements Thereto Page 41, Image 41
    (1874) available at The Making of Modem Law: Primary Sources.
    Carrying Weapons | New Jersey | 1871
    An Ordinance To Prevent the Carrying of Loaded or Concealed Weapons within
    the Limits of Jersey City. The Mayor and Aldermen of Jersey City do ordain as
    follows: § 1.
    That it shall not be lawful for any person or persons (excepting policemen and
    private watchmen when on duty), within the corporate limits of Jersey City, to
    carry, have, or keep concealed on his or her person any instrument or weapon
    commonly known as a slung-shot, billy, sand-club or metal knuckles, and any dirk
    or dagger (not contained as a blade of a pocket-knife), and loaded pistol or other
    dangerous weapon, under the penalty of not exceeding twenty dollars for each
    offense. § 2. That it shall not be lawful for any person or persons (excepting
    policemen and private watchmen when on duty), within the corporate limits of
    Jersey City, to carry or wear any sword in a cane, or air-gun, under the penalty of
    not exceeding twenty dollars for each offense. § 3. Any forfeiture on penalty
    arising under this ordinance may be recovered in the manner specified by the City
    Charter, and all persons violating any of the provisions aforesaid shall, upon
    conviction, stand committed until the same be paid.
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     Carrying Weapons, Registration and Taxation | New Jersey | 1873
     An Ordinance In Relation to the Carrying of Dangerous Weapons. The Mayor and
     Aldermen of Jersey City do ordain as follows: § 1. That with the exceptions made
     in the second section of this ordinance, no person shall, within the limits of Jersey
     City, carry, have or keep on his or her person concealed, any slung-shot, sand-club,
     metal knuckles, dirk or dagger not contained as a blade of a pocket knife, loaded
     pistol or other dangerous weapon. § 2. That policemen of Jersey City, when
     engaged in the performance of police duty, the sheriff and constables of the County
     of Hudson, and persons having permits, as hereinafter provided for, shall be and
     are excepted from the prohibitions of the first section of this ordinance. § 3. The
     Municipal Court of Jersey City may grant permits to carry any of the weapons
     named in the first section to such persons as should, from the nature of their
     profession, business or occupation, or from peculiar circumstances, be allowed so
     to do; and may, in granting such permits, impose such conditions and restrictions
     in each case as to the court shall seem proper. All applications for permits shall be
     made in open court, by the applicant in person, and in all cases the court shall
     require a written endorsement of the propriety of granting a permit from at least
     three reputable freeholders; nor shall any such permit be granted to any person
     until the court is satisfied that such person is temperate, of adult age, and capable
     of exercising self-control. Permits shall not be granted for a period longer than one
     year, and shall be sealed by the seal of the court. The possession of a permit shall
     not operate as an excuse unless the terms of the same are strictly complied with. In
     cases of emergency, permits may be granted by a single Justice of the Municipal
     Court, or by the Chief of Police, to be in force not longer than thirty days, but such
     permit shall not be renewable. §4. That no person shall, within the limits of Jersey
     City, carry any air gun or any sword cane. § 5. The penalty for a violation of this
     ordinance shall be a fine not exceeding fifty dollars, or imprisonment in the city
     prison not exceeding ten days, or both fine and imprisonment not exceeding the
     aforesaid amount and time, in the discretion of the court.




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    Mercer Beasley, Revision of the Statutes of New Jersey: Published under the
    Authority of the Legislature; by Virtue of an Act Approved April 4, 1871 Page
    304, Image 350 (1877) available at The Making of Modem Law: Primary Sources.
    Sentence Enhancement for Use of Weapon | New Jersey | 1877
    An Act Concerning Disorderly Persons, § 2.
    And whereas, diverse ill-disposed persons are frequently apprehended, having
    upon them implements for house-breaking, or offensive weapons, or are found in
    or upon houses, warehouses, stables, barns or out-houses, areas of houses, coach­
    houses, smoke-houses, enclosed yards, or gardens belonging to houses (as well as
    places of public resort or assemblage), with intent to commit theft, misdemeanors
    or other offences; and although their evil purposes are thereby manifested, the
    power of the justices of the peace to demand of them sureties for their good
    behavior hath not been of sufficient effect to prevent them from carrying their evil
    purposes into execution; if any person shall be apprehended, having upon him or
    her any picklock, key, crow, jack, bit or other implement with an intent to break
    and enter into any building: or shall have upon him or her any pistol, hanger,
    cutlass, bludgeon, or other offensive weapon, with intent to assault any person; or
    shall be found in or near any dwelling house, warehouse, stable, bam, coach-house,
    smoke-house, or out-house, or in any enclosed yard or garden, or area belonging to
    any house, or in any place of public resort or assemblage for business, worship,
    amusement, or other lawful purposes with intent to steal any goods or chattels, then
    he or she shall be deemed and adjudged a disorderly person.

    1905 N.J. Laws 324-25, A Supplement to an Act Entitled “An Act for the
    Punishment of Crimes,” ch. 172, § 1.
    Any person who shall carry any revolver, pistol or other deadly, offensive or
    dangerous weapon or firearm or any stiletto, dagger or razor or any knife with a
    blade of five inches in length or over concealed in or about his clothes or person,
    shall be guilty of a misdemeanor, and upon conviction thereof shall be punishable
    by a fine not exceeding two hundred dollars or imprisonment at hard labor, not
    exceeding two years, or both;....

    1927 N.J. Laws 742, A Further Supplement to an Act Entitled, “An Act for the
    Punishment of Crimes,” ch. 321, § 1.
    Manufacturing, Inspection and Sale of Gunpowder and Firearms | New Jersey |
    1927
    No pawnbroker shall hereafter sell or have in his possession for sale or to loan or
    give away, any machine gun, automatic rifle, revolver, pistol, or other firearm, or
    other instrument of any kind known as a blackjack, slungshot, billy, sandclub,
    sandbag, bludgeon, metal knuckles, dagger, dirk, dangerous knife, stiletto, bomb or
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     other high explosive. Any pawnbroker violating the provisions of this act shall be
     guilty of a high misdemeanor and punished accordingly.

    NEW MEXICO

    1852 N.M. Laws 67, An Act Prohibiting the Carrying a Certain Class of Arms,
    within the Settlements and in Balls, § 1.
    That each and every person is prohibited from carrying short arms such as pistols,
    daggers, knives, and other deadly weapons, about their persons concealed, within
    the settlements, and any person who violates the provisions of this act shall be
    fined in a sum not exceeding ten dollars, nor less than two dollars, or shall be
    imprisoned for a term not exceeding fifteen days nor less than five days.

    1853 N.M. Laws 406, An Act Prohibiting The Carrying Of Weapons Concealed Or
    Otherwise, § 25.
    That from and after the passage of this act, it shall be unlawful for any person to
    carry concealed weapons on their persons, or any class of pistols whatever, bowie
    knife, cuchillo de cinto (belt buckle knife), Arkansas toothpick, Spanish dagger,
    slung shot, or any other deadly weapon, of whatever class or description that may
    be, no matter by what name they may be known or called under the penalties and
    punishment which shall hereinafter be described.

     1859 N.M. Laws 94, § 1-2.
    § 1. That from and after the passage of this act, it shall be unlawful for any person
    to carry concealed weapons on their persons, of any class of pistols whatever,
    bowie knife (cuchillo de cinto), Arkansas toothpick, Spanish dagger, slung-shot, or
    any other deadly weapon, of whatever class or description they may be, no matter
    by what name they may be known or called, under the penalities and punishment
    which shall hereinafter be described. § 2. Be it further enacted: That if any person
    shall carry about his person, either concealed or otherwise, any deadly weapon of
    the class and description mentioned in the preceeding section, the person or
    persons who shall so offend, on conviction, which shall be by indictment in the
    district court, shall be fined in any sum not less than fifty dollars, nor more than
    one hundred dollars, at the discretion of the court trying the cause, on the first
    conviction under this act; and for the second conviction, the party convicted shall
    be imprisoned in the county jail for a term of not less than three months, nor more
    than one year, also at the discretion of the court trying the cause.




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     1864-1865 N.M. Laws 406-08, An Act Prohibiting the Carrying of Weapons
     Concealed or Otherwise, eh. 61, § 25, 1864.
     That from and after the passage of this act, it shall be unlawful for any person to
     carry concealed weapons on their persons, or any class of pistols whatever, bowie
     knife (cuchillo de cinto), Arkansas toothpick, Spanish dagger, slungshot, or any
     other deadly weapon, of whatever class or description that may be, no matter by
     what name they may be known or called, under the penalties and punishment
     which shall hereinafter be described.

     An Act to Prohibit the Unlawful Carrying and Use of Deadly Weapons, Feb. 18,
     1887, reprinted in Acts of the Legislative Assembly of the Territory of New
     Mexico, Twenty-Seventh Session 55, 58 (1887).
     Brandishing, Carrying Weapons, Dangerous or Unusual Weapons, Firing
     Weapons, Transportation | New Mexico | 1887
     § 8. Deadly weapons, within the meaning of this act, shall be construed to mean all
     kinds and classes of pistols, whether the same be a revolved, repeater, derringer, or
     any kind or class of pistol or gun; any and all kinds of daggers, bowie knives,
     poniards, butcher knives, dirk knives, and all such weapons with which dangerous
     cuts can be given, or with which dangerous thrusts can be inflicted, including
     sword canes, and any kind of sharp pointed canes; as also slung shots, bludgeons
     or any other deadly weapons with which dangerous wounds can be inflicted....

     NEW YORK

     The Colonial Laws Of New York From The Year 1664 To The Revolution,
     Including The Charters To The Duke Of York, The Commissions And Instructions
     To Colonial Governors, The Dukes Laws, The Laws Of The Dongan And Leisler
     Assemblies, The Charters Of Albany And New York And The Acts Of The
     Colonial Legislatures From 1691 To 1775 Inclusive Page 687, Image 689 (1894)
     available at The Making of Modern Law: Primary Sources.
     Race and Slavery Based | New York | 1664
     Laws of the Colony of New York. And be it further enacted by the authority
     aforesaid that it shall not be lawful for any slave or slave to have or use any gun,
     pistol, sword, club or any other kind of weapon whatsoever, but in the presence or
     by the direction of his her or their Master or Mistress, and in their own ground on
     Penalty of being whipped for the same at the discretion of the Justice of the Peace
     before whom such complaint shall come or upon the view of the said justice not
     exceeding twenty lashes on the bare back for every such offense.



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    Montgomery Hunt Throop, The Revised Statutes of the State of New York; As
    Altered by Subsequent Legislation; Together with the Other Statutory Provisions
    of a General and Permanent Nature Now in Force, Passed from the Year 1778 to
    the Close of the Session of the Legislature of 1881, Arranged in Connection with
    the Same or kindred Subjects in the Revised Statutes; To Which are Added
    References to Judicial Decisions upon the Provisions Contained in the Text,
    Explanatory Notes, and a Full and Complete Index Page 2512, Image 677 (Vol. 3,
    1882) available at The Making of Modern Law: Primary Sources.
    Carrying Weapons | New York | 1866
    An Act to Prevent the Furtive Possession and use of slung-shot and other
    dangerous weapons. Ch. 716, § 1.
    Every person who shall within this state use, or attempt to use or with intent to use
    against any other person shall knowingly and secretly conceal on his person, or
    with like intent shall willfully and furtively possess any possess any instrument or
    weapon of the kind commonly known as slung-shot, billy, sand club or metal
    knuckles, and any dirk or dagger (not contained as a blade of a pocket knife), or
    sword-cane or air-gun shall be deemed guilty of felony, and on conviction thereof
    be punished by imprisonment in the state prison, or penitentiary or county jail, for
    a term not more than one year, or by a fine not exceeding five hundred dollars, or
    by both such fine and imprisonment. § 2. The having possession of any of the
    weapons mentioned in the first section of this act by any other than a public
    officer, willfully and secretly concealed on the person or knowingly and furtively
    carried thereon, shall be presumptive evidence of so concealing and possessing or
    carrying the same with the intent to use the same in violation of the provisions of
    this act.

    George S. Diossy, The Statute Law of the State of New York: Comprising the
    Revised Statutes and All Other Laws of General Interest, in Force January 1, 1881,
    Arranged Alphabetically According to Subjects Page 321, Image 324 (Vol. 1,
    1881) available at The Making of Modem Law: Primary Sources.
    Carrying Weapons | New York | 1881
    Offenses Against Public Decency; Malicious Mischief, and Other Crimes not
    Before Enumerated, Concealed Weapons, § 9.
    Every person who shall within this state use, or attempt to use, or with intent to use
    against any other person, shall knowingly and secretly conceal on his person, or
    with like intent shall willfully and furtively possess any instrument or weapon of
    the kind commonly known as a slung-shot, billy, sand club or metal knuckles, and
    any dirk shall be deemed guilty of felony, and on conviction thereof may be
    punished by imprisonment in the state prison, or penitentiary or county jail, for a


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     term not more than one year, or by a fine not exceeding five hundred dollars, or by
     both such fine and imprisonment.

     George R. Dorman, Annotated Code of Criminal Procedure and Penal Code of the
     State of New York as Amended 1882-5 Page 172, Image 699 (1885) available at
     The Making of Modern Law: Primary Sources.
     Carrying, Using, Etc., Certain Weapons, § 410.
     A person who attempts to use against another, or who, with intent so to use,
     carries, conceals or possesses any instrument or weapon of the kind commonly
     known as the slung-shot, billy, sand -club or metal knuckles, or a dagger, dirk or
     dangerous knife, is guilty of a felony. Any person under the age of eighteen years
     who shall have, carry or have in his possession in any public street, highway or
     place in any city of this state, without a written license from a police magistrate of
     such city, any pistol or other fire-arm of any kind, shall be guilty of a
     misdemeanor. This section shall not apply to the regular and ordinary
     transportation of fire-arms as merchandise, or for use without the city limits. §411.
     Possession, Presumptive Evidence. The possession, by any person other than a
     public officer, of any of the weapons specified in the last section, concealed or
     furtively carried on the person, is presumptive evidence of carrying, or concealing,
     or possessing, with intent to use the same in violation of that section.

    Charter and Ordinances of the City of Syracuse: Together with the Rules of the
    Common Council, the Rules and Regulations of the Police and Fire Departments,
    and the Civil Service Regulations Page 215, Image 216 (1885) available at The
    Making of Modern Law: Primary Sources.
    [Offenses Against the Public Peace and Quiet,] § 7.
    Any person who shall carry about his or her person any dirk, bowie knife, sword or
    spear cane, pistol, revolver, slung shot, jimmy, brass knuckles, or other deadly or
    unlawful weapon, or shall use any deadly or unlawful weapon, with intent to do
    bodily harm to any person, shall be subject to a fine of not less than twenty-five
    nor more than one hundred dollars, or to imprisonment in the penitentiary of the
    county for not less than thirty days nor longer than three months, or to both such
    fine and imprisonment.

    1900 N.Y. Laws 459, An Act to Amend Section Four Hundred and Nine of the
    Penal Code, Relative to Dangerous Weapons, ch. 222, § 1.
    Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible |
    New York | 1900
    Making, et cetera, dangerous weapons. - A person who manufactures, or causes to
    be manufactured, or sells or keeps for sale, or offers, or gives, or disposes of any
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    instrument or weapon of the kind usually known as slunghsot, billy, sand-club or
    metal knuckes, or who, in any city or incorporated village in this state, without the
    written consent of the police magistrate, sells or gives any pisol or other firearm, to
    any person under the age of eighteen years or without a like consent sells or gives
    away any air-gun, or spring-gun, or other instrument or weapon in which the
    propelling force is a spring or air to any person under ht age of twelve years, or
    who sells or gives away any instrument or weapon commonly known as a toy
    pistol, in or upon which any loaded or blank cartridges are used or may be used, to
    any person under the age of sixteen years, is guilty of a misdemeanor.

    1911 N.Y. Laws 442, An Act to Amend the Penal Law, in Relation to the Sale and
    Carrying of Dangerous Weapons, ch. 195, § 1.
    Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible [
    New York | 1911
    Section[] eighteen hundred and ninety-six ... [is] hereby amended ... § 1896.
    Making and disposing of dangerous weapons. A person who manufactures, or
    causes to be manufactured, or sells or keeps for sale, or offers, or gives, or disposes
    of any instrument or weapon of the kind usually known as a blackjack, slungshot,
    billy, sandclub, sandbag, bludgeon, or metal knuckles, to any person; or a person
    who offers, sells, loans, leases or gives any gun, revolver, pistol or other firearm or
    any airgun, spring-gun or other instrument or weapon in which the propelling force
    is a spring or air or any instrument or weapon commonly known as a toy pistol or
    in or upon which any loaded or blank cartridges are used, or may be used, or any
    loaded or blank cartridges or ammunition therefor, to any person under the age of
    sixteen years, is guilty of a misdemeanor.




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     1911 N.Y. Laws 442-43, An Act to Amend the Penal Law, in Relation to the Sale
    and Carrying of Dangerous Weapons, ch. 195, § 1.
    Section ... eighteen hundred and ninety-seven ... [is] hereby amended to read as
    follows: § 1897. Carrying and use of dangerous weapons. A person who attempts
    to use against another, or who carries, or possesses any instrument or weapon of
    the kind commonly known as a blackjack, slunghsot, billy, sandclub, sandbag,
    metal knuckles or bludgeon, or who with intent to use the same unlawfully against
    another, carries or possesses a dagger, dirk, dangerous knife, razor, stiletto, or any
    other dangerous or deadly instrument or weapon, is guilty of a felony. Any person
    under the age of sixteen years, who shall have, carry, or have in his possession, any
    of the articles named or described in the last section, which is forbidden therein to
    offer, sell, loan, lease or give to him, shall be guilty of a misdemeanor.... Any
    person over the age of sixteen years, who shall have or carry concealed upon his
    person in any city, village, or town of this state, any pistol, revolver, or other
    firearm without a written license therefor, theretofore issued to him by a police
    magistrate of such city or village, or by a justice of the peace of such town, or in
    such manner as may be prescribed by ordinance of such city, village or town, shall
    be guilty of a felony.

    1913 N.Y. Laws 1627-30, vol. Ill, ch. 608, § 1, Carrying and Use of Dangerous
    Weapons
    Carrying Weapons, Dangerous or Unusual Weapons | New York | 1913
    § 1. A person who attempts to use against another, or who carries or possesses, any
    instrument or weapon of the kind commonly known as a blackjack, slungshot,
    billy, sandclub, sandbag, metal knuckles, bludgeon, bomb or bombshell, or who,
    with intent to use the same unlawfully against another, carries or possesses a
    dagger, dirk, dangerous knife, razor, stiletto, or any other dangerous or deadly
    instruments or weapon, is guilty of a felony.

    1931 N.Y. Laws 1033, An Act to Amend the Penal Law in Relation to Carrying
    and Use of Glass Pistols, ch. 435, § 1.
    Dangerous or Unusual Weapons | New York | 1931
    A person who attempts to use against another an imitation pistol, or who carries or
    possesses any instrument or weapon of the kind commonly known as a black-jack,
    slungshot, billy, sand club, sandbag, metal knuckles, bludgeon, or who, with intent
    to use the same unlawfully against another, carries or possesses a dagger, dirk,
    dangerous knife, razor, stiletto, imitation pistol, machine gun, sawed off shot-gun,
    or any other dangerous or deadly instrument, or weapon is guilty of a
    misdemeanor, and if he has been previously convicted of any crime he is guilty of
    a felony.
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     NORTH CAROLINA

     James Iredell, A Digested Manual of the Acts of the General Assembly of North
     Carolina, from the Year 1838 to the Year 1846, Inclusive, Omitting All the Acts of
     a Private and Local Nature, and Such as were Temporary and Whose Operation
     Has Ceased to Exist Page 73, Image 73 (1847) available at The Making of Modern
     Law: Primary Sources, 1840.
     Crimes and Punishments, 1840 - 1. - Ch. 30, If any free negro, mulatto, or free
     person of color shall wear, or carry about his or her person, or keep in his or her
     house, any shot gun, musket, rifle, pistol, sword, dagger, or bowie knife, unless he
     or she shall have obtained a license therefor from the Court of Pleas and Quarter
     Sessions of his or her county, within one year preceding the wearing, keeping or
     carrying thereof, he or she shall be guilty of a misdemeanor and may be indicted
     therefor.

     James Iredell, A Digested Manual of the Acts of the General Assembly of North
     Carolina, from the Year 1838 to the Year 1846, Inclusive, Omitting All the Acts of
     a Private and Local Nature, and Such as were Temporary and Whose Operation
     Has Ceased to Exist Page 75, Image 75 (1847) available at The Making of Modem
     Law: Primary Sources, 1846.
     Crimes and Punishments, 1846 — 7- Ch. 42. It shall not be lawful for any person or
     persons to sell or barter and deliver, to any slave, or slaves, any gun cotton, fire
     arms, swords, dirks or other side arms, unless those articles be for the owner or
     employer, and by the written order of the owner or employer of such slave or
     slaves, under the penalty of one hundred dollars for each offence, to be recovered,
     by warrant, before any Justice of the Peace, and applied, one half to the use of the
     party suing for the same, and the other half to the wardens of the poor of the
     county; and, moreover, may be indicted in the County or Superior Courts of Law;
     and the defendant, on conviction, shall be fined or imprisoned at the discretion of
     the Court; the fine, however, not to exceed fifty dollars, or the imprisonment three
     months.

    1858-1859 N.C. Sess. Laws 34-36, Pub. Laws, An Act Entitled Revenue, chap. 25,
    §27,pt. 15.
    The following subjects shall be annually listed, and be taxed the amounts specified:
    ... Every dirk, bowie-knife, pistol, sword-cane, dirk-cane and rifle cane, used or
    worn about the person of any one at any time during the year, one dollar and
    twenty-five cents. Arms used for mustering shall be exempt from taxation.


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     1856-1857 N.C. Sess. Laws 34, Pub. Laws, An Act Entitled “Revenue,” ch. 34, §
     23, pt. 4, 1856.
     On every pistol, except such as are used exclusively for mustering, and on every
     bowie-knife, one dollar and twenty five cents; on dirks and swordcanes, sixty five
     cents: Provided, however, That of said arms, only such shall be taxable, as at some
     time within the year have been used, worn or carried about the person of the
     owner, or of some other, by his consent.

     1858-1859 N.C. Sess. Laws 34-36, Pub. Laws, An Act Entitled Revenue, chap. 25,
     § 27, pt. 15, 1858.
     The following subjects shall be annually listed, and be taxed the amounts specified:
     ... Every dirk, bowie-knife, pistol, sword-cane, dirk-cane and rifle cane, used or
     worn about the person of any one at any time during the year, one dollar and
     twenty-five cents. Arms used for mustering shall be exempt from taxation.

     1860-1861 N.C. Sess. Laws 68, Pub. Laws, An Act to Amend Chapter 107,
     Section 66, of the Revised Code, Relating to Free Negroes Having Arms, ch. 34, §
     1, 1860.
     That chapter 107, section 66, of the Revised Code be amended to read as follows:
     If any free negro shall wear or carry about his person or keep in his house any shot
     gun, musket, rifle, pistol, sword, sword cane, dagger, bowie knife, powder or shot,
     he shall be guilty of a misdemeanor, and upon conviction fined not less than fifty
     dollars.

     North Carolina: N.C. Sess. Laws (1879) chap. 127, as codified in North Carolina
     Code, Crim. Code, chap. 25 (1883) § 1005, Concealed weapons, the carrying or
     unlawfully, a misdemeanor.
     If any one, except when on his own premises, shall carry concealed about his
     person any pistol, bowie knife, dirk, dagger, slungshot, loaded case, brass, iron or
     metallic knuckes or razor or other deadly weapon or like kind, he shall be guilty of
     a misdemeanor, and be fined or imprisoned at the discretion of the court. And if
     anyone not being on his own lands, shall have about his person any such deadly
     weapon, such possession shall be prima facie evidence of the concealment thereof.


     NORTH DAKOTA

     1895 N.D. Rev. Codes 1293, Penal Code, Crimes Against the Public Health and
     Safety, ch. 40, §§ 7312-13.


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    § 7312. Carrying or using slung shot. Every person who carries upon his person,
    whether concealed or not, or uses or attempts to use against another, any
    instrument or weapon of the kind usually known as slung shot, or of any similar
    kind, is guilty of a felony.
    §7313. Cariying concealed weapons. Every person who carries concealed about
    his person any description of firearms, being loaded or partly loaded, or any sharp
    or dangerous weapon, such as is usually employed in attack or defense of the
    person, is guilty of a misdemeanor.

    1915 N.D. Laws 96, An Act to Provide for the Punishment of Any Person Carrying
    Concealed Any Dangerous Weapons or Explosives, or Who Has the Same in His
    Possession, Custody or Control, unless Such Weapon or Explosive Is Carried in
    the Prosecution of a Legitimate and Lawful Purpose, ch. 83, §§ 1-3, 5.
    § 1. Any person other than a public officer, who carries concealed in his clothes
    any instrument or weapon of the kind usually known as a black-jack, slung-shot,
    billy, sand club, sand bag, bludgeon, metal knuckles, or any sharp or dangerous
    weapon usually employed in attack or defense of the person, or any gun, revolver,
    pistol or other dangerous fire arm loaded or unloaded, or any person who carries
    concealed nitro-glycerin, dynamite, or any other dangerous or violent explosive, or
    has the same in his custody, possession or control, shall be guilty of a felony....

    OHIO

    1788-1801 Ohio Laws 20, A Law Respecting Crimes and Punishments ..., ch. 6.
    Sentence Enhancement for Use of Weapon | Ohio | 1788
    Burglary ... If the person or persons so breaking and entering any dwelling house,
    shop, store or vessel as aforesaid, shall commit, or attempt to commit any personal
    abuse, force, or violence, or shall be so armed with any dangerous weapon or
    weapons as clearly to indicate a violent intention, he, she or they so offending,
    upon conviction thereof, shall moreover, forfeit all his, her or their estate, real and
    personal, to this territory, out of which the party injured shall be recompensed as
    aforesaid, and the offender shall also be committed to any gaol [jail] in the territory
    for a term not exceeding forty years.

    1859 Ohio Laws 56, An Act to Prohibit the Carrying or Wearing of Concealed
    Weapons, § 1.
    Carrying Weapons | Ohio | 1859
    [W]hoever shall carry a weapon or weapons, concealed on or about his person,
    such as a pistol, bowie knife, dirk, or any other dangerous weapon, shall be
    deemed guilty of a misdemeanor, and on conviction of the first offense shall be
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     fined not exceeding two hundred dollars, or imprisoned in the county jail not more
     than thirty days; and for the second offense, not exceeding five hundred dollars, or
     imprisoned in the county jail not more than three months, or both, at the discretion
     of the court.

     Joseph Rockwell Swan, The Revised Statutes of the State of Ohio, of a General
     Nature, in Force August 1, 1860. With Notes of the Decisions of the Supreme
     Court Page 452, Image 464 (1860) available at The Making of Modem Law:
     Primary Sources.
     Carrying Weapons | Ohio | 1859
     An Act to Prohibit the Carrying or Wearing of Concealed Weapons, §§ 1-2.
     § 1. Be it enacted by the General Assembly of the State of Ohio, that whoever shall
     carry a weapon or weapons, concealed on or about his person, such as a pistol,
     bowie knife, dirk, or any other dangerous weapon, shall be deemed guilty of a
     misdemeanor, and on conviction of the first offense shall be fined not exceeding
     two hundred dollars, or imprisoned in the county jail not more than thirty days; and
     for the second offense, not exceeding five hundred dollars, or imprisoned in the
     county jail not more than three months, or both, at the discretion of the court. Sec.
     § 2. If it shall be proved to the jury, from the testimony on the trial of any case
     presented under the [section of this act banning the carrying of concealed
     weapons], that the accused was, at the time of carrying any of the weapon or
     weapons aforesaid, engaged in the pursuit of any lawful business, calling, or
     employment, and that the circumstances in which he was placed at the time
     aforesaid were such as to justify a pmdent man in carrying the weapon or weapons
     aforesaid for the defense of his person, property or family, the jury shall acquit the
     accused.

    Michael Augustus Daugherty, The Revised Statutes and Other Acts of a General
    Nature of the State of Ohio: In Force January 1, 1880 Page 1633, Image 431 (Vol.
    2, 1879) available at The Making of Modern Law: Primary Sources.
    Carrying Weapons | Ohio | 1880
    Offences Against Public Peace, § 6892.
    Whoever carries any pistol, bowie-knife, dirk, or other dangerous weapon,
    concealed on or about his person, shall be fined not more than two hundred dollars,
    or imprisoned not more than five hundred dollars, or imprisoned not more than
    three months, or both.

     OKLAHOMA

     1890 Okla. Laws 495, art. 47
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     Brandishing, Carrying Weapons, Hunting, Possession by. Use of, and Sales to
     Minors and Others Deemed Irresponsible | Oklahoma | 1890
     § 1. It shall be unlawful for any person in the Territoiy of Oklahoma to carry
     concealed on or about his person, saddle, or saddle bags, any pistol, revolver,
     bowie knife, dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any
     other kind of knife or instrument manufactured or sold for the purpose of defense
     except as in this article provided.
     § 2. It shall be unlawful for any person in the Territory of Oklahoma, to carry upon
     or about his person any pistol, revolver, bowie knife, dirk knife, loaded cane, billy,
     metal knuckles, or any other offensive or defensive weapon, except as in this
     article provided.
     § 3. It shall be unlawful for any person within this Territory, to sell or give to any
     minor any of the arms or weapons designated in sections one and two of this
     article.
     § 4. Public officers while in the discharge of their duties or while going from their
     homes to their place of duty, or returning therefrom, shall be permitted to carry
     arms, but at no other time and under to other circumstances: Provided, however,
     That if any public officer be found carrying such arms while under the influence of
     intoxicating drinks, he shall be deemed guilty of a violation of this article as
     though he were a private person.
     § 5. Persons shall be permitted to carry shot-guns or rifles for the purpose of
     hunting, having them repaired, or for killing animals, or for the purpose of using
     the same in public muster or military drills, or while traveling or removing from
     one place to another, and not otherwise.
     § 7. It shall be unlawful for any person, except a peace officer, to carry into any
     church or religious assembly, any school room or other place where persons are
     assembled for public worship, for amusement, or for educational or scientific
     purposes, or into any circus, show or public exhibition of any kind, or into any ball
     room, or to any social party or social gathering, or to any election, or to any place
     where intoxicating liquors are sold, or to any political convention, or to any other
     public assembly, any of the weapons designated in sections one and two of this
     article.
     § 8. It shall be unlawful for any person in this Territory to carry or wear any deadly
     weapons or dangerous instrument whatsoever, openly or secretly, with the intent or
     for the avowed purpose of injuring his fellow man.
     § 9. It shall be unlawful for any person to point any pistol or any other deadly
     weapon whether loaded or not, at any other person or persons either in anger or
     otherwise.



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    1890 Okla. Sess. Laws 475, Crimes Against The Public Health And Safety,
    §§ 18-19.
    §18. Eveiy person who manufactures or causes to be manufactured, or sells or
    offers or keeps for sale, or gives or disposes of any instrument or weapon of the
    kind usually known as slung shot, or of any similar kind is guilty of a
    misdemeanor.
    §19. Every person who carries upon his person, whether concealed or not or uses
    or attempts to use against another, any instrument or weapon of the kind usually
    known as slung shot, or of any similar kind, is guilty of a felony.

    General Laws Relating to Incorporated Towns of Indian Territory Page 37, Image
    33 (1890) available at The Making of Modern Law: Primary Sources.
    Carrying Weapons | Oklahoma | 1890
    Revised Ordinances of the Town of Checotah, Ordinance No. 11, § 3.
    To wear or carry any pistol of any kind whatever, or any dirk, butcher knife or
    bowie knife, or a sword, or a spear in a cane, brass or metal knuckles or a razor,
    slung shot, sand bag, or a knife with a blade over three inches long, with a spring
    handle, as a weapon.

    Leander G. Pitman, The Statutes of Oklahoma, 1890. (From the Laws Passed by
    the First Legislative Assembly of the Territory) Page 495-496, Image 511-512
    (1891) available at The Making of Modem Law: Primary Sources.
    Carrying Weapons | Oklahoma | 1891
    Concealed Weapons, §§ 1, 2, 4-10.
    § 1. It shall be unlawful for any person in the Territory of Oklahoma to carry
    concealed on or about his person, saddle, or saddle bags, any pistol, revolver,
    bowie knife, dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any
    other kind of knife or instrument manufactured or sold for the purpose of defense
    except as in this article provided.
    § 2' It shall be unlawful for any person in this territory of Oklahoma, to carry upon
    or about his person any pistol, revolver, bowie knife, dirk knife, loaded cane, billy,
    metal knuckles, or any other offensive or defensive weapon, except as in this
    article provided.
    § 4. Public officers while in the discharge of their duties or while going from their
    homes to their place of duty, or returning therefrom, shall be permitted to carry
    arms, but at no other time and under no other circumstances: Provided, however
    That if any public officer be found carrying such arms while under the influence of
    intoxicating drinks, he shall be deemed guilty of a violation of this article as
    though he were a private person.


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     § 5. Persons shall be permitted to carry shot-guns or rifles for the purpose of
     hunting, having them repaired, or for killing animals, or for the purpose of using
     the same in public muster or military drills, or while travelling or removing from
     one place to another, and not otherwise.
     § 6. Any person violating the provisions of any one of the forgoing sections, shall
     on the first conviction be adjudged guilty of a misdemeanor and be punished by a
     fine of not less than twenty-five dollars nor more than fifty dollars, or by
     imprisonment in the county jail not to exceed thirty days or both at the discretion
     of the court. On the second and every subsequent conviction, the party offending
     shall on conviction be fined not less than fifty dollars nor more than two hundred
     and fifty dollars or be imprisoned in the county jail not less than thirty days nor
     more than three months or both, at the discretion of the court.
     § 7. It shall be unlawful for any person, except a peace officer, to carry into any
     church or religious assembly, any school room or other place where persons are
     assembled for public worship, for amusement, or for educational or scientific
     purposes, or into any circus, show or public exhibition of any kind, or into any ball
     room, or to any social party or social gathering, or to any election, or to any place
     where intoxicating liquors are sold, or to any political convention, or to any other
     public assembly, any of the weapons designated in sections one and two of this
     article.
     § 8. It shall be unlawful for any person in this territory to carry or wear any deadly
     weapons or dangerous instrument whatsoever, openly or secretly, with the intent or
     for the avowed purpose of injuring his fellow man.
     § 9. It shall be unlawful for any person to point any pistol or any other deadly
     weapon whether loaded or not, at any other person or persons either in anger or
     otherwise.
     § 10. Any person violating the provisions of section seven, eight, or nine of this
     article; shall on conviction, be punished by a fine of not less than fifty dollars, nor
     more than five hundred and shall be imprisoned in the county jail for not less than
     three nor more than twelve months.

     Wilson's Rev. & Ann. St. Okla.(1903) § 583, c. 25.
     It shall be unlawful for any person in the territory of Oklahoma to carry concealed
     on or about his person, saddle, or saddle bags, any pistol, revolver, bowie knife,
     dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any other kind of
     knife or instrument manufactured or sold for the purpose of defense except as in
     this article provided.

     OREGON


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    1885 Or. Laws 33, An Act to Prevent Persons from Carrying Concealed Weapons
    and to Provide for the Punishment of the Same, §§ 1-2.
    § 1. It shall be unlawful for any person to carry concealed about his person in any
    manner whatever any revolver, pistol, or other fire-arm, or any knife (other than an
    ordinary pocket knife), or any dirk or dagger, slung-shot or metal knuckles, or any
    instrument by the use of which injury could be inflicted upon the person or
    property of any other person.
    § 2. Any person violating any of the provisions of section one of this act shall be
    deemed guilty of a misdemeanor, and, upon conviction thereof, shall be punished
    by a fine of not less than ten dollars nor more than two hundred dollars, or by
    imprisonment in the county jail not less than five days nor more than one hundred
    days, or by both fine and imprisonment, in the discretion of the court.

    Laws of Oregon (1885), An Act to Prevent Persons from Carrying Concealed
    Weapons, § 1-4, p. 33, as codified in Ore. Code, chap. 8 (1892) § 1969.
    It shall be unlawful for any person to carry concealed about his person in any
    manner whatever any revolver, pistol, or other fire-arm, or any knife (other than an
    ordinary pocket knife), or any dirk or dagger, slung-shot or metal knuckles, or any
    instrument by the use of which injury could be inflicted upon the person or
    property of any other person.

    The Charter of Oregon City, Oregon, Together with the Ordinances and Rules of
    Order Page 259, Image 261 (1898) available at The Making of Modem Law:
    Primary Sources.
    Carrying Weapons | Oregon | 1898
    An Ordinance Providing for the Punishment of Disorderly Persons, and Keepers
    and Owners of Disorderly Houses, § 2.
    It shall be unlawful for any person to carry any sling shot, billy, dirk, pistol or any
    concealed deadly weapon or to discharge any firearms, air gun, sparrow gun,
    flipper or bean shooter within the corporate limits of the city, unless in self-
    defense, in protection of property or an officer in the discharge of his duty;
    provided, however, permission may be granted by the mayor to any person to carry
    a pistol or revolver when upon proper representation it appears to him necessary or
    prudent to grant such permission.

    1917 Or. Sess. Laws 804-808, An Act Prohibiting the manufacture, sale,
    possession, carrying, or use of any blackjack, slungshot, billy, sandclub, sandbag,
    metal knuckles, dirk, dagger or stiletto, and regulating the carrying and sale of
    certain firearms, and defining the duties of certain executive officers, and
    providing penalties for violation of the provisions of this Act, §§ 7-8.
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    Carrying Weapons | Oregon | 1917
    § 7. Any person who attempts to use, or who with intent to use the same
    unlawfully against another, carries or possesses a dagger, dirk, dangerous knife,
    razor, stiletto, or any loaded pistol, revolver or other firearm, or any instrument or
    weapon of the kind commonly known as a blackjack, slung-shot, billy, sandclub,
    sandbag, metal knuckles, bomb or bomb-shell, or any other dangerous or deadly
    weapon or instrument, is guilty of a felony. The carrying or possession of any of
    the weapons specified in this section by any person while committing, or
    attempting or threatening to commit a felony, or a breach of the peace, or any act
    of violence against the person or property of another, shall be presumptive
    evidence of carrying or possessing such weapon with intent to use the same in
    violation of this section.
    Any person who violates the provisions of this section shall be deemed guilty of a
    felony, and upon conviction thereof shall be punished by a fine of not less than
    $50.00 nor more than $500.00, or by imprisonment in the county jail for not less
    than one month nor more than six months, or by imprisonment in the penitentiary
    for not exceeding five years.
    § 8. Whenever any person shall be arrested and it shall be discovered that such
    person possesses or carries or has possessed or carried upon his person any loaded
    pistol, revolver or other firearm, or any weapon named or enumerated in Section 7
    of this Act, in violation of any of the sections of this Act, it shall be the duty of the
    person making the arrest to forthwith lay an information for a violation of said
    section or sections against the person arrested before the nearest or most accessible
    magistrate having jurisdiction of the offense, and such magistrate must entertain
    and examine such information and act thereon in the manner prescribed by law.
    Section 11. Any person not a citizen of the United States of America, who shall be
    convicted of carrying a deadly weapon, as described in Sections 1, 2 and 7 of this
    Act, shall be guilty of a felony and on conviction thereof shall be punished by
    imprisonment in the State prison for a period not exceeding five years.

    PENNSYLVANIA

    1851 Pa. Laws 382, An Act Authorizing Francis Patrick Kenrick, Bishop Of
    Philadelphia, To Convey Certain Real Estate In The Borough Of York, And A
    supplement To The Charter Of Said Borough, § 4.
    That any person who shall willfully and maliciously carry any pistol, gun, dirk
    knife, slung shot, or deadly weapon in said borough of York ,shall be deemed
    guilty of a felon, and being thereof convicted shall be sentenced to undergo an
    imprisonment at hard labor for a term not less than 6 months nor more than one


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     year and shall give security for future good behavior for such sum and for such
     time as the court before whom such conviction shall take place may fix ... .

     Laws of the City of Johnstown, Pa., Embracing City Charter, Act of Assembly of
     May 23, 1889, for the Government of Cities of the Third Class, General and
     Special Ordinances, Rules of Select and Common Councils and Joint Sessions
     Page 86, Image 86 (1897) available at The Making of Modem Law: Primary
     Sources.
     Carrying Weapons | Pennsylvania | 1897
     An Ordinance for the Security of Persons and Property of the Inhabitants of the
     City of Johnstown; The preservation of the Public Peace and Good Order of the
     City, and Prescribing Penalties for Offenses Against the Same, § 12.
     No person shall willfully carry concealed upon his or her person any pistol, razor,
     dirk or bowie-knife, blackjack, or handy billy, or other deadly weapon, and any
     person convicted of such offense shall pay a fine of not less than five dollars or
     more than fifty dollars with costs.

     RHODE ISLAND

     1893 R.I. Pub. Laws 231, An Act Prohibiting The Carrying Of Concealed
     Weapons, chap. 1180, § 1.
     No person shall wear or carry in this state any dirk, bowie knife, butcher knife,
     dagger, razor, sword in cane, air gun, billy, brass or metal knuckles, slung shot,
     pistol or fire arms of any description, or other weapons of like kind and description
     concealed upon his persons . . . [additional fine provided if intoxicated while
     concealed carrying],

     1893 R.I. Pub. Laws 231, An Act Prohibiting The Carrying Of Concealed
     Weapons, chap. 1180, §§1-3.
     Carrying Weapons, Sentence Enhancement for Use of Weapon | Rhode Island |
     1893
     § 1. No person shall wear or carry in this state any dirk, bowie knife, butcher knife,
     dagger, razor, sword in cane, air gun, billy, brass or metal knuckles, slung shot,
     pistol or fire arms of any description, or other weapons of like kind and description
     concealed upon his person: Provided, that officers or watchmen whose duties
     require them to make arrests or to keep and guard prisoners or property, together
     with the persons summoned by such officers to aid them in the discharge of such
     duties, while actually engaged in such duties, are exempted from the provisions of
     this act.


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    § 2. Any person convicted of a violation of the provisions of section 1 shall be
    fined not less than twenty dollars nor more than two hundred dollars, or be
    imprisoned not less than six months nor more than one year.
    § 3. Whenever any person shall be arrested charged with any crime or
    misdemeanor, or for being drunk or disorderly, or for any breach of the peace, and
    shall have concealed upon his person any of the weapons mentioned in section 1,
    such person, upon complaint and conviction , in addition to the penalties provided
    in section 2, shall be subject to a fine of not less than five dollars nor more than
    twenty five dollars, and the confiscation of the weapon so found.

    General Laws of the State of Rhode Island and Providence Plantations to Which
    are Prefixed the Constitutions of the United States and of the State Page 1010-
    1011, Image 1026-1027 (1896) available at The Making of Modern Law: Primary
    Sources.
    Carrying Weapons | Rhode Island | 1896
    Offences Against Public Policy, §§ 23, 24, 26.
    § 23. No person shall wear or carry in this state any dirk, bowie-knife, butcher
    knife, dagger, razor, sword-in-cane, air-gun, billy, brass or metal knuckles, slung-
    shot, pistol or fire-arms of any description, or other weapons of like kind and
    description concealed upon his person: provided, that officers or watchmen whose
    duties require them to make arrests or to keep and guard prisoners or property,
    together with the persons summoned by such officers to aid them in the discharge
    of such duties, while actually engaged in such duties, are exempted from the
    provisions of this and the two following sections.
    § 24. Any person convicted of a violation of the provisions of the preceding section
    shall be fined not less than ten nor more than twenty dollars, or be imprisoned not
    exceeding three months, and the weapon so found concealed shall be confiscated

    § 26. No negative allegations of any kind need be averred or proved in any
    complaint under the preceding three sections, and the wearing or carrying of such
    concealed weapons or weapons shall be evidence that the wearing or carrying of
    the same is unlawful; but the respondent in any such case my show any fact that
    would render the carrying of the same lawful under said sections.

    1908 (January Session) R.I. Pub. Laws 145, An Act in Amendment of section 23
    of chapter 283 of the General Laws
    Carrying Weapons | Rhode Island | 1908
    § 23. No person shall wear or carry in this state any dirk, dagger, razor, sword-in­
    cane, bowie knife, butcher knife, or knife of any description having a blade of
    more than three inches in length, measuring from the end of the handle, where the
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     blade is attached to the end of said blade, any air gun, billy, brass or metal
     knuckles, slung-shot, pistol or firearms of any description, or other weapons of like
     kind and description, concealed upon his person: Provided, that officers or
     watchmen whose duties require them to arrest or to keep and guard prisoners or
     property, together with the persons summoned by such officers to aid them in the
     discharge of such duties, while actually engaged in such duties, are exempted from
     the provision of this and the two other following sections.

     SOUTH CAROLINA

      1880 S.C. Acts 448, § 1, as codified in S.C. Rev. Stat. (1894). § 129 (2472.)
     § 1. Be it enacted by the Senate and House of Representatives of the State of South
     Carolina, not met and sitting in General Assembly, and by the authority of the
     same, That any person carrying a pistol, dirk, dagger, slung shot, metal knuckles,
     razor, or other deadly weapon usually used for the infliction of personal injury,
     concealed about his person shall be guilty of a misdemeanor and upon conviction
     thereof, before a Court of competent jurisdiction shall forfeit to the County the
     weapon so carried concealed and be fined in a sum not more than two hundred
     dollars, or imprisoned for not more than twelve months, or both, in the discretion
     of the Court.
     § 2. It shall be the duty of eveiy Trial Justice, Sheriff, Constable, or other peace
     officer, to cause all persons violating this Act to be prosecuted therefor whenever
     they shall discover a violation hereof.

     1923 S.C. Acts 221
     If any person shall knowingly sell, offer for sale, give, or in any way dispose of to
     a minor any pistol or pistol cartridge, brass knucks, bowie knife, dirk, loaded cane
     or sling shot, he shall be guilty of a misdemeanor. Any person being the parent or
     guardian, of or attending in loco parentis to any child under the age of twelve years
     who shall knowingly permit such child to have the possession or custody of, or use
     in any manner whatever any gun, pistol, or other dangerous firearm, whether such
     firearm be loaded or unloaded, or any person who shall knowingly furnish such
     child any firearm, shall be guilty of a misdemeanor, and, upon conviction, shall be
     fined not exceeding Fifty Dollars or imprisoned not exceeding thirty days.

     SOUTH DAKOTA

     S.D. Terr. Pen. Code (1877), § 457 as codified in S.D. Rev. Code, Penal Code
     (1903), §§470-471.


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     § 470. Every person who carries upon his person, whether concealed or not, or uses
     or attempt to use against another, any instrument or weapon of the kind usually
     known as slung shot, or of any similar kind, is guilty of a felony.
     § 471. Every person who carries concealed about his person any description of
     firearms, being loaded or partly loaded, or any sharp or dangerous weapons, such
     as is usually employed in attack or defense of the person, is guilty of a
     misdemeanor.

     S.D. Rev. Code, Penal Code 1150 (1903) §§ 470, 471
     § 470. Every person who carries upon his person, whether concealed or not, or uses
     or attempt to use against another, any instrument or weapon of the kind usually
     known as slung shot, or of any similar kind, is guilty of a felony.
     § 471. Every person who carries concealed about his person any description of
     firearms, being loaded or partly loaded, or any sharp or dangerous weapons, such
     as is usually employed in attack or defense of the person, is guilty of a
     misdemeanor.

     TENNESSEE

     1837-38 Tenn. Pub. Acts 200-01, An Act to Suppress the Sale and Use of Bowie
     Knives and Arkansas Tooth Picks in this State, ch 137, § 2.
     That if any person shall wear any Bowie knife, Arkansas tooth pick, or other knife
     or weapon that shall in form, shape or size resemble a Bowie knife or Arkansas
     toothpick under his clothes, or keep the same concealed about his person, such
     person shall be guilty of a misdemeanor, and upon conviction thereof shall be fined
     in a sum not less than two hundred dollars, nor more than five hundred dollars, and
     shall be imprisoned in the county jail not less than three months and not more than
     six months.

     1837-1838 Tenn. Pub. Acts 200, An Act to Suppress the Sale and Use of Bowie
     Knives and Arkansas Tooth Picks in this State, ch. 137, § 1.
     That if any merchant,... shall sell, or offer to sell... any Bowie knife or knives,
     or Arkansas tooth picks ... such merchant shall be guilty of a misdemeanor, and
     upon conviction thereof upon indictment or presentment, shall be fined in a sum
     not less than one hundred dollars, nor more than five hundred dollars, and shall be
     imprisoned in the county jail for a period not less than one month nor more than
     six months.

     1837-1838 Tenn. Pub. Acts 201, An Act to Suppress the Sale and Use of Bowie
     Knives and Arkansas Tooth Picks in the State, ch. 137, § 4.
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    That if any person carrying any knife or weapon known as a Bowie knife,
    Arkansas tooth pick, or any knife or weapon that shall in form, shape or size
    resemble a Bowie knife, on a sudden rencounter [sic], shall cut or stab another
    person with such knife or weapon, whether death ensues or not, such person so
    stabbing or cutting shall be guilty of a felony, and upon conviction thereof shall be
    confined in the jail and penitentiary house of this state, for a period of time not less
    than three years, nor more than fifteen years.

    Seymour Dwight Thompson, A Compilation of the Statute Laws of the State of
    Tennessee, of a General and Permanent Nature, Compiled on the Basis of the Code
    of Tennessee, With Notes and References, Including Acts of Session of 1870-1871
    Page 125, Image 794 (Vol. 2, 1873) available at The Making of Modem Law:
    Primary Sources. [1856]
    Offences Against Public Policy and Economy. § 4864.
    Any person who sells, loans, or gives, to any minor a pistol, bowie-knife, dirk,
    Arkansas tooth-pick, hunter’s knife, or like dangerous weapon, except a gun for
    hunting or weapon for defense in traveling, is guilty of a misdemeanor, and shall
    be fined not less than twenty-five dollars, and be imprisoned in the county jail at
    the discretion of the court.

    William H. Bridges, Digest of the Charters and Ordinances of the City of
    Memphis, Together with the Acts of the Legislature Relating to the City, with an
    Appendix Page 190, Image 191 (1863) available at The Making of Modern Law:
    Primary Sources.
    Offences Affecting Public Safety: Carrying Concealed Weapons, § 3.
    It shall not be lawful for any person or persons to carry concealed about his or their
    persons any pistol. Bowie-knife, dirk, or any other deadly weapon; and any person
    so offending, shall upon conviction thereof before the Recorder, be fined not less
    than ten nor more than fifty dollars for each and every offence.

    William H. Bridges, Digest of the Charters and Ordinances of the City of
    Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
    Relating to the City, with an Appendix Page 44, Image 44 (1867) available at The
    Making of Modem Law: Primary Sources.
    Police Regulations Of The State, Offences Against Public Peace, §§ 4746, 4747,
    4753, 4757.
    § 4746. Any person who carries under his clothes or concealed about his person, a
    bowie-knife, Arkansas tooth-pick or other knife or weapon of like form and shape
    or size, is guilty of a misdemeanor.


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     § 4747. It is a misdemeanor to sell, or offer to sell, or to bring into the State for the
     purpose of selling, giving away or otherwise disposing of any knife or weapon
     mentioned in the preceding section.
     § 4753. No person shall ride or go armed to the terror of the people, or privately
     carry any dirk, large knife, pistol or any dangerous weapon, to the fear or terror of
     any person.
     § 4757. No person shall either publicly or privately carry a dirk, sword-cane,
     Spanish stiletto, belt or pocket pistol, except a knife, conspicuously on the strap of
     a shot-pouch, or on a journey to a place out of his county or State.

     William H. Bridges, Digest of the Charters and Ordinances of the City of
     Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
     Relating to the City, with an Appendix Page 50, Image 50 (1867) available at The
     Making of Modern Law: Primary Sources.
     Police Regulations of the State. Selling Liquors or Weapons to Minors. § 4864.
     Any person who sells, loans or gives to any minor a pistol, bowie-knife, dirk,
     Arkansas toothpick, hunter’s knife, or like dangerous weapon, except a gun for
     hunting or weapon for defense in traveling, is guilty of a misdemeanor and shall be
     fined not less than twenty-five dollars, and imprisoned in the county jail at the
     discretion of the court.

     William H. Bridges, Digest of the Charters and Ordinances of the City of
     Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
     Relating to the City, with an Appendix Page 44, Image 44 (1867) available at The
     Making of Modem Law: Primary Sources.
     Police Regulations Of the State. Offences Against Public Peace. Concealed
     Weapons. §§ 4746-4747.
     § 4746. Any person who carries under his clothes or concealed about his person, a
     bowie-knife, Arkansas tooth-pick or other knife or weapon of like form and shape
     or size, is guilty of a misdemeanor. Selling such weapons misdemeanor.
     § 4747. It is a misdemeanor to sell, or offer to sell, or to bring into the state for the
     purpose of selling, giving away or otherwise disposing of any knife or weapon
     mentioned in the preceding Section.

     James H. Shankland Public Statutes of the State of Tennessee, since the Year 1858.
     Being in the Nature of a Supplement to the Code Page 108, Image 203 (Nashville,
     1871) available at The Making of Modem Law: Primary Sources. 1869
     Elections.
     § 2. That it shall not be lawful for any qualified voter or other person attending any
     election in this State, or for any person attending any fair, race course, or other
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     public assembly of the people, to carry about his person, concealed or otherwise,
     any pistol, dirk, Bowie-knife, Arkansas toothpick, or weapon in form, shape, or
     size resembling a Bowie knife or Arkansas tooth-pick, or other deadly or
     dangerous weapon.
     § 3. That all persons convicted under the second section of this act shall be
     punished by fine of not less than fifty dollars, and by imprisonment, or both, at the
     discretion of the court.

     Term. Pub. Acts (1879), chap. 186, as codified in Tenn. Code (1884). 5533: It shall
     not be lawful for any person to carry, publicly or privately, any dirk, razor
     concealed about his person, sword cane, loaded cane, slung-shot or brass knucks,
     Spanish stiletto, belt or pocket pistol, revolver, or any kind of pistol, except the
     army or navy pistol used in warfare, which shall be carried openly in hand.

    William King McAlister Jr., Ordinances of the City of Nashville, to Which are
    Prefixed the State Laws Chartering and Relating to the City, with an Appendix
    Page 340-341, Image 345-346 (1881) available at The Making of Modem Law:
    Primary Sources.
    Ordinances of the City of Nashville, Carrying Pistols, Bowie-Knives, Etc., § 1.
    That every person found carrying a pistol, bowie-knife, dirk-knife, slung-shot,
    brass knucks or other deadly weapon, shall be deemed guilty of a misdemeanor,
    and, upon conviction of such first offense, shall be fined form ten to fifty dollars, at
    the discretion of the court, but upon conviction of every such subsequent offense,
    shall be fined fifty dollars; Provided, however, that no ordinary pocket knife and
    common walking-canes shall be construed to be deadly weapons.

    Claude Waller, Digest of the Ordinances of the City of Nashville, to Which are
    Prefixed the State Laws Incorporating, and Relating to, the City, with an Appendix
    Containing Various Grants and Franchises Page 364-365, Image 372-373 (1893)
    available at The Making of Modem Law: Primary Sources.
    Ordinances of the City of Nashville, § 738.
    Every person found carrying a pistol, bowie-knife, dirk-knife, slung-shot, brass
    knucks, or other deadly weapon, shall be deemed guilty of a misdemeanor, and,
    upon conviction of such first offense, shall be fined from ten to fifty dollars, at the
    discretion of the court; but, upon conviction of every subsequent offense, shall be
    fined fifty dollars; Provided, however, That no ordinary pocket-knife and common
    walking canes shall be construed to be deadly weapons...

    TEXAS


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    A Digest of the General Statute Laws of the State of Texas: to Which Are
    Subjoined the Repealed Laws of the Republic and State of Texas (Austin, Texas:
    Williamson S. Oldham & George W. White, comp., 1859)
    Texas, Chapter 3, Act of August 28, 1856
    Art. 493. If any person shall assault another with intent to murder, he shall be
    punished by confinement in the Penitentiary, not less than two years, nor more than
    seven years. If the assault be made with a bowie-knife, or dagger, the punishment
    shall be doubled. Page 520
    https://babel.hathitmst.org/cgi/pt?kHmdp.39015073228879&view=lup&seq=538
    &q l=bowie%20knife
    Art. 610. If any person be killed with a bowie knife or dagger, under circumstances
    which would otherwise render the homicide a case of manslaughter, the killing
    shall nevertheless be deemed murder, and punished accordingly, [emphasis in
    original] Page 534
    https://babel.hathitrust.org/cgi/pt?id=mdp.39015073228879&view=lup&seq=552
    &q 1 =bowie%20knife

     1871 Tex. Laws 25, An Act to Regulate the Keeping and Bearing of Deadly
    Weapons.
    § 1. Be it enacted by the Legislature of the State of Texas, That any person
    carrying on or about his person, saddle, or in his saddle bags, any pistol, dirk,
    dagger, slung-shot, sword-cane, spear, brass-knuckles, bowie-knife, or any other
    kind of knife manufactured or sold for the purposes of offense or defense, unless
    he had reasonable grounds for fearing an unlawful attack on his person, and that
    such ground of attack shall be immediate and pressing; or unless having or
    carrying the same on or about his person for the lawful defense of the State, as a
    militiaman in actual service, or as a peace officer or policeman, shall be guilty of a
    misdemeanor, and on conviction thereof shall, for the first offense, be punished by
    fine of not less then than twenty-five nor more than one hundred dollars, and shall
    forfeit to the county the weapon or weapons so found on or about his person; and
    for every subsequent offense may, in addition to such fine and forfeiture, be
    imprisoned in the county jail for a term not exceeding sixty days; and in every case
    of fine under this section the fined imposed and collected shall go into the treasury
    of the county in which they may have been imposed; provided, that this section
    shall not be so contrued as to prohibit any person from keeping or bearing arms on
    his or her own premises, or at his or her own place of business, nor to prohibit
    sheriffs or other revenue officers, and other civil officers, from keeping or bearing
    arms while engaged in the discharge of their official duties, nor to prohibit persons
    traveling in the State from keeping or carrying arms with their baggage; provided


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     further, that members of the Legislature shall not be included under the term “civil
     officers” as used in this act.
     § 2. Any person charged under the first section of this act, who may offer to prove,
     by way of defense, that he was in danger of an attack on his person, or unlawful
     interference with his property, shall be required to show that such danger was
     immediate and pressing, and was of such a nature as to alarm a person of ordinary
     courage; and that the weapon so carried was borne openly and not concealed
     beneath the clothing; and if it shall appear that this danger had its origin in a
     difficulty first commenced by the accused, it shall not be considered as a legal
     defense.

     Tex. Act of Apr. 12, 1871, as codified in Tex. Penal Code (1879).
     Art. 163.
     If any person other than a peace officer, shall carry any gun, pistol, bowie knife, or
     other dangerous weapon, concealed or unconcealed, on any day of election , during
     the hours the polls are open, within the distance of one-half mile of any poll or
     voting place, he shall be punished as prescribed in article 161 of the code.

      1879 Tex. Crim. Stat. tit. IX, Ch. 4 (Penal Code)
     Art. 318. If any person in this state shall carry on or about his person, saddle, or in
     his saddle-bags, any pistol, dirk, dagger, slung-shot, sword-cane, spear, brass-
     knuckles, bowie-knife, or any other kind of knife manufactured or sold for the
     purposes of offense or defense, he shall be punished by fine of not less than
     twenty-five nor more than one hundred dollars; and, in addition thereto, shall
     forfeit to the county in which he is convicted, the weapon or weapons so carried.
     Art. 319. The preceding article shall not apply to a person in actual service as a
     militiaman, nor to a peace officer or policeman, or person summoned to his aid, not
     to a revenue or other civil officer engaged in the discharge of official duty, not to
     the carrying of arms on one’s own premises or place of business, nor to persons
     traveling, nor to one who has reasonable ground for fearing an unlawful attack
     upon his person, and the danger is so imminent and threatening as not to admit of
     the arrest of the party about to make such attack, upon legal process.
     Art. 320. If any person shall go into any church or religious assembly, any school
     room, or other place where persons are assembled for amusement or for
     educational or scientific purposes, or into any circus, show, or public exhibition of
     any kind, or into a ball-room, social party, or social gathering, or to any election
     precinct on the day or days of any election, where any portion of the people of this
     state are collected to vote at any election, or to any other place where people may
     be assembled to muster, or to perform any other public duty, or to any other public
     assembly, and shall have or carry about his person a pistol or other fire-arm, dirk,
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    dagger, slung-shot, sword-cane, spear, brass-knuckles, bowie-knife, or any other
    kind of a knife manufactured and sold for the purposes of offense and defense, he
    shall be punished by fine not less than fifty nor more than five hundred dollars, and
    shall forfeit to the county the weapon or weapons so found on his person.
    Art. 321. The preceding article shall not apply to peace officers, or other persons
    authorized or permitted by law to carry arms at the places therein designated.
    Art. 322. Any person violating any of the provisions of articles 318 and 320, may
    be arrested without warrant by any peace officer, and carried before the nearest
    justice of the peace for trial; and any peace officer who shall fail to refuse to arrest
    such person on his own knowledge, or upon information from some credible
    person, shall be punished by fine not exceeding five hundred dollars.
    Art. 323. The provisions of this chapter shall not apply to or be enforced in any
    county which the governor may designate, by proclamation, as a frontier county
    and liable to incursions by hostile Indians.

    1897 Tex. Gen. Laws 221, An Act To Prevent The Barter, Sale And Gift Of Any
    Pistol, Dirk, Dagger, Slung Shot, Sword Cane, Spear, Or Knuckles Made Of Any
    Metal Or Hard Substance To Any Minor Without The Written Consent Of The
    Parent Or Guardian Of Such Minor..., chap. 155.
    That if any person in this State shall knowingly sell, give or barter, or cause to be
    sold, given or bartered to any minor, any pistol, dirk, dagger, slung shot, sword-
    cane, spear or knuckles made of any metal or hard substance, bowie knife or any
    other knife manufactured or sold for the purpose of offense or defense, without the
    written consent of the parent or guardian of such minor, or of someone standing in
    lieu thereof, he shall be punished by fine of not less then twenty-five nor more than
    two hundred dollars, or by imprisonment in the county jail not less than ten nor
    more than thirty days, or by both such fine and imprisonment and during the time
    of such imprisonment such offender may be put to work upon any public work in
    the county in which such offense is submitted.

    Theodore Harris, Charter and Ordinances of the City of San Antonio. Comprising
    All Ordinances of a General Character in Force August 7th, Page 220, Image 225
    (1899) available at The Making of Modem Law: Primary Sources.
    Brandishing | Texas | 1899
    Ordinances of the City of San Antonio, Ordinances, ch. 22, § 4.
    If any person shall, within the city limits, draw any pistol, gun, knife, sword-cane,
    club or any other instrument or weapon whereby death may be caused, in a
    threatening manner, or for the purpose of intimidating others, such person shall be
    deemed guilty of an offense.


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    UTAH

    Dangerous and Concealed Weapon, Feb. 14, 1888, reprinted in The Revised
    Ordinances Of Salt Lake City, Utah 283 (1893) (Salt Lake City, Utah). § 14.
    Any person who shall carry and slingshot, or any concealed deadly weapon,
    without the permission of the mayor first had and obtained, shall, upon conviction,
    be liable to a fine not exceeding fifty dollars.

    Chapter 5: Offenses Against the Person, undated, reprinted in The Revised
    Ordinances Of Provo City, Containing All The Ordinances In Force 105, 106-7
    (1877) (Provo, Utah).
    § 182: Every person who shall wear, or carry upon his person any pistol, or other
    firearm, slungshot, false knuckles, bowie knife, dagger or any other dangerous or
    deadly weapon, is guilty of an offense, and liable to a fine in any sum not
    exceeding twenty-five dollars; Provided, that nothing in this section, shall be
    construed to apply to any peace officer, of the United States, the Territory of Utah,
    or of this city.1

    VERMONT

    No. 85.—An Act Against Carrying Concealed Weapons, Ch. 85, p. 95. 1892.
    Section 1. A person who shall carry a dangerous or deadly weapon, openly or
    concealed, with the intent or avowed purpose of injuring a fellow man, shall, upon
    conviction thereof, be punished by a fine not exceeding two hundred dollars, or by
    imprisonment not exceeding two years, or both, in the discretion of the court.
    Sec. 2. A person who shall carry or have in his possession while a member of and
    in attendance upon any school, any firearms, dirk knife, bowie knife, dagger or
    other dangerous or deadly weapon shall, upon conviction thereof, be fined not
    exceeding twenty dollars.
    Approved November 19, 1892.
    https://www.google.com/books/edition/Acts and Laws Passed by the Legislatur
    e/DXFOAQAAIAAJ?hl=en&gbpv=l&dq=Vermont+%22while+a+member+of+an
    d+in+attendance+upon+anv+school.%22++%22any+firearms,+dirk+knife,+bowie




    1 See http://www.supremecourt.gov/DocketPDF/18/18-
    280/99640/20190514123503867 Charles%20Appendix.pdf.
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     +knife,+dagger+or+other+dangerous+or+deadly+weapon%22%C2%A0&p2;=PA9
     5 &pr ints ec=frontcover

     Ordinances of the City of Barre, Vermont
     Carrying Weapons, Firing Weapons | Vermont | 1895
     CHAPTER 16, § 18.
     No person, except on his own premises, or by the consent and permission of the
     owner or occupant of the premises, and except in the performance of some duty
     required by law, shall discharge any gun, pistol, or other fire arm loaded with ball
     or shot, or with powder only, or firecrackers, serpent, or other preparation whereof
     gunpowder or other explosive substance is an ingredient, or which consists wholly
     of the same, nor shall make any bonfire in or upon any street, lane, common or
     public place within the city, except by authority of the city council.
     CHAPTER 38, SEC. 7. No person shall carry within the city any steel or brass
     knuckles, pistol, slung shot, stilletto, or weapon of similar character, nor carry any
     weapon concealed on his person without permission of the mayor or chief of police
     in writing.2




     2 See http://www.supremecourt.gov/DocketPDF/18/18-
     280/99640/20190514123503867 Charles%20Appendix.pdf.

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     VIRGINIA

    Collection of All Such Acts of the General Assembly of Virginia, of a Public and
    Permanent Nature, as Are Now in Force; with a New and Complete Index. To
    Which are Prefixed the Declaration of Rights, and Constitution, or Form of
    Government Page 187, Image 195 (1803) available at The Making of Modern Law:
    Primary Sources.
    Race and Slavery Based | Virginia | 1792
    [An Act to Reduce into one, the Several Acts Concerning Slaves, Free Negroes,
    and Mulattoes (1792),] §§ 8-9.
    §8. No negro or mulatto whatsoever shall keep or carry any gun, powder, shot,
    club, or other weapon whatsoever, offensive or defensive, but all and every gun,
    weapon, and ammunition found in the possession or custody of any negro or
    mulatto, may be seized by any person, and upon due proof thereof made before any
    Justice of the Peace of the County or Corporation where such seizure shall be, shall
    by his order be forfeited to the seizor for his own use ; and moreover, every such
    offender shall have and receive by order of such Justice, any number of lashes not
    exceeding thirty-nine, on his or her bare back, well laid on, for every such offense.
    § 9. Provided, nevertheless, That every free negro or mulatto, being a house­
    keeper, may be permitted to keep one gun, powder and shot; and all negroes and
    mulattoes, bond or free, living at any frontier plantation, may be permitted to keep
    and use guns, powder, shot, and weapons offensive or defensive, by license from a
    Justice of Peace of the County wherein such plantation lies, to be obtained upon
    the application of free negroes or mulattoes, or of the owners of such as are slaves.

    Acts of the General Assembly of Virginia, Passed at the Session of 1838, chap.
    101, at 76; 1838.
    Be it enacted by the general assembly, That if any person shall hereafter habitually
    or generally keep or carry about his person any pistol, dirk, bowie knife, or any
    other weapon of the like kind, from this use of which the death of any person might
    probabily ensue, and the same be hidden or concealed from common observation,
    and he be thereof convicted, he shall for every such offense forfeit and pay the sum
    of not less than fifty dollars nor more than five hundred dollars, or be imprisoned
    in the common jail for a term not less than one month nor more than six months,
    and in each instance at the discretion of the jury; and a moiety of the penalty
    recovered in any prosecution under this act, shall be given to any person who may
    voluntarily institute the same.

     1847 Va. Laws 127, c. 14, § 16.


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     If any person shall go armed with any offensive or dangerous weapon without
     reasonable cause to fear an assault or other injury, or violence to his person, or to
     his family or property, he may be required to find sureties for keeping the peace for
     a term not exceeding twelve months, with the right of appealing as before
     provided.

     Staunton, The Charter and General Ordinances of the Town of Lexington, Virginia
     Page 87, Image 107 (1892) available at The Making of Modern Law: Primary
     Sources, 1867.
     Ordinances of The Town of Lexington, VA, Of Concealed Weapons and
     Cigarettes, § 1. If any person carrying about his person, hid from common
     observation, any pistol, dirk, bowie-knife, razor, slung-shot, or any weapon of the
     like kind, he shall be fined not less than twenty dollars nor more than one hundred
     dollars; and any of such weapons mentioned shall be forfeited to the town. Nothing
     in this section shall apply to any officer of the town, county or state while in the
     discharge of his duty.

     The Code of Virginia: With the Declaration of Independence and the Constitution
     of the United States; and the Constitution of Virginia Page 897, Image 913 (1887)
     available at The Making of Modern Law: Primary Sources.
     Carrying Weapons | Virginia | 1887
     Offences Against the Peace, § 3780. Carrying Concealed Weapons, How Punished.
     Forfeiture and Sale of Weapons. If any person carry about his person, hid from
     common observation, any pistol, dirk, bowie-knife, razor, slung-shot, or any
     weapon of the like kind, he shall be fined not less than twenty nor more than one
     hundred dollars, and such pistol, dirk, bowie-knife, razor, slung-shot, or any
     weapon of the like kind, shall be forfeited to the commonwealth and may be seized
     by an officer as forfeited; and upon the conviction of the offender the same shall be
     sold and the proceeds accounted for and paid over as provided in section twenty-
     one hundred and ninety: Provided, that this section shall not apply to any police
     officer, town or city sergeant, constable, sheriff, conservator of the peace, or
     collecting officer, while in the discharge of his official duty.

     WASHINGTON

     1854 Wash. Sess. Law 80, An Act Relative to Crimes and Punishments, and
     Proceedings in Criminal Cases, ch. 2, § 30.
     Brandishing | Washington | 1854
     Every person who shall, in a rude, angry, or threatening manner, in a crowd of two
     or more persons, exhibit any pistol, bowie knife, or other dangerous weapon, shall
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     on conviction thereof, be imprisoned in the county jail not exceeding one year, and
     be fined in any sum not exceeding five hundred dollars.

     1859 Wash. Sess. Laws 109, An Act Relative to Crimes and Punishments, and
     Proceedings in Criminal Cases, ch. 2, § 30.
     Brandishing | Washington | 1859
     Every person who shall, in a rude, angry or threatening manner, in a crowd of two
     or more persons, exhibit any pistol, bowie knife or other dangerous weapon, shall,
     on conviction thereof, be imprisoned in the county jail not exceeding one year, and
     be fined in any sum not exceeding five hundred dollars.

     1869 Wash. Sess. Laws 203-04, An Act Relative to Crimes and Punishments, and
     Proceedings in Criminal Cases, ch. 2, § 32.
     Brandishing | Washington | 1869
     Every person who shall, in a rude, angry or threatening manner, in a crowd of two
     or more persons, exhibit any pistol, bowie knife, or other dangerous weapon, shall
     on conviction thereof, be imprisoned in the county jail not exceeding one year and
     be fined in any sum not exceeding five hundred dollars.

     1881 Wash. Code 181, Criminal Procedure, Offenses Against Public Policy,
     ch. 73, § 929.
     Carrying Weapons | Washington | 1881
     If any person carry upon his person any concealed weapon, he shall be deemed
     guilty of a misdemeanor, and, upon conviction, shall be fined not more than one
     hundred dollars, or imprisoned in the county jail not more than thirty days[.]

     1881 Wash. Sess. Laws 76, An Act to Confer a City Govt, on New Tacoma, ch. 6,
     §34,pt. 15.
     Carrying Weapons | Washington | 1881
     [T]o regulate the transportation, storage and sale of gunpowder, giant powder,
     dynamite, nitro-glycerine, or other combustibles, and to provide or license
     magazines for the same, and to prevent by all possible and proper means, danger or
     risk of injury or damages by fire arising from carelessness, negligence or otherwise
     ... to regulate and prohibit the carrying of deadly weapons in a concealed manner;
     to regulate and prohibit the use of guns, pistols and firearms, firecrackers, and
     detonation works of all descriptions[.]

     William Lair Hill, Ballinger’s Annotated Codes and Statutes of Washington,
     Showing All Statutes in Force, Including the Session Laws of 1897 Page 1956,


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     Image 731 (Vol. 2, 1897) available at The Making of Modern Law: Primary
     Sources.
     Brandishing | Washington | 1881
     Flourishing Dangerous Weapon, etc. Every person who shall in a manner likely to
     cause terror to the people passing, exhibit or flourish, in the streets of an
     incorporated city or unincorporated town, any dangerous weapon, shall be deemed
     guilty of a misdemeanor, and on conviction thereof shall be punished by a fine in
     any sum not exceeding twenty-five dollars. Justices of the peace shall have
     exclusive original jurisdiction of all offenses arising under the last two preceding
     sections.

     1883 Wash. Sess. Laws 302, An Act to Incorporate the City of Snohomish, ch. 6,
     §29,pt. 15.
     Carrying Weapons | Washington | 1883
     [The city has power] to regulate and prohibit the carrying of deadly weapons in a
     concealed manner; to regulate and prohibit the use of guns, pistols, and fire-arms,
     fire crackers, bombs and detonating works of all descriptions ....

    Albert R. Heilig, Ordinances of the City of Tacoma, Washington Page 333-334,
    Image 334-335 (1892) available at The Making of Modem Law: Primary Sources.
    Carrying Weapons | Washington | 1892
    Ordinances of the City of Tacoma, An Ordinance Defining Disorderly Persons and
    Prescribing the Punishment for Disorderly Conduct Within the City of Tacoma. All
    persons (except police officers and other persons whose duty it is to execute
    process or warrants or make arrests) who shall carry upon his person any concealed
    weapon consisting of a revolver, pistol or other fire arms or any knife (other than
    an ordinary pocket knife) or any dirk or dagger, sling shot or metal knuckles, or
    any instmment by the use of which injury could be inflicted upon the person or
    property of any other person.




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     Rose M. Denny, The Municipal Code of the City of Spokane, Washington.
     Comprising the Ordinances of the City (Excepting Ordinances Establishing Street
     Grades) Revised to October 22, 1896 Page 309-310, Image 315-316 (1896)
     available at The Making of Modern Law: Primary Sources.
     Carrying Weapons | Washington | 1896
     Ordinances of Spokane, An Ordinance to Punish the Carrying of Concealed
     Weapons within the City of Spokane, § 1.
     If any person within the City of Spokane shall carry upon his person any concealed
     weapon, consisting of either a revolver, pistol or other fire-arms, or any knife
     (other than an ordinary pocket knife) or any dirk or dagger, sling-shot or metal
     knuckles, or any instrument by the use of which injury could be inflicted upon the
     person or property of any other person, shall be deemed guilty of a misdemeanor,
     and upon conviction thereof shall be fined not less than twenty dollars, nor more
     than one hundred dollars and costs of prosecution, and be imprisoned until such
     fine and costs are paid; provided, that this section shall not apply to police officers
     and other persons whose duty is to execute process or warrants or make arrests, or
     persons having a special written permit from the Superior Court to carry weapons

     Richard Achilles Ballinger, Ballinger’s Annotated Codes and Statutes of
     Washington: Showing All Statutes in Force, Including the Session Laws of 1897
     Page 1956-1957, Image 731-732 (Vol. 2, 1897) available at The Making of
     Modem Law: Primary Sources.
     Carrying Weapons | Washington | 1897
     Carrying Concealed Weapons, § 7084.
     If any person shall carry upon his person any concealed weapon, consisting of
     either a revolver, pistol, or other fire-arms, or any knife, (other than an ordinary
     pocket knife), or any dirk or dagger, sling-shot, or metal knuckles, or any
     instrument by the use of which injury could be inflicted upon the person or
     property of any other person, shall be deemed guilty of a misdemeanor, and upon
     conviction thereof shall be fined not less than twenty dollars nor more than one
     hundred dollars, or imprisonment in the county jail not more than thirty days, or by
     both fine and imprisonment, in the discretion of the court: Provided, That this
     section shall not apply to police officers and other persons whose duty it is to
     execute process or warrants or make arrests.




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     WEST VIRGINIA

     1870 W. Va. Code 692, Of Offenses against the Peace, ch. 148, § 7.
     If any person, habitually, carry about his person, hid from common observation,
     any pistol, dirk, bowie knife, or weapon of the like kind, he shall be fined fifty
     dollars. The informers shall have one half of such fine.

     1870 W. Va. Code 703, For Preventing the Commission of Crimes, ch. 153, § 8.
     If any person go armed with a deadly or dangerous weapon, without reasonable
     cause to fear violence to his person, family, or property, he may be required to give
     a recognizance, with the right of appeal, as before provided, and like proceedings
     shall be had on such appeal.

      1882 W. Va. Acts 421-22
     Carrying Weapons | West Virginia | 1882
     If a person carry about his person any revolver or other pistol, dirk, bowie knife,
     razor, slung shot, billy, metalic or other false knuckles, or any other dangerous or
     deadly weapon of like kind or character, he shall be guilty of a misdemeanor, and
     fined not less that twenty-five nor more than two hundred dollars, and may, at the
     discretion of the court, be confined in jail not less than one, nor more than twelve
     months; and if any person shall sell or furnish any such weapon as is hereinbefore
     mentioned to a person whom he knows, or has reason, from his appearance or
     otherwise, to believe to be under the age of twenty-one years, he shall be punished
     as hereinbefore provided; but nothing herein contained shall be so construed as to
     prevent any person from keeping or carrying about his dwelling house or premises
     any such revolver or other pistol, or from carrying the same from the place of
     purchase to his dwelling house, or from his dwelling house to any place where
     repairing is done, to have it repaired, and back again. And if upon the trial of an
     indictment for carrying any such pistol, dirk, razor or bowie knife, the defendant
     shall prove to the satisfaction of the jury that he is a quiet and peacable citizen, of
     good character and standing in the community in which he lives, and at the time he
     was found with such pistol, dirk, razor or bowie knife, as charged in the
     indictment, he had good cause to believe and did believe that he was in danger of
     death or great bodily harm at the hands of another person, and that he was, in good
     faith, carrying such weapon for self-defense and for no other purpose, the jury shall
     find him not guilty. But nothing in this section contained shall be construed as to
     prevent any officer charged with the execution of the laws of the state from
     carrying a revolver or other pistol, dirk or bowie knife.

     1891 W. Va. Code 915, Of Offences Against the Peace, ch. 148, § 7.
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    Carrying Weapons | West Virginia | 1891
    If a person carry about his person any revolver or other pistol, dirk, bowie knife,
    razor, slung shot, billy, metallic or other false knuckles, or any other dangerous or
    deadly weapon of like kind or character, he shall be guilty of a misdemeanor, and
    fined not less than twenty-five nor more than two hundred dollars, and may, at the
    discretion of the court, be confined in jail not less than one nor more than twelve
    months; and if any person shall sell or furnish any such weapon as is hereinbefore
    mentioned to a person whom he knows, or has reason, from his appearance or
    otherwise, to believe to be under the age of twenty-one years, he shall be punished
    as hereinbefore provided; but nothing herein contained shall be so construed as to
    prevent any person from keeping or carrying about his dwelling house or premises,
    any such revolver or other pistol, or from carrying the same from the place of
    purchase to his dwelling house, or from his dwelling house to any place where
    repairing is done, to have it repaired and back again. And if upon the trial of an
    indictment for carrying any such pistol, dirk, razor or bowie knife, the defendant
    shall prove to the satisfaction of the jury that he is a quiet and peaceable citizen, of
    good character and standing in the community in which he lives, and at the time he
    was found with such pistol, dirk, razor or bowie knife, as charged in the indictment
    he had good cause to believe and did believe that he was in danger of death or
    great bodily harm at the hands of another person, and that he was in good faith,
    carrying such weapon for self-defense and for no other purpose, the jury shall find
    him not guilty. But nothing in this section contained shall be so construed as to
    prevent any officer charged with the execution of the laws of the State, from
    carrying a revolver or other pistol, dirk or bowie knife.

     1925 W.Va. Acts 25-30, 1st Extraordinary Sess., An Act to Amend and Re-Enact
    Section Seven ... Relating to Offenses Against the Peace; Providing for the
    Granting and Revoking of Licenses and Permits Respecting the Use,
    Transportation and Possession of Weapons and Fire Arms..., ch. 3, § 7, pt. a.
    Carrying Weapons, Possession by, Use of, and Sales to Minors and Others Deemed
    Irresponsible, Registration and Taxation | West Virginia | 1925
    § 7 (a). If any person, without a state license therefor, carry about his person any
    revolver or other pistol, dirk, bowie-knife, slung shot, razor, billy, metallic or other
    false knuckles, or any other dangerous or deadly weapon of like kind or character,
    he shall be guilty of a misdemeanor and upon conviction thereof be confined in the
    county jail for a period of not less than six nor more than twelve months for the
    first offense; but upon conviction of the same person for the second offense in this
    state, he shall be guilty of a felony and be confined in the penitentiary not less than
    one or more than five years, and in either case fined not less than fifty nor more
    than two hundred dollars, in the discretion of the court....
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     WISCONSIN

     1858 Wis. Rev. Stat. 985, Of Proceedings to Prevent the Commission of Crime, eh.
     175, § 18.
     If any person shall go armed with a dirk, dagger, sword, pistol or pistols, or other
     offensive and dangerous weapon, without reasonable cause to fear an assault or
     other injury or violence to his person, or to his family or property, he may, on
     complaint of any other person having reasonable cause to fear an injury or breach
     of the peace, be required to find sureties for keeping the peace, for a term not
     exceeding six months, with the right of appealing as before provided.

     1872 Wis. Sess. Laws 17, eh. 7, § 1, An Act to prohibit and prevent the carrying of
    concealed weapons.
    SECTION 1. If any person shall go armed with a concealed dirk, dagger, sword,
    pistol, or pistols, revolver, slung-shot, brass knuckles, or other offensive and
    dangerous weapon, he shall, on conviction thereof, be adjudged guilty of a
    misdemeanor, and shall be punished by imprisonment in the state prison for a term
    of not more than two years, or by imprisonment in the county jail of the proper
    county not more than twelve months, or by fine not exceeding five hundred dollars,
    together with the costs of prosecution, or by both said fine and costs and either of
    said imprisonments; and he may also be required to find sureties for keeping the
    peace and against the further violation of this act for a term not exceeding two
    years: provided, that so going armed shall not be deemed a violation of this act
    whenever it shall be made to appear that such person had reasonable cause to fear
    an assault or other injury or violence to his person, or to his family or property, or
    to any person under his immediate care or custody, or entitled to his protection or
    assistance, or if it be made to appear that his possession of such weapon was for a
    temporary purpose, and with harmless intent.

    1883 Wis. Sess. Laws 713, An Act to Revise, consolidate And Amend The Charter
    Of The City Of Oshkosh, The Act Incorporating The City, And The Several Acts
    Amendatory Thereof, chap. 6, § 3, pt. 56.
    To regulate or prohibit the carrying or wearing by any person under his clothes or
    concealed about his person any pistol or colt, or slung shot, or cross knuckles or
    knuckles of lead, brass or other metal or bowie knife, dirk knife, or dirk or dagger,
    or any other dangerous or deadly weapon and to provide for the confiscation or
    sale of such weapon.



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    Charter and Ordinances of the City of Superior; Also Harbor Act, Municipal Court
    Act, Rules of the Common Council and Board of Education Page 390, Image 481
    (1896) available at The Making of Modem Law: Primary Sources. 1896
    Ordinances of the City of Superior, Carrying Concealed Weapons, § 18. It shall be
    unlawful for any person, other than a policeman or other officer authorized to
    maintain the peace or to serve process, to carry or wear any pistol, sling-shot,
    knuckles, bowie knife, dirk, dagger or any other dangerous weapon within the
    limits of the City of Superior, and any person convicted of a violation of this
    section shall be punished by a fine of not less than ten (10) dollars nor more than
    one hundred (100) dollars.

    WYOMING

    1884 Wyo. Sess. Laws, chap. 67, § 1, as codified in Wyo. Rev. Stat, Crimes
    (1887): Exhibiting deadly weapon in angry manner. § 983.
    Whoever shall, in the presence of one or more persons, exhibit any kind of fire­
    arms, Bowie Knife, dirk, dagger, slung-shot or other deadly weapon, in a rude,
    angry or threatening manner not necessary to the defense of his person, family or
    property, shall be deemed guilty of misdemeanor, and on conviction thereof, shall
    be punished by a fine not less than ten dollars, nor more than one hundred dollars,
    or by imprisonment in the county jail not exceeding six months ....

    Wyo. Comp. Laws (1876) chap. 35 § 127, as codified in Wyo. Rev. Stat., Crimes
    (1887) Having possession of offensive weapons. § 1027.
    If any person or persons have upon him any pistol, gun, knife, dirk, bludgeon or
    other offensive weapon, with intent to assault any person, every such person, on
    conviction, shall be fined in any sum not exceeding five hundred dollars, or
    imprisoned in the county jail not exceeding six months.

    A. McMicken, City Attorney, The Revised Ordinances of the City of Rawlins,
    Carbon County, Wyoming Page 131-132; Image 132-133 (1893) available at The
    Making of Modem Law: Primary Sources.
    Carrying Weapons | Wyoming | 1893
    Revised Ordinances of the City of Rawlins, Article VII, Carrying Firearms and
    Lethal Weapons, § 1.
    It shall be unlawful for any person in said city to keep or bear upon the person any
    pistol, revolver, knife, slungshot, bludgeon or other lethal weapon, except the
    officers of the United States, of the State of Wyoming, of Carbon County and of
    the City of Rawlins. § 2. Any person convicted of a violation of the preceding
    section shall be fined not exceeding one hundred dollars, or imprisoned in the city
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     jail not exceeding thirty days. § 3. Persons not residing in said city shall be notified
     of this Ordinance by the police or any citizen, and after thirty minutes from the
     time of notification, shall be held liable to the penalties of this article, in case of its
     violation. § 4. The city marshal and policemen of the city shall arrest, without
     warrant, all persons found violating the provisions of this article, and are hereby
     authorized to take any such weapon from the person of the offender and to
     imprison the offender for trial, as in case of violations of other Ordinances of said
     city.

     SOURCE: https://firearmslaw.duke.edu/repositorv/search-the-repositorv/




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